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                EXHIBIT B
                 PART 1
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                                                   Before the:

                   WORLD INTELLECTUAL PROPERTY ORGANIZATION
                       ARBITRATION AND MEDIATION CENTER



    RITZIO PURCHASE LIMITED                         Case No: D2016-1981
    Corporate ID: 144533
    Diagorou Street 4, Kermia building
    6th Floor, Office 601, P.C. 1097
    Nicosia, Cyprus
    (Complainant)

    -v-                                             Disputed Domain Names:

    ALEX BOOLOP1                                             vulcan-club-online.top
    Kiev, Ukraine

    -and-                                                    -and-

    DAVY KIBA-GASTE                                          1vulcano.com
    CAMELOT                                                  2vulcano.com
    Suite 1, 2F, Sound Vision House                          3vulcano.com
    Victoria, Mahe, Seychelles                               5vulcano.com
                                                             7vulcano.com
                                                             vulcano7.com

    -and-                                                    -and-

    ZHOSELIN-PATRICK MANDZELA                                wulkancasino.com
    19BD Julien Devos                                        volcan24.com
    Vernon, Haute-Normandie 27200                            vulcan-online-club.com
    France                                                   volcanozal.com
                                                             online-volcano.com
    (Respondents)                                            vulcan-club-online.com



                                   RESPONSE
              BY DAVY-KIBA GASTE AND ZHOSELIN-PATRICK MANDZELA
                                 (Rules, para. 5(b))


1
 This Response is not filed on behalf of the registrant Alex Boolop as the case has been improperly consolidated as
detailed below.

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                                       I. Introduction
[1.]   On October 21, 2016, the Respondents received a Notification of Complaint and
Commencement of Administrative Proceeding from the WIPO Arbitration and Mediation Center
(the Center) by email informing the Respondents that an administrative proceeding had been
commenced by the Complainant in accordance with the Uniform Domain Name Dispute
Resolution Policy (the Policy), approved by the Internet Corporation for Assigned Names and
Numbers (ICANN) on October 24, 1999, the Rules for Uniform Domain Name Dispute
Resolution Policy (the Rules) approved by ICANN on September 28, 2013, and in effect as of
July 31, 2015, and the WIPO Supplemental Rules for Uniform Domain Name Dispute
Resolution Policy (the Supplemental Rules). The Center set November 10, 2016 as the original
last day for the submission of a Response by the Respondents. On November 8, 2016, the Center
granted an extension to November 14, 2016 as the last day for the submission of a Response by
Respondents.
                              II. Respondents’ Contact Details
                                (Rules, para. 5(b)(ii) and (iii))
[2.]   This response is on behalf of the following respondents in the above captioned UDRP
Proceeding (the “Respondents”):
           Name:             Davy Kiba-Gaste
           Organization:     Camelot
           Address:          Suite 1, 2F, Sound Vision House
                             Victoria, Mahe, Seychelles
           Telephone:        +7.9214303025
           Fax:              N/A
           E-mail:           hosting@acem.pw
       -and-
           Name:             Zhoselin-Patrick Mandzela
           Address:          19BD Julien Devos
                             Vernon, Haute Normandie 27200
                             France
           Telephone:        +33.667410100
           Fax:              N/A
           E-mail:           bait0ot@gmail.com




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                      Complainant Impermissibly Consolidated the Case
        Preliminarily, the Complaint should be dismissed because Complainant has
impermissibly consolidated the UDRP proceeding against multiple respondents with multiple
domain names and websites not under common control. Specifically, the domain name vulcan-
club-online.top is not under common control with any of the other domain names subject to this
proceeding as currently drafted and the consolidation is unfair to all Registrants. The domain
names 1vulcano.com, 2vulcano.com, 3vulcano.com, 5vulcano.com, 7vulcano.com, and
vulcano7.com are all registered to the Respondent Davy Kiba-Gaste. See Affidavit of Davy
Kiba-Gaste, Annex 1, ¶ 2. The Respondent Zhoselin-Patrick Mandzela registered the domain
names wulkancasino.com, volcan24.com, vulcan-online-club.com, volcanozal.com, online-
volcano.com, and vulcan-club-online.com for the benefit of Mr. Kiba-Gaste. Id., ¶ 3. Mr. Kiba-
Gaste does not know the registrant of vulcan-club-online.top, the so called “Alex Boolop.” Id.,
¶¶4-5. Mr. Kiba-Gaste did not register the vulcan-club-online.top domain name nor did anyone
register it on his behalf. Id., ¶6. Mr. Kiba-Gaste does not control the vulcan-club-online.top
domain name or the website at the domain name. Id., ¶7. The vulcan-club-online.top domain
name is not even registered with the same domain name registrar as the other domain names.
Consolidation of this case against these two separate groups results in an unfair and inequitable
situation for both sets of respondents because their defenses may contradict each other and/or
otherwise taint each other’s positions.
        The WIPO Overview of WIPO Panel View on Selected UDRP Questions, Second
Edition (“WIPO Overview 2.0”), Section 4.16, states that a UDRP Proceeding can only be made
against multiple registrants when “(i) the domain names or the websites to which they resolve are
subject to common control, and (ii) the consolidation would be fair and equitable to all parties.”
Therefore, a Complaint cannot be filed unless both of these criteria are met. Given that neither
of these criteria are met (the domain names are not under common control and consolidation
would not be fair or equitable) the Complaint should be dismissed. As the WIPO Overview 2.0
continues to state, “The onus of establishing [the criteria] falls on the filing party/parties, and
where the relevant criteria have not been met, the complaint in its filed form would not be
accepted.” Because Complainant has not met its onus, and quite to the contrary, the relevant
criteria could not ever be met, the Complaint must not be accepted, but must instead be
dismissed.

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[3.]   The Respondents’ authorized representatives in this administrative proceeding are:
             Name:              Matthew Shayefar, Esq.
             Organization:      Boston Law Group, PC
             Address:           825 Beacon Street, Suite 20, Newton, MA 02459 US
             Telephone:         +1-617-928-1806
             Fax:               +1-617-928-1802
             E-Mail:            matt@bostonlawgroup.com
       and
           Name:            Val Gurvits, Esq.
           Organization:    Boston Law Group, PC
           Address:         825 Beacon Street, Suite 20, Newton, MA 02459 USA
           Telephone:       +1-617-928-1804
           Fax:             +1-617-928-1802
           E-Mail:          vgurvits@bostonlawgroup.com
[4.]   The Respondents’ preferred method of communications directed to the Respondents in
this administrative proceeding is:
             Electronic-only material
             Method:          e-mail
             Address:         matt@bostonlawgroup.com & vgurvits@bostonlawgroup.com
             Contact:         Matthew Shayefar, Esq. & Val Gurvits, Esq.
             Material including hardcopy (where applicable)
             Method:           Post/Courier
             Address:          Boston Law Group, PC,
                              825 Beacon Street, Suite 20, Newton, MA 02459 USA
             Fax:              +1-617-928-1802
             Contact:          Matthew Shayefar, Esq.

               III. Response to Statements and Allegations Made in Complaint
                          (Policy, paras. 4(a), (b), (c); Rules, para. 5)

A.     Introduction
       After years of acting as if it has no trademark rights and after recently engaging in
fraudulent acts at least twice to steal the domain names of legitimate competitors, Complainant
has initiated this UDRP action against Respondents to take away their domains. Undoubtedly, if
this administrative panel grants Complainant’s requested relief (which, it should not),
Complainant will again seek to fraudulently strip Respondents of their rights to properly
adjudicate the merits of this dispute.
       Complainant brings the present action despite the following facts: (1) VULKAN is not a
valid trademark as used in connection with gambling in Russia, where gambling is essentially


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illegal; (2) all the asserted country-level trademark registrations were issued in Russia prior to
the prohibition and those registrations are now invalid; (3) all of Complainant’s international
trademark registrations rely upon those invalid Russian registrations; (4) this is the incorrect
forum to resolve this dispute, as two prior UDRP decisions have held; 2 and (5) Complainant has
used the UDRP process to perpetrate a fraud upon the Center and registrants.
        In two other proceedings,3 Complainant laid bare its fraudulent scheme. In the
Complaints in those matters, pursuant to Rule 3(b)(xii), Complainant represented that it agreed to
jurisdiction of the courts in the location of the registrants, such that if the respondents lost the
proceedings, they could file suit in those courts to fully adjudicate their rights pursuant to Policy
¶4(k). However, after the panels found for Complainant, when the respondents filed suit,
Complainant reneged on its representations and instead filed motions disputing jurisdiction. As a
result of these misrepresentations, those registrants lost their domain despite the protections of
Policy ¶4(k).
        In short, Complainant fraudulently used the UDRP to strip registrants of their property
without full adjudication of their rights. Complainant should not be permitted to continue its
scheme of using expedited UDRP proceedings to steal domain names without the intended
backup of the courts. Complainant’s putative trademark rights are questionable, an issue that
cannot be resolved in this forum. A UDRP proceeding should not be (and was never meant to
be) the first and last stop in such a dispute. However, Complainant has managed to find a way to
make it so. Therefore, Complainant has engaged in Reverse Domain Name Hijacking by “using
the Policy in bad faith to attempt to deprive a registered domain name holder of a domain name.”
        Finally, Respondents acknowledge the complex nature of the arguments herein.
However, the arguments are not intended to confuse or distract the Panel, but to show the
genuine complicated nature of this dispute and how it is not appropriate for adjudication here.
And given Complainant’s fraudulent acts in the past to deny resolution in a court of law, the only
way this dispute will be properly and fairly adjudicated is if the Panel denies the requested relief.




2
  EvoPlay LLC v. Ziganshin, D2015-0222 (April 16, 2015) (complaint by Complainant’s putative licensee denied),
Annex 4; and EvoPlay LLP v. Haladjian, D2015-0252 (May 18, 2015) (same), Annex 6. The cases are discussed in
detail below.
3
  Ritzio Purchase Limited v. Escave Ltd, D2015-00875 (Aug. 12, 2015); Ritzio Purchase Limited v. Budusov /
InfoStar Management Ltd, D2015-1106 (Oct. 7, 2015).

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B.      Factual Background.
        1.       Use of the marks in connection with gambling is illegal in Russia
        Complainant states that it began providing casino and entertainment products in Russia
under the trademark VULKAN in 1992. Complaint, p.13. Complainant claims that it eventually
received four trademark registrations in Russia (“Russian Registrations”). Complainant also
introduces various international trademark registrations, all of which rely upon the Russian
Registrations as the underlying or “basic” registrations (“International Registrations,” and
together with the Russian Registrations, “Disputed Registrations”).
        Complainant tries to hide however that (1) Russia banned all online gambling in late
2006, with the effect that Complainant could not have had any legal online gambling operations
in Russia thereafter, and (2) Complainant ceased all brick-and-mortar gambling operations in
Russia in early 2009 as a result of another law that made all gambling virtually illegal throughout
Russia. Annex 2, Russian Law N244-FZ, §§5.3&5.4.4 As discussed below, because of the
illegality of both online and brick-and-mortar gambling operations in Russia, Complainant has
been unable to offer services in Russia for at least the past seven years (bricks-and-mortar) or ten
years (online), such that to the extent they claim protection for gambling services, the Russian
Registrations are invalid due to abandonment and non-use and are subject to cancellation.
        2.       Registration of the disputed marks was rejected in Ukraine
        The English translation of the Cyrillic-character trademark shown in Complainant’s
Russian Registrations is “volcano.” Volcano-related imagery is popular in the context of
gambling, as such imagery calls to mind the “eruptions” of coins and other winnings that are
bestowed upon lucky gamblers.5 As a result, gambling-related trademarks frequently incorporate
references to volcanoes and volcano-related imagery. Notably absent from the Complaint is any
acknowledgement that Complainant operates in an environment where many other parties use
volcano-related trademarks. As detailed below, the existence of those other parties and their own
trademarks has prevented Complainant from registering such marks in Ukraine.




4
  Complaint Annex 18 supports Respondents’ assertions. Page 3 shows that “Local Operations,” that is, Russian and
Ukrainian operations, dropped off immensely in 2009 and were null in 2010. It also states that 100% of
Complainant’s operations in the second half of 2010 came from outside Russia and Ukraine. Id., p.2. Complaint
Annex 19, a Summary of Complainant’s operations and locations, also shows no venues within Russia or Ukraine.
5
  E.g., the famous volcano at the Mirage Casino in Las Vegas: http://www.mirage.com/attractions/volcano.aspx

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       3.       The Disputed Domains and their Websites
       In 2013 – more than seven years after Russia banned Internet gambling, more than five
years after Complainant was legally prohibited from operating physical casinos in Russia, and
more than five years after Complainant thus ceased using its trademarks – Respondents began
registering the Disputed Domains (see table below). Respondents did so with the knowledge that
trademark rights no longer could exist in Russia for any gambling related activities. After
registering the domains registered in his name, Respondent Zhoselin-Patrick Mandzela
transferred the operation and control of them to Respondent Davy Kiba-Gaste. Annex 1, ¶¶2-3.
       Most, if not all, of the visitors to the Disputed Domains come from Russia or Ukraine –
where Complainant can possess no rights in the putative trademarks. See Annex 3, summarized
as follows:
            Domain Name              Registration Date      Russian       Ukrainian
                                                            Users         Users
            1vulcano.com             May 11, 2016           N/A           100%
            2vulcano.com             May 11, 2016           100%          N/A
            3vulcano.com             May 11, 2016           N/A           N/A
            5vulcano.com             May 11, 2016           92.66%        5.31%
            7vulcano.com             May 11, 2016           N/A           N/A
            online-volcano.com       March 7, 2013          N/A           N/A
            volcan24.com             March 7, 2013          65.02%        N/A
            volcanozal.com           March 26, 2013         100%          N/A
            vulcan-club-online.com   September 18, 2014     46.98%        21.57%
            vulcano7.com             June 6, 2016           N/A           N/A
            vulcan-online-club.com   September 18, 2014     100%          N/A
            wulkancasino.com         March 7, 2013          46.78%        39.63%

       Moreover, the websites at the Disputed Domains are available ONLY in the Russian
language, and thus are aimed only at users in Russia and Ukraine.
       4.       Prior Proceedings
       On February 17, 2015, Complainant’s putative licensee, EvoPlay LLP (“EvoPlay”),
commenced a UDRP proceeding against the registrant of domains like casino-vulcan.com and
clubvulcan.com. EvoPlay LLC v. Ziganshin, D2015-0222 (April 16, 2015), Annex 4. The
domains were operated by GGS Ltd. See Sevostianov Affidavit, filed in InfoStar case, Annex 5,
¶12. The factual allegations and legal arguments in the Ziganshin proceeding are nearly identical
to this proceeding. On February 26, 2015, EvoPlay commenced another proceeding directly


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against GGS, regarding the domain names bestvulkan.com and myvulkan.com. EvoPlay LLP v.
Haladjian, D2015-0252 (May 18, 2015), Annex 6. Again, the allegations and arguments in the
Haladjian proceeding are nearly identical to those here.
         EvoPlay based its complaints on its putative license of the putative trademark VULKAN
and related trademarks from Complainant, and alleged that the respondents were operating
gambling websites using those trademarks in the disputed domains. The respondents replied that
they had registered their domain names more than five years after Russia had banned Internet
gambling, more than three years after Complainant was legally prohibited from operating
physical casinos in Russia, and more than three years after Complainant ceased using the
VULKAN marks in Russia and Ukraine. The respondents also showed that the users of their
websites were almost entirely from Russia and Ukraine, that the websites were operated with the
implicit consent of Complainant, and that Complainant and GGS had even discussed joint
projects.
         After an extensive period spent reviewing over 1,000 pages of annexes in those cases, the
Ziganshin panel DENIED the complaint. In arriving at its decision, the majority of the panel
found that “the Complainant has not carried its burden of proving that Respondent registered and
used the Domain Names in bad faith within the meaning of the Policy.” The majority 6
continued:
         As the sheer mass of documentation accompanying the parties’ submissions in this
         case tends to indicate, this dispute is not well suited for resolution under the
         Policy.... The Policy does not contemplate this Panel serving as a tribunal of
         general jurisdiction over any and all disputes which are somehow related to domain
         names. The issues raised by the parties here exceed the relatively narrow confines
         of the Policy, which is designed chiefly to address clear cases of cybersquatting.

         On May 18, 2015, the three-judge panel in the Haladjian proceeding also denied that
complaint. As the panel wrote:
         This Panel finds that the issues raised in this proceeding are outside the scope of
         proceedings under the Policy and are properly decided by traditional (e.g.,
         appropriate judicial) means…. Complainant itself, citing prior cases decided under
         the Policy, points out to us that issues of trademark validity are generally outside
         the purview of UDRP proceedings. For that very reason (among others),
         Complainant’s case fails. The facts of this case do not establish a clear-cut case of
         cybersquatting…. These are complex issues best addressed through the court

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 In a concurring opinion, the third panelist simply found that the dispute was not well suited for resolution under the
Policy and recommended denying the requested relief without considering the merits of the case.

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        system rather than under the Policy.

        Because the issues in this proceeding and those cases are virtually identical, Respondents
request that the panel in this proceeding follow the decisions in the those cases. See WIPO
Overview 2.0, §4.1 (“The UDRP does not operate on a strict doctrine of precedent. However,
panels consider it desirable that their decisions are consistent with prior panel decisions dealing
with similar fact situations.”). The issues raised in this proceeding, like those in Ziganshin and
Haladjian, are outside the scope contemplated by the Policy and are instead properly decided by
traditional means. Therefore, the Complaint should be dismissed. See, also, Clinomics
Biosciencesv. Simplicity Software, D2001-0823 (August 28, 2001), Annex 7; Libro AG v. NA
Global Link, D2000-0186 (May 16, 2000), Annex 8.7
        5.       Complainant’s Abuse of Administrative Proceedings
        After the failure of Complainant’s putative licensee in the Ziganshin and Haladjian cases,
Complainant filed two UDRP proceedings, Ritzio Purchase Limited v. Escave Ltd, D2015-00875
(Aug. 12, 2015) and Ritzio Purchase Limited v. Budusov / InfoStar Management Ltd, D2015-
1106 (Oct. 7, 2015). Pursuant to UDRP Rule Paragraph 3(b)(xiii), Complainant agreed, in both
cases, to submit, with respect to any challenges that would be made by the respondents to a
decision by the Panel to transfer or cancel the domain names, to the jurisdiction of the courts at
the location of the registrants’ addresses in the WhoIs database (the “Mutual Jurisdiction”).
Annex 9, p.26; Annex 10, p.28. Escave was in the Seychelles and InfoStar in England. In both
of these cases, the Panels found in favor of Complainant. But, shortly thereafter and in
accordance with the provisions of Policy ¶4(k), both respondents filed a lawsuit in their
appropriate jurisdictions to challenge the Panels’ decisions. Annexes 11-12.
        However, despite representing in the complaints that Complainant would submit to the
jurisdiction of the courts in England and the Seychelles pursuant to Rule 3(b)(xiii), Complainant
subsequently challenged the right and jurisdiction of the respective courts to hear the disputes.
Annexes 13-14. As a result of these actions, the respondents were stripped of their rights to fully


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  Other than the Escave and InfoStar cases (in which, as detailed below, Complainant perpetrated fraud using the
UDRP), Complainant references a number of other UDRP cases where it putatively succeeded. In all but one of
those cases, the registrants did not respond to the complaints and therefore they are of no precedential value. See
Ritzio Purchase Ltd. v. Lykov, D2015-0633 (May 23, 2016) (“No response has been filed.”); Ritzio Purchase Ltd. v.
Twist Services Ltd., D2016-0967 (July 11, 2016) (“The Respondent did not reply to the substance of the
Complainant’s contentions.”); Ritzio Purchase Ltd. v. Whoisguard Protected, D2015-0295 (April 14, 2015) (“The
Respondent did not submit a formal Response in this proceeding.”).

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adjudicate the merits of their cases as promised by Policy ¶4(k). The domains have now been
transferred to Complainant as a result of its fraud. Annex 15.
        Complainant’s actions constitute not only fraud but an abuse of the UDRP proceeding.
Complainant filed the complaints with its representation that it would agree to the jurisdiction of
the Seychelles and England courts, respectively, if respondents chose to challenge the decisions
of the Panels. Complainant was required to submit to these jurisdictions in order to file its
complaints and was not entitled to a decision from the Panels if it did not submit. However, after
Complainant received the Panels’ decisions in its favor, it completely ignored its obligations to
submit to the Mutual Jurisdictions, taking action in direct contravention. Complainant lied to
the Panels when it promised to submit to the courts.
        There is no question that if Complainant is successful in its Complaint here that it will
continue to use the same fraudulent scheme to deny Respondents their rights under UDRP ¶4(k)
to have this dispute resolved by a court of competent jurisdiction before their domain names are
irretrievably stripped. The UDRP was never intended to be the last stop for disputes between the
parties. Given the fraud and abuse of proceedings perpetrated by Complainant in the past,
Complainant’s requested relief should be denied and the Panel should declare in its decision that
the Complaint was brought in bad faith and constitutes an abuse of the administrative
proceeding. Rule 15(e) (“If after considering the submissions the Panel finds that the complaint
was brought in bad faith, for example in an attempt at Reverse Domain Name Hijacking 8 or was
brought primarily to harass the domain-name holder, the Panel shall declare in its decision that
the complaint was brought in bad faith and constitutes an abuse of the administrative
proceeding.”).
        6.       Complainant’s Implied Consent to Third Parties
        Evidence proffered in the prior UDRP proceedings indicate that, for many years,
Complainant either explicitly consented to third parties using its putative trademarks without any
oversight or licensing, or simply did not care that third parties did so. This confirms that even
Complainant did not believe it had any trademark rights in Russia or Ukraine. For instance,
GGS, a subject of the above referenced proceedings, had been using the VULKAN mark since
2011 at the latest. GGS began operating a website at the domain vulcan-casino.com in June of


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  The Rules define Reverse Domain Name Hijacking as “using the Policy in bad faith to attempt to deprive a
registered domain-name holder of a domain name.”

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2011, and continued to operate numerous other domain names and websites incorporating the
name. Annex 5, ¶7. GGS operated its domain names openly and with the implicit consent of
Complainant for nearly four years. GGS alleged that during those four years, Complainant had
extensive discussions with GGS regarding its domain names and websites, including discussions
about possible join projects.
       Complainant also allowed EvoPlay to operate without license for years. EvoPlay operated
websites at no fewer than 18 domain names that include the putative VULKAN mark, including
domain names like club-vulkan.com and vulkanpremium.com. Id., ¶15. EvoPlay had been
operating these domains and websites since as early as 2011, without any authorization or license
from Complainant. It is clear that Complainant permitted EvoPlay to operate because
Complainant knew its alleged trademark rights are not enforceable. Indeed, it was only shortly
before EvoPlay filed the Ziganshin and Haladjian proceedings that it sought a license from
Complainant (and Complainant wasn’t going to turn away a profitable licensing opportunity,
even if EvoPlay had no legitimate reason to get a license). Id., ¶16.
       Similarly, Respondents have operated the websites at the Disputed Domains for years in
full view of Complainant, who has taken no action until now. Having at the very least impliedly
consented to so many third parties using the marks for so many years in the same way that
Respondents have been operating, Complainant should not now be permitted to hijack the
domain names of others to use for its own purposes. Therefore, to the extent that Complainant
may possess any rights in the putative trademarks, Complainant’s inaction over the past five
years constitutes acquiescence and implied consent to Respondents’ use of the marks.
C.     The Disputed Domains are Not Confusingly Similar to Any Trademark in which
       Complainant has Colorable Rights.
       Complainant asserts that it owns two sets of trademark rights for the VULKAN mark: a
set of registrations issued by Rospatent and a set of international registrations issued under the
Madrid Protocol. These Disputed Registrations all are invalid to the extent they claim protection
for use in connection with gambling.
       1.      Complainant does not have colorable trademark rights arising from the
               Russian Registrations, which are invalid
       Complainant alleges that it has trademark rights in the marks VULKAN and its English
translation, VOLCANO, arising from four registrations issued for those marks by Rospatent. All

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of the registrations claim coverage in Class 41 concerning the provision of gambling services
(both online and offline). Those registrations all were issued in 2008 or earlier. In mid-2009,
however, Russia instituted a ban on the provision of casino and gambling services. As reported
at the time:
        Russia closed down its casinos overnight as gambling was banned nationwide....
        The July 1 ban shut gaming halls, from gaudy casinos crowned by extravagant neon
        structures to dingy dwellings containing a handful of slot machines.... The Kremlin
        plans to restrict gambling to Las Vegas-style gaming zones in four rarely visited
        regions deemed to need investment... but nothing has been built and critics say the
        zones will fail.

Annex 16. See also Annex 2, §5.4. Complainant does not operate in the four gaming zones.
Complaint Annex 18; Annex 17. In short, gambling has largely been illegal in Russia for over
seven years, and in the few isolated zones where it remains possible, Complainant has no
operations.
        Russia’s statutes prohibit the registration of trademarks “that are contrary to public
interests, or to principles of humanity or morality.” Civil Code of the Russian Federation (“Civil
Code”), Article 1483 §3(2), Annex 18. The Civil Code provides that any registration may be
invalidated “fully or in part during the whole period of validity of the exclusive right to a
trademark,” on such grounds. Civil Code, Art.1512 §2. Given Russia’s virtual bans on
gambling, and Complainant’s subsequent decision not operate in Russia, Complainant’s
registrations are invalid and vulnerable to cancellation.
        The Russian Registrations also are vulnerable to cancellation on grounds of non-use,
owing to Complainant’s failure to offer gambling and casino services within Russia itself since
the ban. See, e.g., In Re Casino De Monaco, 2010 U.S.Dist. LEXIS 33950 (SDNY 2010) (where
mark holder did not operate casinos within the United States, it had no protectable trademark
rights and could not compel the transfer of respondent’s online casino domains incorporating the
putative mark), Annex 19. Similarly, the Russian Civil Code provides that “Legal protection of a
trademark may be early terminated with respect to all goods or part of the goods for the
individualization of which the trademark has been registered as the result of the nonuse of the
trademark continuously within any three years after its official registration,” and “Termination of
legal protection of a trademark shall mean the termination of the exclusive right to this
trademark.” Art.1486 §§1&4.


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       Here, Complainant is attempting to rely upon Russian trademark registrations that are of
dubious validity because the claimed services are illegal throughout Russia and have not been
utilized there for nearly twice as long as the statutory non-use period. Those registrations cannot
form a valid basis for granting Complainant’s demand.
       2.      Complainant does not have colorable trademark rights in the International
               Registrations, which are invalid
       Complainant also attempts to assert the trademark rights embodied in five International
Registrations issued under the Madrid Protocol. None of the four registrations grant or extend
any rights into Russia, and they are not “applicable in” Russia; instead, each simply relies upon
on an earlier Russian registration:
                 International
                                                Mark                “Basic” Registration
                Registration No.
                                                                  Russian Registration No.
                     989103                  VOLCANO
                                                                          307879

                                                                  Russian Registration No.
                     992196
                                                                          342291

                                                                  Russian Registration No.
                     977713
                                                                          342290

                                                                  Russian Registration No.
                     984297                   VULKAN
                                                                          353692


As noted, the Russian Registrations are presumptively invalid due to Complainant’s non-use, and
inability to use, the subject marks in connection with gambling, and none of the International
Registrations, in themselves, create any trademark rights in Russia or Ukraine.
       Furthermore, Complainant is a Cyprus entity. For a party to file a valid Madrid Protocol
application, that party must “have a real and effective industrial or commercial establishment or
a domicile in, or [be] a national of, one of the countries party to the Protocol,” and “Before a
mark can be the subject of an international application, it must already have been registered, or
registration must have been applied for, for the same goods or services with the trademark
registration office of a country in respect of which one of the requirements mentioned in point 3
is fulfilled.” Madrid Protocol, §§3&4, Annex 20. Complainant provides no evidence of any


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trademark rights extant in Cyprus, however, which means that Complainant must have “a real
and effective industrial or commercial establishment” in Russia in order for the International
Registrations to be valid. However, Complainant has no establishments in Russia, and the
International Registrations in their entireties thus are suspect and invalid.
       3.       Complainant shares any rights to the VULKAN/VOLCANO mark with
                other parties.
       In attempting to extend the International Registration into multiple jurisdictions,
Complainant has encountered repeated refusals from national intellectual property registries and
objections from private parties arising out of the fact that other entities make use of
VULKAN/VOLCANO trademarks specifically in connection with gambling activities. As the
chart below shows, objections and oppositions repeatedly have been lodged against
Complainant’s attempts to register the VULKAN/VOLCANO trademarks in connection with
Class 41 services, on the grounds that doing so would create a likelihood of confusion:
                                      Total Refusal       Partial Refusal on      Third Party Opposition
                                      of Protection      Confusion Grounds        on Confusion Grounds
    Complainant
                        Mark          on Confusion      (Class 41 specifically)    (Class 41 specifically)
     Int’l. Reg.
                                        Grounds

                                                        European Community,        European Community
       989103         VOLCANO                                Kazakhstan

                                         Belarus              Ukraine,
                                                             Kazakhstan
       992196

                                                              Ukraine,
                                                             Kazakhstan
       977713


                                         Ukraine        European Community,        European Community
                                                               Serbia,                     (x3)
       984297         VULKAN                                  Belarus,
                                                             Kazakhstan


       Copies of these registry objections and third-party oppositions are attached hereto as
Annexes 21-34. To pick a single example, in 2009, the Ukrainian registry refused registration of
the VULKAN mark to Complainant because other parties had long been using similar marks for
casinos in Ukraine. Annex 21. In French, in Section IV, “Grounds for Refusal,” the registry
states that “The sign <VULKAN> cannot be taken as a mark because similar signs have been


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taken previously in the names of Ukraine with ‘VOLCANO.’” Section VI states that it is a
“refusal for the totality of products and services.” 9 Ritzio never disputed that provisional refusal,
which then became final.
         Complainant exists and operates in an environment where it does not possess exclusive
rights to use the word VULKAN/VOLCANO as a trademark, even in connection with gambling
services, and its attempt to wrestle the Disputed Domains away from the Respondents represents
an improper attempt to expand such rights.
D.       Respondents Have Rights and Legitimate Interests in the Disputed Domains.
         Policy paragraph 4(c) states that if the respondent has any legitimate rights or interest in
the disputed domains, then Complainant cannot succeed for the purposes of Policy ¶4(a)(ii).
Specifically, Policy ¶4(c)(i) states that if, before any notice of the Dispute to Respondents,
Respondents’ use of the domain name or a trademark corresponding to the domain name was
made in connection with a bona fide offering of goods or services, then the Respondents have
rights and legitimate interests. Respondents easily satisfy this test.
         Respondents have a plausible, non-infringing reason for selecting the Disputed Domains,
proving that their use is bona fide. WebVan Group v. Atwood, D2000-1512 (February 20, 2001)
(“[A] plausible, non-infringing explanation for selection of the domain name is evidence that the
use is bona fide.”), Annex 35. Specifically, Complainant had not been operating in Russia or
Ukraine under the trademarks for four years when they first registered any of the Disputed
Domains, constituting abandonment of the trademarks and making the trademark registrations
vulnerable to cancellation. Moreover, Complainant’s VULKAN-trademarked operations in
Russia had by then been made illegal, and therefore Complainant could not have legitimate
trademark rights arising out of a now-illegal activity. Based on the foregoing, Respondents had a
good faith belief that they were not infringing any legitimate trademark rights when they
registered the Disputed Domains to be used in Russia and Ukraine. For the foregoing reasons,
Respondents have rights to and legitimate interests in the Disputed Domains.
E.       The Disputed Domains Were Not Registered or Used in Bad Faith.
         “The Policy, paragraph 4(a)(iii), obliges the Complainant to establish that the Domain
Name ‘has been registered and is being used in bad faith.’ The consensus view since the Policy


9
 If the Panel desires, Respondent will provide a certified translation of the entirety of this refusal and the others
enclosed herewith.

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was implemented in 1999 has been that the conjunctive ‘and’ indicates that there must be bad
faith both at the time of registration and subsequently.” Mile v. Burg, D2010-2011 (February 7,
2011), Annex 36.
        1.      No bad faith registration
        The Disputed Domains were not registered in bad faith because Respondents had a
legitimate and non-infringing reason for registering the them. Complainant had not been
operating in Russia or Ukraine under the VULKAN trademark for four years by the time
Respondents registered any of the Disputed Domains. Moreover, Complainant’s casino and
online gambling operations in Russia had been made illegal, and therefore could not have formed
the basis for any legitimate trademark rights. Therefore, Respondents had a good faith belief that
they were not infringing any trademark rights when they registered the Disputed Domains. See
WebVan, D2000-1512 (“However, a plausible, non-infringing explanation for selection of the
domain name is evidence that the use is bona fide.”), Annex 35. Because the Policy requires bad
faith intent at the time of registration, and because there was no bad faith intent at such time,
Policy ¶4(a)(iii) is not satisfied.
        2.      No bad faith use
        The websites located at the Disputed Domains are not “copycat” websites that compete
with Complainant, because Complainant does not operate online gaming services, either in
Russia or Ukraine (where Mr. Kiba-Gaste’s websites are used), or elsewhere in the world.
Moreover, well before the filing of the Complaint, Mr. Kiba-Gaste had been operating his
websites openly and in full view and with the implicit consent of Complainant for over three
years. Complainant certainly knew, or should have known, about Mr. Kiba-Gaste’s operation of
the Disputed Domains. Therefore, to the extent that the Disputed Marks are valid,
Complainant’s actions constituted acquiescence to and implied consent for Respondents’
activities. Complainant argues that Respondents have acted in bad faith because they did not
receive authorization from Complainant before they registered the Disputed Domains. But
because Complainant had no relevant trademark rights at the time the domains were registered or
at any time since then (not, at least, in Russia and Ukraine where the Disputed Domains are
used), Respondents were under no obligation to receive authorization.




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3.     Other indicia of bad faith do not exist
       Policy ¶4(b) lists several other factors that might evidence use and registration in bad
faith, none of which are present here. Respondents have not registered the Disputed Domains for
the purpose of selling them to Complainant, nor have Respondents registered them to prevent
Complainant from reflecting its putative trademarks in domain names. As referenced above,
Complainant and EvoPlay have already registered and used numerous domains containing the
putative trademarks. Also, Respondents did not register the Disputed Domains for the purpose
of disrupting the business of any competitor (although it is clear that Complainant is disrupting
the business of its competitors).
       Finally, the use of a WHOIS privacy service is irrelevant. There are wholly legitimate
reasons to use a WHOIS privacy service, and the mere use of such a service is of no relevance to
the issue of bad faith. See, e.g., WWF-World Wide Fund v. Moniker, D2006-0975 (November 1,
2006) (“[T]here can be wholly legitimate reasons for a person wishing to protect privacy by
means of a proxy service. Many reputable registration services now offer a proxy registration
service.”), Annex 37.


       For the reasons stated herein, Respondents requests that the Panel deny the relief
requested by Complainant. Respondents also request that the Panel issue a finding that the
Complaint was brought in bad faith and constitutes an abuse of the administrative proceeding.


                                          IV. Omitted


                                    V. Administrative Panel
           (Rules, paras. 5(b)(iv) and (b)(v) and para. 6; Supplemental Rules, para. 7)


[7.]   Respondents elect to have the dispute decided by a three-member Administrative
Panel. Respondents provide the names of the following three persons for use in the panel:


1.     Robert A. Badgley
       Karbal Cohen Economou Silk Dunne LLC
       150 South Wacker Drive
       Chicago, IL 60606

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        United States of America
        Telephone: +1-312-431-3634
        Fax: +1-312-431-3670
        Email: rbadgley@karballaw.com
        http://www.wipo.int/amc/en/domains/panel/profiles/badgley-roberta.pdf

2.      Paul C. Van Slyke
        Hoove Slovacek LLP
        Galleria Tower II
        5051 Westheimer, Suite 1200
        Houston, TX 77024
        United States of America
        Telephone: +1-713-977-8686
        Fax: +1-713-977-5395
        Email: vanslyke@hooverslovacek.com
        http://www.wipo.int/export/sites/www/amc/en/domains/panel/profiles/vanslyke-paulc.pdf

3.      David E. Sorkin
        Center for Information Technology and Privacy Law
        The John Marshall law School
        315 South Plymouth Court
        Chicago, Illinois 60604
        United States of America
        Telephone: +1-312-987-2387
        Fax: +1-773-648-7044
        Email: david@sork.com
        http://www.wipo.int/export/sites/www/amc/en/domains/panel/profiles/sorkin-davide.pdf

                                 VI. Other Legal Proceedings
                                      (Rules, para. 5(b)(vi))
[8.]    None.
                                     VII. Communications
                (Rules, paras. 2(b), 5(b)(vii); Supplemental Rules, para. 3, 7, 12)


[9.]    A copy of this Response has been sent or transmitted to the Complainant on November
14, 2016 in electronic form.


[10.]   This Response is submitted to the Center in electronic form, including any annexes, in the
appropriate format.



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                                         VIII. Payment
                        (Rules, para. 5(c); Supplemental Rules, Annex D)


[11.]   In view of Complainant’s designation of a single-member Panel and the Respondents’
designation of a three-member Panel, Respondents submitted payment in the amount of USD
$3,000 by the WIPO Center’s secure online payment facility on November 14, 2016
(Transaction Number DOM-200208420).


                                        IX. Certification
                      (Rules, para. 5(b)(viii), Supplemental Rules, para. 14)


[12.]   Respondents agree that, except in respect of deliberate wrongdoing, an Administrative
Panel, the World Intellectual Property Organization and the Center shall not be liable to a party,
a concerned registrar or ICANN for any act or omission in connection with the administrative
proceeding.
[13.]   Respondents certify that the information contained in this Response is to the best of
Respondents’ knowledge complete and accurate, that this Response is not being presented for
any improper purpose, such as to harass, and that the assertions in this Response are warranted
under the Rules and under applicable law, as it now exists or as it may be extended by a good-
faith and reasonable argument.


                                                             Respectfully submitted,




                                                     __________________________
                                                     Matthew Shayefar, Esq.
                                                     Val Gurvits, Esq.




Date: November 14, 2016



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                       X.      List of Response Annexes


1.    Affidavit of Davy Kiba-Gaste
2.    Federal Law of December 29, 2006 No. 244FZ, “On government regulation of
      gambling activities and on introduction of amendments to some legislative acts of
      Russian Federation.”
3.    Geographic Breakdowns for Disputed Domains
4.    EvoPlay LLC v. Mr. Timur Ziganshin / Moniker Privacy Services / Timur, WIPO
      Case No. D2015-0222 (April 16, 2015)
5.    Affidavit of Andrey Sevostianov
6.    EvoPlay LLP v. Mardiros Haladjian / GGS Ltd., WIPO Case No. D2015-0252
      (May 18, 2015)
7.    Clinomics Biosciences, Inc. v. Simplicity Software, Inc., WIPO Case No. D2001-
      0823 (August 28, 2001)
8.    Libro AG v. NA Global Link Limited, WIPO Case No. D2000-0186 (May 16,
      2000)
9.    Complaint in Ritzio Purchase Limited v. Escave Ltd, WIPO Case No. D2015-
      00875 (Aug. 12, 2015)
10.   Complaint in Ritzio Purchase Limited v. Budusov / InfoStar Management Ltd,
      WIPO Case No. D2015-1106 (Oct. 7, 2015)
11.   Plaint filed with Supreme Court of Seychelles in Escave Ltd v Ritzio Purchase
      Limited
12.   Particulars of Claim filed with The High Court of Justice in InfoStar Management
      Ltd v. Ritzio Purchase Limited
13.   Ritzio Defence in Limine Litis filed in Seychelles case of Escave Ltd v. Ritzio
      Purchase Limited
14.   Ritzio Filings in England case of InfoStar Management Ltd. v. Ritzio Purchase
      Limited disputing jurisdiction
15.   Email from PanaNames
16.   “Russia bans all gambling and shuts casinos,” REUTERS (July 1, 2009)



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17.   “A raw deal for Russia’s casino workers,” THE MOSCOW NEWS (January 2,
      2010)
18.   Civil Code of the Russian Federation, Selected Articles
19.   In Re Casino De Monaco, 2010 U.S. Dist. LEXIS 33950 (S.D.N.Y. 2010)
20.   Protocol Relating to the Madrid Agreement Concerning the International
      Registration of Marks
21.   Ukraine Provisional Refusal of Protection
22.   Kazakhstan Refusal of Protection
23.   Bélarus Provisional Refusal of Protection
24.   European Union Provisional Refusal of Protection with opposition filed by
      Region D’Auvergne (dated 15/10/2009)
25.   European Union Provisional Refusal of Protection with opposition filed by
      Vulcan Productions, Inc. (dated 15/10/2009)
26.   European Union Provisional Refusal of Protection with opposition filed by
      Nürburg Quelle Hermann Kreuter GmbH (dated 15/10/2009)
27.   Kazakhstan Refusal of Protection
28.   Republic of Serbia Provisional Refusal of Protection
29.   Ukraine Provisional Refusal of Protection
30.   European Union Provisional Refusal of Protection with opposition filed by
      Region D’Auvergne (dated 18/12/2009)
31.   Kazakhstan Refusal of Protection
32.   Bélarus Provisional Refusal of Protection
33.   Kazakhstan Refusal of Protection
34.   Ukraine Provisional Refusal of Protection
35.   WebVan Group, Inc. v. Stan Atwood, WIPO Case No. D2000-1512 (February 20,
      2001)
36.   Mile, Inc. v. Michael Burg, WIPO Case No. D2010-2011 (February 7, 2011)
37.   WWF-World Wide Fund for Nature v. Moniker Online Services LLC, WIPO Case
      No. D2006-0975 (November 1, 2006)




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           Response Annex
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           Response Annex
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        Original Document
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                                                     Общие     Filed 01/03/17 Page 27 of 169
                                                           положения




       Главная страница            Документы системы ГАРАНТ             Искать другие документы


      Федеральный закон от 29 декабря 2006 г. N 244­ФЗ "О государственном регулировании деятельности по организации и проведению азартных игр и о внесении
     изменений в некоторые законодательные акты Российской Федерации" (с изменениями и дополнениями) > Глава 1. Общие положения



           Общие положения
                                              Федеральный закон от 29 декабря 2006 г. N 244­ФЗ
              "О государственном регулировании деятельности по организации и проведению азартных игр и о внесении изменений в
                                          некоторые законодательные акты Российской Федерации"
           С изменениями и дополнениями от:
           24 июля 2009 г., 22 апреля, 3 ноября 2010 г., 4 мая, 13 июня, 18 июля, 21 ноября 2011 г., 16 октября 2012 г., 23 июля 2013 г., 21, 22 июля 2014 г.

                Принят Государственной Думой 20 декабря 2006 года
                Одобрен Советом Федерации 27 декабря 2006 года
              ГАРАНТ: См. комментарии к настоящему Федеральному закону
                                                                      Глава 1. Общие положения

                    Статья 1. Предмет регулирования настоящего Федерального закона
                 1. Настоящим Федеральным законом определяются правовые основы государственного регулирования деятельности по организации и
           проведению азартных игр на территории Российской Федерации и устанавливаются ограничения осуществления данной деятельности в целях
           защиты нравственности, прав и законных интересов граждан.
              Информация об изменениях: Федеральным законом от 21 ноября 2011 г. N 327­ФЗ в часть 2 статьи 1 настоящего Федерального закона
           внесены изменения, вступающие в силу с 1 января 2013 г.
           См. текст части в предыдущей редакции
                 2. Действие настоящего Федерального закона не распространяется на деятельность по организации и проведению лотерей, а также на
           деятельность организаторов торговли, осуществляющих свою деятельность в соответствии с Федеральным законом "Об организованных торгах".
              ГАРАНТ: См. комментарии к статье 1 настоящего Федерального закона

                   Статья 2. Законодательство о государственном регулировании деятельности по организации и проведению азартных игр
                Правовое регулирование деятельности по организации и проведению азартных игр осуществляется в соответствии с Гражданским кодексом
           Российской Федерации, настоящим Федеральным законом, другими федеральными законами, законами субъектов Российской Федерации, а также
           может осуществляться принятыми в соответствии с настоящим Федеральным законом иными нормативными правовыми актами.
              ГАРАНТ: См. комментарии к статье 2 настоящего Федерального закона

                    Статья 3. Государственное регулирование деятельности по организации и проведению азартных игр
                 1. Государственное регулирование деятельности по организации и проведению азартных игр осуществляется путем:
                 1) установления порядка осуществления деятельности по организации и проведению азартных игр и соответствующих ограничений,
           обязательных требований к организаторам азартных игр, игорным заведениям, посетителям игорных заведений, игорных зон;
                 2) выделения территорий, предназначенных для осуществления деятельности по организации и проведению азартных игр, ­ игорных зон;
                 3) выдачи разрешений на осуществление деятельности по организации и проведению азартных игр в игорных зонах;
                 4) выдачи лицензий на осуществление деятельности по организации и проведению азартных игр в букмекерских конторах и тотализаторах;
              Информация об изменениях: Федеральным законом от 18 июля 2011 г. N 242­ФЗ пункт 5 части 1 статьи 3 настоящего Федерального закона
           изложен в новой редакции, вступающей в силу с 1 августа 2011 г.
           См. текст пункта в предыдущей редакции
                 5) осуществления государственного надзора в области организации и проведения азартных игр, направленного на предупреждение,
           выявление и пресечение нарушений законодательства о государственном регулировании деятельности по организации и проведению азартных игр
           лицами, осуществляющими указанную деятельность.
                 2. Государственное регулирование деятельности по организации и проведению азартных игр в соответствии с настоящим Федеральным
           законом осуществляется Правительством Российской Федерации, федеральным органом исполнительной власти, уполномоченным
           Правительством Российской Федерации на осуществление функций по нормативно­правовому регулированию в сфере организации и проведения
           азартных игр, иными федеральными органами исполнительной власти Российской Федерации в пределах их компетенции, органами
           государственной власти субъектов Российской Федерации, уполномоченными на осуществление функций по управлению игорными зонами.
                 3. Проверка технического состояния игрового оборудования осуществляется уполномоченным Правительством Российской Федерации
           федеральным органом исполнительной власти, осуществляющим функции по контролю и надзору за соблюдением законодательства о налогах и
           сборах.
              ГАРАНТ: См. комментарии к статье 3 настоящего Федерального закона

                     Статья 4. Основные понятия, используемые в настоящем Федеральном законе
                  Для целей настоящего Федерального закона используются следующие основные понятия:
                  1) азартная игра ­ основанное на риске соглашение о выигрыше, заключенное двумя или несколькими участниками такого соглашения между
           собой либо с организатором азартной игры по правилам, установленным организатором азартной игры;
                  2) пари ­ азартная игра, при которой исход основанного на риске соглашения о выигрыше, заключаемого двумя или несколькими участниками
           пари между собой либо с организатором данного вида азартной игры, зависит от события, относительно которого неизвестно, наступит оно или нет;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ пункт 3 статьи 4 настоящего Федерального закона изложен в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                  3) ставка ­ денежные средства, передаваемые участником азартной игры организатору азартной игры (за исключением денежных средств,
           признаваемых в соответствии с настоящим Федеральным законом интерактивной ставкой) и служащие условием участия в азартной игре в
           соответствии с правилами, установленными организатором азартной игры;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 4 настоящего Федерального закона дополнена пунктом
           3.1, вступающим в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                  3.1) интерактивная ставка ­ денежные средства, в том числе электронные денежные средства, передаваемые с использованием
           электронных средств платежа центром учета переводов интерактивных ставок букмекерских контор или тотализаторов организатору азартных игр в
           букмекерской конторе или тотализаторе по поручениям участников данных видов азартных игр и служащие условием участия в азартной игре в
           соответствии с правилами, установленными таким организатором азартных игр;
http://base.garant.ru/12151291/1/#block_100                                                                                                                     1/6
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                                                          положения
                 4) выигрыш ­ денежные средства или иное имущество, в том числе имущественные права, подлежащие выплате или передаче участнику
           азартной игры при наступлении результата азартной игры, предусмотренного правилами, установленными организатором азартной игры;
                 5) организатор азартной игры ­ юридическое лицо, осуществляющее деятельность по организации и проведению азартных игр;
               Информация об изменениях: Федеральным законом от 23 июля 2013 г. N 198­ФЗ пункт 6 статьи 4 настоящего Федерального закона изложен в
           новой редакции, вступающей в силу по истечении ста восьмидесяти дней после дня официального опубликования названного Федерального
           закона
           См. текст пункта в предыдущей редакции
                 6) деятельность по организации и проведению азартных игр ­ деятельность по оказанию услуг по заключению с участниками азартных
           игр основанных на риске соглашений о выигрыше и (или) по организации заключения таких соглашений между двумя или несколькими участниками
           азартной игры;
                 7) игорная зона ­ часть территории Российской Федерации, которая предназначена для осуществления деятельности по организации и
           проведению азартных игр и границы которой установлены в соответствии с настоящим Федеральным законом;
                 8) разрешение на осуществление деятельности по организации и проведению азартных игр в игорной зоне ­ выдаваемый в
           соответствии с настоящим Федеральным законом документ, предоставляющий организатору азартных игр право осуществлять деятельность по
           организации и проведению азартных игр в одной игорной зоне без ограничения количества и вида игорных заведений;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ пункт 9 статьи 4 настоящего Федерального закона изложен в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 9) лицензия на осуществление деятельности по организации и проведению азартных игр в букмекерских конторах и тотализаторах ­
           документ, выдаваемый в соответствии с настоящим Федеральным законом и предоставляющий организатору азартных игр право осуществлять
           деятельность по организации и проведению азартных игр в букмекерских конторах и (или) тотализаторах вне игорных зон, с обязательным
           указанием вида оказываемых услуг (услуг по заключению с участниками азартных игр основанных на риске соглашений о выигрыше и (или) услуг
           по организации заключения основанных на риске соглашений о выигрыше между двумя или несколькими участниками азартной игры), места
           нахождения процессингового центра букмекерской конторы или тотализатора, количества и места нахождения филиалов, пунктов приема ставок
           букмекерских контор или тотализаторов либо иных мест осуществления деятельности по организации и проведению азартных игр в букмекерских
           конторах и тотализаторах;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 10 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 10) участник азартной игры ­ физическое лицо, достигшее возраста восемнадцати лет, принимающее участие в азартной игре и
           заключающее основанное на риске соглашение о выигрыше с организатором азартной игры или другим участником азартной игры;
                 11) игорное заведение ­ здание, строение, сооружение (единая обособленная часть здания, строения, сооружения), в которых
           осуществляется исключительно деятельность по организации и проведению азартных игр и оказанию сопутствующих азартным играм услуг (в том
           числе филиал или иное место осуществления деятельности по организации и проведению азартных игр и оказанию сопутствующих азартным играм
           услуг);
                 12) казино ­ игорное заведение, в котором осуществляется деятельность по организации и проведению азартных игр с использованием
           игровых столов или игровых столов и иного предусмотренного настоящим Федеральным законом игрового оборудования;
                 13) зал игровых автоматов ­ игорное заведение, в котором осуществляется деятельность по организации и проведению азартных игр с
           использованием игровых автоматов или игровых автоматов и иного предусмотренного настоящим Федеральным законом игрового оборудования, за
           исключением игровых столов;
               Информация об изменениях: Федеральным законом от 13 июня 2011 г. N 133­ФЗ в пункт 14 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу с 1 января 2012 г.
           См. текст пункта в предыдущей редакции
                 14) букмекерская контора ­ игорное заведение, в котором организатор азартных игр заключает пари с участниками данного вида азартных
           игр;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 15 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 15) тотализатор ­ игорное заведение, в котором организатор азартных игр организует заключение пари между участниками данного вида
           азартных игр, а также выплату выигрышей за счет суммы ставок, принятых от участников данного вида азартных игр, за вычетом размера
           взимаемого организатором данного вида азартных игр вознаграждения;
                 16) игровое оборудование ­ устройства или приспособления, используемые для проведения азартных игр;
                 17) игровой стол ­ игровое оборудование, которое представляет собой место с одним или несколькими игровыми полями и при помощи
           которого организатор азартных игр проводит азартные игры между их участниками либо выступает в качестве их участника через своих работников;
                 18) игровой автомат ­ игровое оборудование (механическое, электрическое, электронное или иное техническое оборудование),
           используемое для проведения азартных игр с материальным выигрышем, который определяется случайным образом устройством, находящимся
           внутри корпуса такого игрового оборудования, без участия организатора азартных игр или его работников;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 19 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 19) касса букмекерской конторы ­ часть пункта приема ставок букмекерской конторы, в которой организатор азартных игр принимает ставки
           от участников данного вида азартных игр, за исключением интерактивных ставок, и выплачивает выигрыши;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 20 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 20) касса тотализатора ­ часть пункта приема ставок тотализатора, в которой организатор азартных игр принимает ставки от участников
           данного вида азартных игр, за исключением интерактивных ставок, и выплачивает выигрыши;
                 21) касса игорного заведения ­ часть игорного заведения, в которой организатор азартных игр осуществляет операции с денежными
           средствами и в которой находится специальное оборудование, позволяющее осуществлять указанные операции;
                 22) зона обслуживания участников азартных игр ­ часть игорного заведения, в которой установлены игровое оборудование, кассы игорного
           заведения, тотализатора, букмекерской конторы, а также иное используемое участниками азартных игр оборудование;
                 23) служебная зона игорного заведения ­ обособленная часть игорного заведения, которая предназначена для работников организатора
           азартных игр и в которую не допускаются участники азартных игр;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 24 статьи 4 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 24) сопутствующие азартным играм услуги ­ гостиничные услуги, услуги общественного питания, услуги в сфере зрелищно­
           развлекательных мероприятий, услуги по распространению (реализации, выдаче) лотерейных билетов, лотерейных квитанций, электронных
           лотерейных билетов, приему лотерейных ставок среди участников лотереи, выплате, передаче или предоставлению выигрышей участникам
           международных лотерей, которые проводятся на основании международных договоров Российской Федерации, и всероссийских государственных
           лотерей;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ пункт 25 статьи 4 настоящего Федерального закона изложен в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 25) процессинговый центр букмекерской конторы ­ часть игорного заведения, в которой организатор азартных игр проводит учет ставок,
           принятых от участников данного вида азартных игр, проводит на основе информации, полученной от центра учета переводов интерактивных ставок
           букмекерской конторы, учет интерактивных ставок, принятых от участников данного вида азартных игр, фиксирует результаты азартных игр,

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                                                          положения
           рассчитывает суммы подлежащих выплате выигрышей, осуществляет представление информации о принятых ставках, интерактивных ставках и о
           рассчитанных выигрышах в пункты приема ставок букмекерской конторы и в центр учета переводов интерактивных ставок букмекерских контор;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ пункт 26 статьи 4 настоящего Федерального закона изложен в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст пункта в предыдущей редакции
                 26) процессинговый центр тотализатора ­ часть игорного заведения, в которой организатор азартных игр проводит учет ставок, принятых от
           участников данного вида азартных игр, проводит на основе информации, полученной от центра учета переводов интерактивных ставок
           тотализаторов, учет интерактивных ставок, принятых от участников данного вида азартных игр, фиксирует результаты азартных игр, рассчитывает
           суммы подлежащих выплате выигрышей, осуществляет представление информации о принятых ставках, интерактивных ставках и о рассчитанных
           выигрышах в пункты приема ставок тотализатора и в центр учета переводов интерактивных ставок тотализаторов;
               Информация об изменениях: Федеральным законом от 13 июня 2011 г. N 133­ФЗ статья 4 настоящего Федерального закона дополнена пунктом
           27, вступающим в силу с 1 января 2012 г.
                 27) пункт приема ставок букмекерской конторы ­ территориально обособленная часть игорного заведения, в которой организатор азартных
           игр заключает пари с участниками данного вида азартных игр и осуществляет представление информации о принятых ставках, выплаченных и
           невыплаченных выигрышах в процессинговый центр букмекерской конторы;
               Информация об изменениях: Федеральным законом от 13 июня 2011 г. N 133­ФЗ статья 4 настоящего Федерального закона дополнена пунктом
           28, вступающим в силу с 1 января 2012 г.
                 28) пункт приема ставок тотализатора ­ территориально обособленная часть игорного заведения, в которой организатор азартных игр
           организует заключение пари между участниками данного вида азартных игр и осуществляет представление информации о принятых ставках,
           выплаченных и невыплаченных выигрышах в процессинговый центр тотализатора;
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 4 настоящего Федерального закона дополнена пунктом
           29, вступающим в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                 29) центр учета переводов интерактивных ставок букмекерских контор или тотализаторов ­ кредитная организация, в том числе
           небанковская кредитная организация, осуществляющая деятельность в соответствии со статьей 14.2 настоящего Федерального закона.
               ГАРАНТ: См. комментарии к статье 4 настоящего Федерального закона

                    Статья 5. Ограничения осуществления деятельности по организации и проведению азартных игр
                 1. Деятельность по организации и проведению азартных игр может осуществляться исключительно организаторами азартных игр при
           соблюдении требований, предусмотренных настоящим Федеральным законом, другими федеральными законами, законами субъектов Российской
           Федерации и иными нормативными правовыми актами.
                 2. Деятельность по организации и проведению азартных игр может осуществляться исключительно в игорных заведениях, соответствующих
           требованиям, предусмотренным настоящим Федеральным законом, другими федеральными законами, законами субъектов Российской Федерации,
           иными нормативными правовыми актами Российской Федерации.
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в часть 3 статьи 5 настоящего Федерального закона внесены
           изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                 3. Деятельность по организации и проведению азартных игр с использованием информационно­телекоммуникационных сетей, в том числе
           сети "Интернет", а также средств связи, в том числе подвижной связи, запрещена, за исключением случаев, предусмотренных настоящим
           Федеральным законом.
               Информация об изменениях: Федеральным законом от 13 июня 2011 г. N 133­ФЗ в часть 4 статьи 5 настоящего Федерального закона внесены
           изменения, вступающие в силу с 1 января 2012 г.
           См. текст части в предыдущей редакции
                 4. Игорные заведения (за исключением букмекерских контор, тотализаторов, их пунктов приема ставок) могут быть открыты исключительно в
           игорных зонах в порядке, установленном настоящим Федеральным законом.
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в часть 5 статьи 5 настоящего Федерального закона внесены
           изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                 5. Игорные зоны не могут быть созданы на землях населенных пунктов, за исключением создания игорной зоны в границах земельных
           участков, предоставленных для размещения олимпийских объектов федерального значения, финансирование и строительство которых не
           осуществлялись за счет бюджетных ассигнований или средств Государственной корпорации по строительству олимпийских объектов и развитию
           города Сочи как горноклиматического курорта (далее ­ Корпорация).
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 5 настоящего Федерального закона дополнена частью
           6, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                 6. Не допускается прием ставок организатором азартных игр в букмекерских конторах или тотализаторах путем перевода денежных средств,
           в том числе перевода электронных денежных средств, приема платежей физических лиц, почтового перевода денежных средств организатору
           азартных игр, осуществляемых оператором по переводу денежных средств, в том числе оператором электронных денежных средств, банковским
           платежным агентом и (или) банковским платежным субагентом, за исключением денежных средств, признаваемых в соответствии с настоящим
           Федеральным законом интерактивной ставкой. Организатор азартных игр в букмекерских конторах или тотализаторах вправе принимать
           интерактивные ставки, переданные только путем перевода денежных средств, в том числе электронных денежных средств (за исключением
           почтовых переводов), центром учета переводов интерактивных ставок букмекерских контор или тотализаторов с использованием электронных
           средств платежа по поручениям участников данных видов азартных игр.
               ГАРАНТ: См. комментарии к статье 5 настоящего Федерального закона

               Информация об изменениях: Федеральным законом от 22 апреля 2010 г. N 64­ФЗ в статью 6 настоящего Федерального закона внесены
           изменения
           См. текст статьи в предыдущей редакции
                     Статья 6. Требования к организаторам азартных игр
                  1. Организаторами азартных игр могут выступать исключительно юридические лица, зарегистрированные в установленном порядке на
           территории Российской Федерации.
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 6 настоящего Федерального закона дополнена частью
           1.1, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                  1.1. Организаторами азартных игр в букмекерских конторах или тотализаторах могут выступать исключительно юридические лица,
           являющиеся членами саморегулируемой организации организаторов азартных игр в букмекерских конторах или саморегулируемой организации
           организаторов азартных игр в тотализаторах.
               Информация об изменениях: Федеральным законом от 22 июля 2014 г. N 278­ФЗ статья 6 настоящего Федерального закона дополнена частью
           1.2
                  1.2. Организаторами азартных игр могут выступать юридические лица, которые будут осуществлять деятельность по организации и
           проведению азартных игр в игорной зоне, созданной в границах земельных участков, предоставленных для размещения олимпийских объектов
           федерального значения, финансирование и строительство которых не осуществлялись за счет бюджетных ассигнований или средств Корпорации.
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ часть 2 статьи 6 настоящего Федерального закона изложена в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                  2. Не могут выступать организаторами азартных игр юридические лица, учредителями (участниками) которых являются Российская
           Федерация, субъекты Российской Федерации или органы местного самоуправления, за исключением созданного в соответствии с указом
           Президента Российской Федерации акционерного общества, которое объединяет ипподромы Российской Федерации и одним из приоритетных
           направлений деятельности которого является развитие национальной коневодческой индустрии. Не могут выступать организаторами азартных игр
           юридические лица, учредителями (участниками) которых являются лица, имеющие неснятую или непогашенную судимость за преступления в

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                                                          положения
           сфере экономики либо за умышленные преступления средней тяжести, тяжкие преступления, особо тяжкие преступления.
               Информация об изменениях: Федеральным законом от 18 июля 2011 г. N 242­ФЗ в часть 3 статьи 6 настоящего Федерального закона внесены
           изменения, вступающие в силу с 1 августа 2011 г.
           См. текст части в предыдущей редакции
                  3. Организатор азартных игр обязан предоставлять сведения, необходимые для осуществления государственного надзора за соблюдением
           требований законодательства о государственном регулировании деятельности по организации и проведению азартных игр. Состав и порядок
           предоставления таких сведений устанавливаются Правительством Российской Федерации.
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 6 настоящего Федерального закона дополнена частью
           3.1, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                  3.1. Организаторы азартных игр в букмекерских конторах или тотализаторах представляют информацию о вступлении в члены
           саморегулируемой организации организаторов азартных игр в букмекерских конторах или саморегулируемой организации организаторов азартных
           игр в тотализаторах и прекращении соответствующего членства в уполномоченный Правительством Российской Федерации федеральный орган
           исполнительной власти, осуществляющий государственный надзор в области организации и проведения азартных игр, в течение пяти дней с даты
           вступления в члены саморегулируемой организации организаторов азартных игр соответствующего вида либо прекращения соответствующего
           членства.
                  4. Организатор азартных игр обязан обеспечивать личную безопасность участников азартных игр, иных посетителей игорного заведения,
           работников организатора азартных игр во время их нахождения в игорном заведении.
                  5. Организатор азартных игр обязан соблюдать установленные Правительством Российской Федерации в соответствии с настоящим
           Федеральным законом правила совершения операций с денежными средствами при организации и проведении азартных игр.
                  6. Стоимость чистых активов организатора азартных игр в течение всего периода осуществления деятельности по организации и проведению
           азартных игр не может быть менее:
                  1) 600 миллионов рублей ­ для организаторов азартных игр в казино и залах игровых автоматов;
               ГАРАНТ: Пункт 2 части 6 статьи 6 настоящего Федерального закона (в редакции Федерального закона от 22 апреля 2010 г. N 64­ФЗ) не
           применяется в отношении организаторов азартных игр в букмекерских конторах или тотализаторах, получивших лицензии на осуществление
           деятельности по организации и проведению азартных игр в букмекерских конторах и тотализаторах до дня вступления в силу названного
           Федерального закона, до истечения срока действия таких лицензий
                  2) 1 миллиард рублей ­ для организаторов азартных игр в букмекерских конторах и тотализаторах.
                  7. Для целей настоящего Федерального закона порядок расчета стоимости чистых активов организаторов азартных игр устанавливается
           уполномоченным Правительством Российской Федерации федеральным органом исполнительной власти.
                  8. Утратила силу.
               Информация об изменениях: См. текст части 8 статьи 6

              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в часть 9 статьи 6 настоящего Федерального закона внесены
           изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                  9. Минимальный размер уставного капитала организатора азартных игр в букмекерской конторе или тотализаторе устанавливается в сумме
           100 миллионов рублей. В оплату такого уставного капитала могут быть внесены только денежные средства, за исключением случаев, если
           организатором азартных игр выступает созданное в соответствии с указом Президента Российской Федерации акционерное общество, которое
           объединяет ипподромы Российской Федерации и одним из приоритетных направлений деятельности которого является развитие национальной
           коневодческой индустрии. Для формирования такого уставного капитала не могут быть использованы заемные денежные средства. Порядок
           подтверждения источников происхождения денежных средств, вносимых в оплату такого уставного капитала, устанавливается Правительством
           Российской Федерации.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ часть 10 статьи 6 настоящего Федерального закона изложена
           в новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                  10. В целях защиты прав и законных интересов участников азартных игр осуществление деятельности по организации и проведению
           азартных игр в букмекерской конторе допускается только при наличии у организатора азартных игр в букмекерской конторе банковской гарантии
           исполнения обязательств перед участниками азартных игр. Гарантом, предоставившим банковскую гарантию, может быть только банк. Срок
           действия банковской гарантии не может быть менее чем пять лет. Банковская гарантия продлевается или переоформляется в течение всего срока
           действия имеющейся у организатора азартных игр в букмекерской конторе лицензии на осуществление указанной деятельности и не может быть
           отозвана, в этих случаях банковская гарантия на соответствующий срок ее действия должна быть получена организатором азартных игр в
           букмекерской конторе на день, следующий после окончания срока действия договора о предоставлении банковской гарантии. Размер банковской
           гарантии определяется в соответствующем договоре и не может быть менее чем 500 миллионов рублей.
                  11. Организатор азартных игр обязан предоставлять ежегодно уполномоченному Правительством Российской Федерации федеральному
           органу исполнительной власти сведения о лицах, которые имеют голосующие акции или долю в уставном капитале этого организатора азартных
           игр в размере не менее 10 процентов и соответственно прямо и (или) косвенно могут оказывать существенное влияние на решение вопросов,
           отнесенных к компетенции общего собрания учредителей (участников) этого организатора азартных игр, а также документы, подтверждающие
           указанные сведения. Состав и порядок предоставления указанных сведений и документов устанавливаются Правительством Российской
           Федерации.
                  12. Бухгалтерская (финансовая) отчетность организатора азартных игр подлежит обязательной ежегодной аудиторской проверке.
                  13. Сведения и документы, указанные в части 11 настоящей статьи, заключение аудитора по результатам ежегодной аудиторской проверки
           являются обязательными приложениями к бухгалтерской (финансовой) отчетности организатора азартных игр.
                  14. Проверку достоверности сведений, предоставление которых предусмотрено частями 3, 9 и 11 настоящей статьи, проводит
           уполномоченный Правительством Российской Федерации федеральный орган исполнительной власти. Организатор азартных игр несет
           ответственность за полноту и достоверность указанных сведений в соответствии с законодательством Российской Федерации.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 6 настоящего Федерального закона дополнена частью
           14.1, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                  14.1. Технические и иные средства организатора азартных игр в букмекерских конторах или тотализаторах, с использованием которых
           осуществляется деятельность по учету ставок и интерактивных ставок, расчету сумм подлежащих выплате выигрышей и представлению
           информации о рассчитанных выигрышах, должны размещаться в процессинговых центрах букмекерских контор и процессинговых центрах
           тотализаторов на территории Российской Федерации и находиться в собственности организатора азартных игр.
                  15. Правительством Российской Федерации могут быть установлены дополнительные требования к организаторам азартных игр, а также к
           отчетности организаторов азартных игр, ее составу и порядку представления.
              ГАРАНТ: См. комментарии к статье 6 настоящего Федерального закона

              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в наименование статьи 6.1 настоящего Федерального закона
           внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст наименования в предыдущей редакции
                    Статья 6.1. Требования к организаторам азартных игр в букмекерских конторах и тотализаторах при заключении пари на официальные
                    спортивные соревнования и проведении других азартных игр, требования к центру учета переводов интерактивных ставок букмекерских
                    контор или тотализаторов при осуществлении деятельности по приему, учету и переводу интерактивных ставок
                 1. Организаторы азартных игр в букмекерских конторах и тотализаторах в целях выявления противоправного влияния на результаты
           официальных спортивных соревнований обязаны:
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ пункт 1 части 1 статьи 6.1 настоящего Федерального закона
           изложен в новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального
           закона
           См. текст пункта в предыдущей редакции

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                                                          положения
                 1) принимать ставки, интерактивные ставки на официальные спортивные соревнования и выплачивать соответствующие выигрыши, суммы
           которых превышают размер дохода, не подлежащего налогообложению в соответствии с частью второй Налогового кодекса Российской
           Федерации, при предъявлении участником азартной игры документа, удостоверяющего его личность, или применении иного способа идентификации
           участника азартной игры, предусмотренного Федеральным законом от 7 августа 2001 года N 115­ФЗ "О противодействии легализации (отмыванию)
           доходов, полученных преступным путем, и финансированию терроризма" и обеспечивающего установление возраста такого участника азартной
           игры;
                 2) информировать в порядке, установленном Правительством Российской Федерации, и с соблюдением законодательства Российской
           Федерации в области персональных данных и законодательства Российской Федерации о коммерческой тайне общероссийскую спортивную
           федерацию по соответствующему виду спорта и уполномоченный федеральный орган исполнительной власти, осуществляющий государственный
           надзор в области организации и проведения азартных игр, о выигрышах, выплаченных или подлежащих выплате по результатам пари, заключенных
           на официальные спортивные соревнования, завершившиеся с наименее вероятным результатом или исходом. Такая информация должна быть
           представлена не позднее тридцати дней со дня проведения соответствующего официального спортивного соревнования;
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ в пункт 3 части 1 статьи 6.1 настоящего Федерального
           закона внесены изменения, вступающие в силу по истечении тридцати дней после дня официального опубликования названного Федерального
           закона
           См. текст пункта в предыдущей редакции
                 3) вести в букмекерских конторах и тотализаторах учет участников азартных игр, от которых принимаются ставки, интерактивные ставки на
           официальные спортивные соревнования, и представлять с соблюдением законодательства Российской Федерации в области персональных данных
           данные такого учета в уполномоченный федеральный орган исполнительной власти, осуществляющий государственный надзор в области
           организации и проведения азартных игр, при осуществлении им этого надзора. Порядок ведения учета и представления данных, их объем и
           содержание устанавливаются Правительством Российской Федерации.
                 2. В случае выявления уполномоченным федеральным органом исполнительной власти, осуществляющим государственный надзор в
           области организации и проведения азартных игр, фактов представления организатором азартных игр недостоверной информации, предусмотренной
           пунктом 2 части 1 настоящей статьи, указанный орган уведомляет об этом общероссийскую спортивную федерацию по соответствующему виду
           спорта. Порядок и форма уведомления определяются федеральным органом исполнительной власти, уполномоченным Правительством
           Российской Федерации на осуществление функций по нормативно­правовому регулированию в сфере организации и проведения азартных игр.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 6.1 настоящего Федерального закона дополнена
           частью 2.1, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                 2.1. Центр учета переводов интерактивных ставок букмекерских контор или тотализаторов осуществляет деятельность по приему от
           физического лица денежных средств, в том числе электронных денежных средств (за исключением почтовых переводов), их учету и переводу
           организатору азартных игр в букмекерской конторе или тотализаторе с проведением идентификации участника азартной игры в соответствии с
           Федеральным законом от 7 августа 2001 года N 115­ФЗ "О противодействии легализации (отмыванию) доходов, полученных преступным путем, и
           финансированию терроризма", обеспечивающей установление возраста такого участника азартной игры.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 6.1 настоящего Федерального закона дополнена
           частью 2.2, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                 2.2. Центр учета переводов интерактивных ставок букмекерских контор или тотализаторов при осуществлении деятельности по приему от
           физических лиц денежных средств, в том числе электронных денежных средств, обеспечивает учет и предоставление с соблюдением
           законодательства Российской Федерации в области персональных данных организаторам азартных игр в букмекерских конторах или тотализаторах
           информации об участниках азартных игр, интерактивных ставках, принятых от участников данных видов азартных игр.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ часть 3 статьи 6.1 настоящего Федерального закона изложена
           в новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                 3. Предусмотренное пунктом 1 части 1 настоящей статьи требование о приеме ставок, интерактивных ставок и выплате выигрышей при
           предъявлении участником азартной игры документа, удостоверяющего его личность, или применении иного способа идентификации участника
           азартной игры, предусмотренного Федеральным законом от 7 августа 2001 года N 115­ФЗ "О противодействии легализации (отмыванию) доходов,
           полученных преступным путем, и финансированию терроризма" и обеспечивающего установление возраста такого участника азартной игры,
           применяется при проведении любых азартных игр в букмекерских конторах и тотализаторах с соблюдением при обработке соответствующих
           персональных данных законодательства Российской Федерации в области персональных данных.
              ГАРАНТ: См. комментарии к статье 6.1 настоящего Федерального закона

                    Статья 7. Требования к посетителям игорного заведения
                 1. Посетителями игорного заведения являются находящиеся в игорном заведении участники азартных игр, а также иные лица, доступ
           которых в игорные заведения не запрещен в соответствии с настоящим Федеральным законом.
                 2. Посетителями игорного заведения не могут являться лица, не достигшие возраста восемнадцати лет.
                 3. Организатор азартных игр вправе самостоятельно устанавливать правила посещения игорного заведения, не противоречащие настоящему
           Федеральному закону.
                 4. По требованию работников организатора азартных игр посетитель игорного заведения, нарушающий установленные в соответствии с
           настоящим Федеральным законом правила посещения игорного заведения, обязан немедленно покинуть игорное заведение.
              ГАРАНТ: См. комментарии к статье 7 настоящего Федерального закона

                    Статья 8. Общие требования к игорному заведению
                 1. Игорное заведение должно быть разделено на зону обслуживания участников азартных игр и служебную зону игорного заведения.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ часть 2 статьи 8 настоящего Федерального закона изложена в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                 2. При входе в игорное заведение, его филиал, пункт приема ставок букмекерской конторы или тотализатора либо иное место осуществления
           деятельности по организации и проведению азартных игр организатор азартных игр размещает и по первому требованию посетителя игорного
           заведения предоставляет информацию о фирменном наименовании организатора азартных игр, об адресе и о часах работы соответственно
           игорного заведения, его филиала, пункта приема ставок букмекерской конторы или тотализатора, иного места осуществления деятельности по
           организации и проведению азартных игр. В доступном для посетителей игорного заведения месте должны быть размещены текст настоящего
           Федерального закона, установленные организатором азартных игр правила азартных игр, правила посещения игорного заведения, правила приема
           ставок и выплаты выигрышей, разрешение на осуществление деятельности по организации и проведению азартных игр в игорной зоне или его копия
           либо лицензия на осуществление деятельности по организации и проведению азартных игр в букмекерских конторах и тотализаторах или ее копия,
           приложение к этой лицензии или его копия, а также решение о приеме в члены саморегулируемой организации организаторов азартных игр в
           букмекерских конторах и (или) саморегулируемой организации организаторов азартных игр в тотализаторах либо иной подтверждающий
           соответствующее членство документ или его копия.
                 3. Организация и проведение азартных игр могут осуществляться исключительно работниками организатора азартных игр. Работниками
           организатора азартных игр не могут являться лица, не достигшие возраста восемнадцати лет.
              Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ часть 4 статьи 8 настоящего Федерального закона изложена в
           новой редакции, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
           См. текст части в предыдущей редакции
                 4. Используемое в игорном заведении игровое оборудование должно находиться в собственности организатора азартных игр.
                 5. Технически заложенный средний процент выигрыша каждого игрового автомата не может составлять менее чем девяносто процентов.
              Информация об изменениях: Федеральным законом от 16 октября 2012 г. N 168­ФЗ статья 8 настоящего Федерального закона дополнена
           частью 6
                 6. В служебной зоне игорного заведения (за исключением пунктов приема ставок букмекерской конторы и тотализатора) должны находиться
           помещение для отдыха работников организатора азартных игр, специально оборудованное помещение для приема, выдачи и временного хранения

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                                                          положения
           денежных средств, помещение для организации службы безопасности игорного заведения.
               Информация об изменениях: Федеральным законом от 16 октября 2012 г. N 168­ФЗ статья 8 настоящего Федерального закона дополнена
           частью 7
                 7. Игорное заведение не может быть расположено в здании, строении, сооружении, в которых расположены физкультурно­оздоровительные и
           спортивные учреждения (за исключением букмекерских контор, тотализаторов, их пунктов приема ставок).
               Информация об изменениях: Федеральным законом от 21 июля 2014 г. N 222­ФЗ статья 8 настоящего Федерального закона дополнена частью
           8, вступающей в силу по истечении тридцати дней после дня официального опубликования названного Федерального закона
                 8. Выигрыши, суммы которых превышают размер дохода, не подлежащего налогообложению в соответствии с частью второй Налогового
           кодекса Российской Федерации, выплачиваются организатором азартной игры участнику азартной игры при предъявлении участником азартной
           игры документа, удостоверяющего его личность, или применении иного способа идентификации участника азартной игры, предусмотренного
           Федеральным законом от 7 августа 2001 года N 115­ФЗ "О противодействии легализации (отмыванию) доходов, полученных преступным путем, и
           финансированию терроризма" и обеспечивающего установление возраста такого участника азартной игры.
               ГАРАНТ: См. комментарии к статье 8 настоящего Федерального закона

              Информация об изменениях: Федеральным законом от 16 октября 2012 г. N 168­ФЗ глава 1 настоящего Федерального закона дополнена
           статьей 8.1
                 Статья 8.1. Требования к казино и залам игровых автоматов
                 1. Казино и зал игровых автоматов могут располагаться только в здании, строении, сооружении, являющихся объектом капитального
           строительства, занимать указанный объект полностью или располагаться в единой обособленной его части.
                 2. Площадь зоны обслуживания участников азартных игр в казино не может быть менее чем восемьсот квадратных метров, и в ней должны
           находиться касса игорного заведения, гардероб, места для отдыха посетителей игорного заведения и туалет.
                 3. В зоне обслуживания участников азартных игр в казино должно быть установлено не менее чем десять игровых столов, а также могут
           быть установлены игровые автоматы и могут находиться пункты приема ставок тотализатора и (или) букмекерской конторы.
                 4. В случае установки игровых автоматов в зоне обслуживания участников азартных игр в казино на данное игорное заведение
           распространяются требования, установленные частью 6 настоящей статьи.
                 5. Площадь зоны обслуживания участников азартных игр в зале игровых автоматов не может быть менее чем сто квадратных метров, и в ней
           должны находиться касса игорного заведения и туалет.
                 6. В зоне обслуживания участников азартных игр в зале игровых автоматов должно быть установлено не менее чем пятьдесят игровых
           автоматов, а также могут находиться пункты приема ставок тотализатора и (или) букмекерской конторы.
                 7. В служебной зоне зала игровых автоматов должно находиться специально оборудованное помещение или должно быть установлено
           оборудование для приема, выдачи и временного хранения денежных средств.
              ГАРАНТ: См. комментарии к статье 8.1 настоящего Федерального закона


                                                                                                                                          Глава 2. >>
                                                                                                                                        Игорные зоны
                                                                                 Содержание
                                                                Федеральный закон от 29 декабря 2006 г. N 244­ФЗ
                                                               "О государственном регулировании деятельности по
                                                                          организации и проведению...



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                                              массовых коммуникаций (Роскомнадзором), Эл № ФС77­58365 от 18 июня 2014 г.




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GENERAL TERMS

Federal Law of December 29, 2006 No. 244FZ
“On government regulation of gambling activities and on introduction of amendments to some legislative acts of
Russian Federation.”
Adopted by the State Duma on December 20, 2006
Approved by the Federation Council on December 27, 2006
Guarantee: see comments for the present Federal Law

                                                Chapter 1. General Terms

Article 1. Subject of Regulation of the present Federal Law
           1.        The present law defines the legal fundamentals of the government regulation of gambling activities in
the territory of Russian Federation and places limitations on pursuit of such activities in order to protect good morals,
rights and legitimate interests of citizens.
Amendments information: Federal Law of November 21, 2011, No. 327-FZ of Part 1 Article 2 of the present Federal
Law hereof made changes effective from January 1, 2013.
See. Text part in the previous edition
           2.         The present Federal Law does not apply to the activities connected to the organization and conduct of
lotteries, neither to the activities of the trade organizers, conducting their activities in accordance with the Federal Law
"On the organized commerce".
See. Comments on Article 1 of this Federal Law

Article 2. Legislation on government regulation of gambling activities
         Legal control of the gambling activities is conducted in accordance with the Civil Code of the Russian
Federation, the present Federal Law, other federal laws, laws of subjects of the Russian Federation, as well as may be
adopted in accordance with this federal law other normative legal acts, and may also be conducted through other
regulatory legal acts adopted in accordance with the present Federal Law.
See. Commentary to article 2 of this Federal Law

Article 3. Government regulation of gambling activities
          1. Government regulation of gambling activities is performed though:
1) Establishing an order for organization and conduct of gambling activities and existing limitations, mandatory
requirements for the facilitating agents of gambling activities, gambling establishments, visitors to gambling
establishments, and gaming zones;
2) Providing areas designated for the gambling activities – gambling zones;
3) Granting permissions for gambling activities within the gambling zones;
4) The issuance of licenses for gambling activities in bookmakers and betting;
Federal Law of July 18, 2011 No. 242FZ, paragraph 5 of Part 1 of Article 3 hereof reworded, effective from August 1,
2011
See. Item in the previous edition
5) Execution of government’s monitoring of the gambling activities aimed to prevent, detect and restrain violations of
the government regulation of gambling activities by the entities engaged in this activity.
          2. Government regulation of the gambling activities in accordance with the present Federal Law is conducted
by the Government of the Russian Federation, federal executive body authorized by the Government of the Russian

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Federation to exercise the functions of normative legal regulation in the sphere of gambling activities, other federal
agencies executive authorities of the Russian Federation within their competence, public authorities of the subjects of
the Russian Federation authorized to exercise the functions of managing gambling zones.
          3. Inspection of the technical condition of the gaming equipment is performed by the federal executive
authority authorized by the Government of the Russian Federation, and responsible for the control and supervision of
compliance with the taxes and fees legislation.
See. Comments on Article 3 of this Federal Law

Article 4. The basic concepts used in this Federal Law
For the purposes of the present Federal Law the following basic concepts are used:
1) Game of chance – risk driven agreement based on scoring, made between two or more parties of the betting among
themselves or with the organizer of gambling in accordance to the rules set by the organizer of gambling;
2) Bet gambling is a game of chance where the outcome of the risk-benefit agreements, made between two or more
parties of the betting among themselves or with the organizer of this kind of gambling, depends on the event that can’t
be predicted if it happens or not;
Federal Law of 21 July 2014 No. 222FZ of paragraph 3 of Article 4 hereof reworded, effective thirty days after the date
Of the official publication of the said Federal Law
See. Item in the previous edition
3) Bet – funds that are transferred from the gambler to the organizer of the gambling (except for funds recognized as bet
in accordance with the present Federal Law) and serve as a condition for participation in the game of chance, in
accordance with the rules established by the organizer of gambling;
Federal Law of 21 July 2014 No. 222FZ of Article 4 of this Federal Law, paragraph 3.1, effective thirty days after the
date of the official publication of the said Federal Law
3.1) interactive betting - funds, including electronic funds, transmitted by electronic payment means through the
interactive betting accounting center of the bookmakers and betting to the organizer of gambling at the bookmaker’s
office or betting by order of the participants of these forms of gambling and serves as a condition for participation in the
gambling, in accordance with the rules established by the organizer of gambling;
4) Gambling gain - cash or other property, including property rights, to be paid or transferred to the gambler upon the
completion of gambling in accordance with the rules established by the organizer of gambling;
5) The organizer of gambling a legal entity carrying out the gambling activities;
Federal Law of 23 July 2013 N 198FZ of paragraph 6 of Article 4 hereof reworded, effective one hundred and eighty
days after the official publication of the said Federal Law
See. Item in the previous edition
6) Gambling activities – rendering services on agreement undertaking between the participants of gambling based on
risk and benefit agreements (or) on the organization of such agreement executions between two or more gambling
parties;
7) Gaming zone – part of the territory of the Russian Federation, which is designated to carry out gambling activities
and the boundaries of which are established in accordance with the Federal Law;
8) Permit to conduct gambling activities within gambling zone – document issued in accordance with this Federal
Law that provides the gambling organizers with the right to carry out gambling activities within the gambling zone
without limitations on the number and types of gambling establishments;
Federal Law of 21 July 2014 N 222FZ of paragraph 9 of Article 4 hereof reworded, effective thirty days after the date
Of the official publication of the said Federal Law
See. Item in the previous edition


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9) License to conduct gambling activities through bookmakers and betting. A document issued in accordance with
this Federal Law gives the gambling organizers a right to carry out gambling activities through bookmakers and (or)
betting within gambling zones, with the obligatory indication of the type of services provided (services on agreement
undertaking between the participants of gambling based on risk and benefit agreements (or) services on the organization
of such agreement executions between two or more gambling parties agreements) benefit and (or) services for the
organization to enter into an agreement based on risk of winning between two or more parties to gambling), location of
the bookmakers’ office or betting processing center, the number and location of branches and points of betting
acceptance in bookmakers or betting or other places that conduct gambling activities through in bookmakers and
betting;
Federal Law of 21 July 2014 N 222FZ of Article 10, paragraph 4 hereof amended, effective thirty days after the date
of the official publication of the said Federal Law
See. Item in the previous edition
10) Gambler - an individual who has reached age of eighteen, participating in gambling and making risk-driven
agreement for winning with the organizer of gambling or another member of gambling;
11) gaming house, - structure, construction (single detached part of a building, structure, structures), where only
gambling activities and provision of related services takes place (including a branch or other place for conducting
gambling activities and providing gambling related services);
12) Casino - establishment in which the gambling activities are conducted through usage of gaming tables or gaming
tables and other gaming equipment recognized by the Federal Law;
13) Video arcade hall - establishment in which the gambling activities are conducted by slot machines or slot machines
And other gaming equipment provided by the Federal Law, except for the gaming tables;
Federal Law of June 13, 2011 N 133FZ of paragraph 14 of Article 4 hereof changes, effective from January 1, 2012
See. Item in the previous edition
14) Bookmaker’s office - establishment where gambling organizer makes a bet with the participants of this type of
gambling;
Federal Law of 21 July 2014 N 222FZ of Article 15, paragraph 4 hereof amended, effective thirty days after the date
of the official publication of the said Federal Law
See. Item in the previous edition
15) Betting house - establishment where gambling organizer organizes betting among the participants of this type of
gambling, as well as the payment of winnings from to the amount of bets collected from the participants of this type of
gambling, minus the organizer’s fee;
16) Gaming equipment - device or devices used for gambling;
17) Gaming table – gaming equipment which is a place with one or more playing fields and by which the gambling
organizer organizes gambling between the parties or act as their party through its employees;
18) A slot machine – gaming equipment (mechanical, electrical, electronic or other technical equipment) used for
gambling resulting in material gain, which is determined randomly by the device located inside the gaming equipment,
without the participation of the gambling organizer or its employees;
Federal Law of 21 July 2014 N 222FZ of Article 19, paragraph 4 hereof amended, effective thirty days after the date
of the official publication of the said Federal Law
See. Item in the previous edition
19) Bookmakers box office - a part of betting shop where the gambling organizer accepts any bets from the participants
of this type of gambling, except for interactive rates, and pay the winnings;
Federal Law of 21 July 2014 N 222FZ of Article 20, paragraph 4 hereof amended, effective thirty days after the date
of the official publication of the said Federal Law

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See. Item in the previous edition
20) box office of the betting house – part of totalizator betting, in which the gambling organizer accepts any bets from
the participants of this type of gambling, except for interactive rates, and pay the winnings;
21) Box office of gambling establishments a part of gambling establishments where the gambling organizers conduct
gambling transactions with cash and where there is special equipment located that allows carrying out such operations;
22) Gamblers service zone - part of the gambling establishment where gambling equipment and box offices for
gambling, betting, bookmaker are located, as well as other gaming equipment used by participants;
23) The service area of gambling establishments separate part of the gambling establishment designed to the
employees of the gambling organizer of in which the participants are not allowed gambling;
Federal Law of 21 July 2014 N 222FZ of Article 24, paragraph 4 hereof amended, effective thirty days after the date
of the official publication of the said Federal Law
See. Item in the previous edition
24) related to gambling services – hotel services, catering services, services in the field of spectacular entertainment
events, distribution services (sale, issuance) of lottery tickets, lottery receipts, electronic lottery tickets, lottery admission
rates among the participants of a lottery payment, transfer or the provision of prizes to participants of international
lotteries, which are held on the basis of international treaties of the Russian Federation, and Russian state lotteries;
Federal Law of 21 July 2014 N 222FZ of Article 25, paragraph 4 hereof reworded, effective thirty days after the date of
the official publication of the said Federal Law
See. Item in the previous edition
25) Processing center of the bookmaker’s office – part of a gambling establishment where the gambling organizer
maintains accounting of the betting made by the participants of this type of gambling; conducts accounting of the
interactive betting on the basis of information received from the transfer accounting center of the bookmaker’s office,
online accounting rates, accepted from the participants this type of gambling; records the gambling results; calculates the
amounts of winnings to be paid; provides information on the bid, online betting and calculated winnings to the betting
shop and to the transfer accounting center of the bookmaker’s office;
Federal Law of 21 July 2014 N 222FZ of Article 26, paragraph 4 hereof reworded, effective thirty days after the date
of the official publication of the said Federal Law
See. Item in the previous edition
26) processing center of the betting house - part of a gambling establishment where the gambling organizer maintains
accounting of the betting made by the participants of this type of gambling; conducts accounting of the interactive
betting on the basis of information received from the transfer accounting center of the betting houses, online accounting
rates, accepted from the participants this type of gambling; records the gambling results; calculates the amounts of
winnings to be paid; provides information on the bid, online betting and calculated winnings to the betting house shop
and to the transfer accounting center of the betting house;
Federal Law of June 13, 2011 N 133FZ of Article 4 of this Federal Law, paragraph 27, effective from January 1, 2012
27) Bookmakers betting shop – geographically separated part of the gambling establishment where the gambling
organizer organizes agreement undertaking between the participants of this type of gaming and provides reporting on
bid, paid and unpaid winnings to the processing center of bookmakers’ office;
Federal Law of June 13, 2011 N 133FZ of Article 4 of this Federal Law, paragraph 28, effective from January 1, 2012
28) Betting house betting shop – geographically separated part of the gambling establishment, where the gambling
organizer organizes the agreement undertaking between the participants of this type of gaming and provides reporting on
bid, paid and unpaid winnings to the processing center of betting house;
Federal Law of 21 July 2014 N 222FZ of Article 4 of this Federal Law, paragraph 29, effective thirty days after the
official publication of the said Federal Law


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29) Accounting center of interactive betting transfers for bookmakers or betting house – credit organization,
including nonbank credit organizations operating in accordance with Article 14.2 of the Federal Law.
See. Comments on Article 4 of this Federal Law

Article 5. Restrictions on the gambling activities
          1. The gambling activities can be carried out exclusively by the organizers of gambling, subject to the
requirements of the Federal Law, other federal laws, the laws of the Russian Federation and other normative legal acts.
          2. The gambling activities can take place only in gambling establishments that meet the requirements stipulated
by the present Federal Law, other federal laws, the laws of the Russian Federation and other normative legal acts of the
Russian Federation.
Federal Law of 21 July 2014 N 222FZ of Part 3 of Article 5 of this Federal Law amended, effective thirty days after the
date of the official publication of the said Federal Law
See. Text part in the previous edition
          3. The gambling activities through use of information and telecommunication networks, including "Internet",
as well as means of communication, including mobile communications, is prohibited, except the cases provided for the
Federal Law.
Federal Law of June 13, 2011 N 133FZ of Part 4 of Article 5 hereof changes, effective from January 1, 2012
See. Text part in the previous edition
          4. Gambling establishments (except for bookmakers, betting houses, betting shops) can be opened only in the
gambling zones in accordance with the procedure established by the Federal Law.
Federal Law of 21 July 2014 N 222FZ of Part 5 of Article 5 of this Federal Law amended, effective thirty days after
the date of the official publication of the said Federal Law
See. Text part in the previous edition
          5. Gaming zone cannot be established on the residential territory with the exception of establishing a gaming
zone within the boundaries of land provided for establishing Olympic venues of federal significance, financing and
construction of which was not covered by the budget or resources of the government owned corporation for the
construction of Olympic facilities and Development of Sochi as a mountain resort (hereinafter the
Corporation).
Federal Law of 21 July 2014 N 222FZ of Article 5 of this Federal Law, part 6, effective thirty days after the date of
the official publication of the said Federal Law
          6. The gambling organizers are not allowed to accept bids at bookmakers’ offices or betting houses through
transferred funds, including electronic transfers of funds, receiving payments from individuals, postal transfer of funds
to gambling organizer performed by the money transfer operator, including operator of electronic cash, bank payment
agent and (or) bank payment subagent, except cash payments that are recognized as an interactive betting in accordance
with the Federal Law. The gambling organizer of bookmakers’ offices and betting houses have the right to take
interactive bets transferred only by transfer of funds, including electronic cash (except for postal orders), by the
accounting center of interactive betting transfers for bookmakers or betting house through the use of the electronic
means of payment by order of the participants of these types of gambling.
See. Comments on Article 5 of this Federal Law
Federal Law of 22 April 2010 N 64FZ Article 6 hereof amended
See. Article in the previous edition




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     Federal Law of 29 December 2006 N 244­FZ "On state regulation of activities of the organization and conduct of gambling and on amendments to some legislative acts of the
     Russian Federation" (as amended) > Chapter 1. General Provisions



           General provisions
                                                          Federal Law of 29 December 2006 N 244­FZ
             "On state regulation of activities of the organization and conduct of gambling and on amendments to some legislative acts of the
                                                                      Russian Federation"
           As amended by:
           July 24, 2009, April 22, November 3, 2010, May 4, June 13, July 18, November 21, 2011, October 16, 2012, July 23, 2013, 21, 22 July 2014

                Adopted by the State Duma on December 20, 2006
                Federation Council approved December 27, 2006
              GUARANTEE: See. Comments hereto
                                                                           Chapter 1. General Provisions

                      Article 1 . The subject of regulation of this Federal Law
                   1. This Federal law defines the legal basis for state regulation of activities of the organization and conduct of gambling in the territory of the Russian
           Federation and set restrictions on the exercise of this activity in order to protect morals, rights and legitimate interests of citizens.
               Information about changes: Federal Law dated November 21, 2011 N 327­FZ of Part 2 of Article 1 hereof changes, which come into force from January 1,
           2013
           See. Text part in the previous edition
                   2. The present Federal Law shall not apply to the activities of the organization and conduct of lotteries, as well as the activities of the organizers of the
           trade, carrying out their activities in accordance with the Federal Law "On the organized trading".
               GUARANTEE: See. Comments on Article 1 of this Federal Law

                     Article 2 . Legislation on state regulation of activities of the organization and conduct of gambling
                  Legal regulation of the organization and conduct of gambling in accordance with the Civil Code of the Russian Federation, the present Federal Law,
           other federal laws, the laws of the Russian Federation, as well as may be adopted in accordance with this federal law other normative legal acts.
              GUARANTEE: See. Commentary to article 2 of this Federal Law

                     Article 3 . State regulation of activity in the organization and conduct of gambling
                  1. State regulation of activity in the organization and conduct of gambling is done by:
                  1) establishing the order of activities for the organization and conduct of gambling and related restrictions, mandatory requirements for the gambling,
           gambling establishments, visitors to gambling, gaming zones;
                  2) highlight areas designated for the activity of the organization and conduct of gambling ­ gambling zones;
                  3) the issuance of permits for activities on the organization and conduct of gambling in the gambling zones;
                  4) the issuance of licenses for activities to organize and conduct gambling in bookmakers and betting;
              Information about changes: Federal Law of July 18, 2011 N 242­FZ of paragraph 5 of Part 1 of Article 3 hereof reworded, shall enter into force from 1 August
           2011
           See. Item in the previous edition
                  5) the state supervision in the field of organizing and conducting gambling aimed at the prevention, detection and suppression of violations of the law
           on state regulation of activities of the organization and conduct of gambling entities engaged in this activity.
                  2. State regulation of the activities of the organization and conduct of gambling in accordance with this Federal Law by the Government of the Russian
           Federation, federal executive body authorized by the Government of the Russian Federation to exercise the functions of normative legal regulation in the
           sphere of organization and conduct of gambling, other federal agencies executive authorities of the Russian Federation within their competence, public
           authorities of the Russian Federation authorized to exercise the functions of managing gambling zones.
                  3. Check the technical condition of the playing equipment is authorized by the Government of the Russian Federation, federal executive authority
           responsible for the control and supervision of compliance with legislation on taxes and fees.
              GUARANTEE: See. Comments on Article 3 of this Federal Law

                      Article 4 . The basic concepts used in this Federal Law
                   For the purposes of this Federal Law the following basic concepts:
                   1) game of chance ­ based on risk scoring agreement concluded by two or more parties to such an agreement among themselves or with the organizer
           of gambling according to the rules set by the organizer of gambling;
                   2) bet ­ gambling, where the outcome of the risk­benefit agreements concluded between two or more parties to bet with each other or with the organizer
           of this kind of gambling depends on the events about which is unknown, it will come or not;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of paragraph 3 of Article 4 hereof reworded, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   3) rate ­ funds transferred party organizer gambling gambling (except for cash, recognized in accordance with this Federal Law interactive rate) and
           employees for participation in the game of chance, in accordance with the rules established by the organizer of gambling;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 4 of this Federal Law, paragraph 3.1, which come into force after the expiration
           of thirty days after the official publication of the said Federal Law
                   3.1) interactive rate ­ cash, including electronic cash, transmitted by electronic means of payment center accounting transfers interactive betting
           bookmakers or betting organizer gambling bookmaker or betting on the instructions of the participants of these forms of gambling and employees for
           participation in the gambling in accordance with the rules laid down in this gambling operator;
                   4) gain ­ money or other property, including property rights, to be paid or transferred gambler upon the occurrence of the result of gambling, under the
           rules established by the organizer of gambling;
                   5) the organizer of gambling ­ a legal entity carrying out activities for the organization and conduct of gambling;
               Information about changes: Federal Law of 23 July 2013 N 198­FZ of paragraph 6 of Article 4 hereof reworded, shall enter into force after the expiration of
           one hundred and eighty days after the official publication of the said Federal Law
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           one hundred and eighty days after the official publication of the said Federal Law
           See. Item in the previous edition
                   6) activities for the organization and conduct of gambling ­ service activities to conclude with the participants of gambling based on risk and
           benefit agreements (or) on the organization of such agreements between two or more parties to gambling;
                   7) gaming zone ­ part of the territory of the Russian Federation, which is designed to carry out activities for the organization and conduct of gambling
           and the boundaries of which are established in accordance with this Federal Law;
                   8) approval to operate on the organization and conduct of gambling in the gambling zone ­ issued in accordance with this Federal Law a
           document provided by the organizers of gambling right to carry out activities for the organization and conduct of gambling in a gambling zone without limiting
           the number and types of gambling;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of paragraph 9 of Article 4 hereof reworded, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   9) a license to operate on the organization and conduct of gambling in bookmakers and betting ­ a document issued in accordance with this
           Federal Law and provided by the organizers of gambling right to carry out activities for the organization and conduct of gambling in bookmakers and (or)
           betting is gambling zones, with the obligatory indication of the type of services (services on the conclusion of the participants of gambling risk­based
           agreements benefit and (or) services for the organization to enter into an agreement based on risk of winning between two or more parties to gambling), the
           location of the processing center bookmaker or betting, the number and location of branches and points of betting bookmakers or betting or other place of
           business for the organization and conduct of gambling in bookmakers and betting;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 10, paragraph 4 hereof amended, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   10) gambler ­ a natural person who has attained the age of eighteen years, participating in gambling and concludes agreement based on risk of
           winning the organizer of gambling or another member of gambling;
                   11) gaming house ­ building, structure, construction (single detached part of a building, structure, structures), in which the only activity on the
           organization and conduct of gambling and gambling provision of related services (including a branch or other place of business for the organization and
           conduct of gambling and gambling related provision of services);
                   12) casino ­ gambling establishment, in which the activities of the organization and conduct of gambling using the gaming tables or gaming tables and
           other contemplated hereby gaming equipment;
                   13) video arcade ­ gambling establishment, in which the activities of the organization and conduct of gambling with slot machines or slot machines
           and other contemplated hereby gaming equipment, except for the gaming tables;
               Information about changes: Federal Law of June 13, 2011 N 133­FZ of paragraph 14 of Article 4 hereof changes, which come into force from January 1,
           2012
           See. Item in the previous edition
                   14) Bets ­ gambling establishment in which the gambling bets with the participants of this type of gambling;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 15, paragraph 4 hereof amended, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   15) tote ­ gambling establishment in which gambling organizer organizes betting among the participants of this type of gambling, as well as the
           payment of winnings due to the amount of rates adopted by the participants of this type of gambling, minus the size levied organizer of this kind of gambling
           remuneration;
                   16) playground equipment ­ a device or devices used for gambling;
                   17) gaming table ­ playground equipment, which is a place with one or more playing fields and by which the gambling organizer organizes gambling
           between the parties or act as their party through its employees;
                   18) a slot machine ­ playground equipment (mechanical, electrical, electronic or other technical equipment) used for gambling with material gain, which
           is determined randomly device located inside the housing of the gaming equipment, without the participation of the organizer of gambling or its employees;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 19, paragraph 4 hereof amended, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   19) Booking bookmaker ­ part of paragraph betting bookmaker in which the gambling organizer accepts any bets from the participants of this type of
           gambling, except for interactive rates, and pay the winnings;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 20, paragraph 4 hereof amended, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   20) tote box office ­ part of paragraph totalizator betting, in which the gambling organizer accepts any bets from the participants of this type of
           gambling, except for interactive rates, and pay the winnings;
                   21) Booking gambling establishments ­ a part of gambling establishments in which the gambling transactions with cash and in which there is special
           equipment, allowing to carry out such operations;
                   22) Zone Member Services gambling ­ gambling establishments part, in which there are playground equipment, cash gambling establishment,
           betting, bookmaker, as well as other participants used gaming equipment;
                   23) The service area of gambling establishments ­ separate part of the gambling establishment, which is designed for employees of the organizer of
           gambling in which the participants are not allowed gambling;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 24, paragraph 4 hereof amended, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   24) related to gambling services ­ hotel services, catering services, services in the field of spectacular entertainment events, distribution services
           (sale, issuance) of lottery tickets, lottery receipts, electronic lottery tickets, lottery admission rates among the participants of a lottery payment, transfer or
           the provision of prizes to participants of international lotteries, which are held on the basis of international treaties of the Russian Federation, and Russian
           state lotteries;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 25, paragraph 4 hereof reworded, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   25) processing center bookmaker ­ part of a gambling establishment in which gambling organizer holds accounting rates, adopted by the participants
           of this type of gambling is conducted on the basis of information received from the center of the accounting for transfers of interactive betting bookmaker,
           online accounting rates, adopted by the participants this type of gambling, gambling records the results, calculate the amounts to be paid winnings shall
           provide information on the bid, online betting and winnings calculated in paragraphs betting bookmaker in the center of the accounting for transfers of
           interactive betting bookmakers;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 26, paragraph 4 hereof reworded, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Item in the previous edition
                   26) processing center tote ­ part of a gambling establishment in which gambling organizer holds accounting rates, adopted by the participants of this
           type of gambling is conducted on the basis of information received from the center of the accounting for transfers of interactive betting betting, online betting
           account, taken from the participants of this type gambling, gambling records the results, calculate the amounts to be paid winnings shall provide information
           on the bid, online betting and winnings calculated in points totalizator betting and the center of the accounting translation rates interactive sweepstakes;
               Information about changes: Federal Law of June 13, 2011 N 133­FZ of Article 4 of this Federal Law, paragraph 27, which come into force from January 1,
           2012
                   27) point betting bookmaker ­ geographically separate part of the gambling establishment in which the gambling bets with the participants of this type
           of gaming and provides reporting on bid, paid and unpaid winnings to the processing center bookmaker;
               Information about changes: Federal Law of June 13, 2011 N 133­FZ of Article 4 of this Federal Law, paragraph 28, which come into force from January 1,
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              Information about changes: Federal Law of June 13, 2011 N 133­FZ of Article 4 of this Federal Law, paragraph 28, which come into force from January 1,
           2012
                   28) point betting betting ­ geographically separate part of the gambling establishment, which is organizing the gambling wagering among the
           participants of this type of gaming and provides reporting on bid, paid and unpaid winnings to the processing center tote;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 4 of this Federal Law, paragraph 29, which come into force after the expiration
           of thirty days after the official publication of the said Federal Law
                   29) accounting center transfers interactive betting bookmakers or betting ­ credit organization, including non­bank credit organizations operating in
           accordance with Article 14.2 hereof.
               GUARANTEE: See. Comments on Article 4 of this Federal Law

                       Article 5 . Restrictions on the activities of the organization and conduct of gambling
                    1. The activities of the organization and conduct of gambling can be carried out exclusively by the organizers of gambling, subject to the requirements
           of this Federal Law, other federal laws, the laws of the Russian Federation and other normative legal acts.
                    2. The activities of the organization and conduct of gambling can take place only in gambling establishments that meet the requirements stipulated by
           the present Federal Law, other federal laws, the laws of the Russian Federation and other normative legal acts of the Russian Federation.
                Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 3 of Article 5 of this Federal Law amended, shall enter into force thirty days after
           the date of the official publication of the said Federal Law
           See. Text part in the previous edition
                    3. The activities of the organization and conduct of gambling, using information and telecommunication networks, including network "Internet", as well
           as means of communication, including mobile communications, is prohibited, except as provided for by this Federal Law.
                Information about changes: Federal Law of June 13, 2011 N 133­FZ of Part 4 of Article 5 hereof changes, which come into force from January 1, 2012
           See. Text part in the previous edition
                    4. Casinos (except for bookmakers, betting, betting their points) can be opened only in the gambling zones in accordance with the procedure
           established by this Federal Law.
                Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 5 of Article 5 of this Federal Law amended, shall enter into force thirty days after
           the date of the official publication of the said Federal Law
           See. Text part in the previous edition
                    5. Gaming zone can not be created on the lands of settlements, with the exception of a gaming zone within the boundaries of land plots allocated for
           locating Olympic venues of federal significance, financing and construction of which is not carried out within the budget or resources of the State Corporation
           for the construction of Olympic facilities and Development of Sochi as a mountain resort (hereinafter ­ the Corporation).
                Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 5 of this Federal Law, part 6, shall enter into force thirty days after the date of
           the official publication of the said Federal Law
                    6. Do not be receiving bids organized gambling bookmakers or betting by transferring funds, including electronic transfer of funds, receiving payments
           from individuals, postal money gambling organizer, the operator will transfer funds, including operator of electronic cash, bank payment agent and (or) bank
           payment subagent, except cash, are recognized in accordance with this Federal Law interactive rate. The organizer of gambling or betting bookmakers have
           the right to take bets interactive transferred only by transfer of funds, including electronic cash (except for postal orders), the center of the accounting for
           transfers of interactive betting bookmakers or betting by electronic means of payment on the instructions of participants these types of gambling.
                GUARANTEE: See. Comments on Article 5 of this Federal Law

               Information about changes: Federal Law of 22 April 2010 N 64­FZ Article 6 hereof amended
           See. Article in the previous edition
                      Article 6 . Requirements for organizers of gambling
                   1. The organizers of gambling can act only legal entities registered in the prescribed manner on the territory of the Russian Federation.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 6 of this Federal Law with part 1.1, shall enter into force thirty days after the
           date of the official publication of the said Federal Law
                   1.1. The organizers of gambling bookmakers or betting may act only entities that are members of the self­regulatory organization of the organizers of
           gambling bookmakers or self­regulatory organization of the organizers of gambling in the sweepstakes.
               Information about changes: Federal Law of 22 July 2014 N 278­FZ of Article 6 of this Federal Law Part 1.2
                   1.2. The organizers of gambling may be legal persons who will carry out activities for the organization and conduct of gambling in the gambling zone
           created within the boundaries of land plots allocated for locating Olympic venues of federal significance, financing and construction of which is not made at
           the expense of budget appropriations or funds of the Corporation.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 2 of Article 6 hereof The new wording, shall enter into force thirty days after the
           date of the official publication of the said Federal Law
           See. Text part in the previous edition
                   2. They can not act as an organizer of gambling entities, founders (participants) of which the Russian Federation, the subjects of the Russian
           Federation or local governments, with the exception created in accordance with the decree of the President of the Russian Federation Joint­Stock Company,
           which integrates racetracks of the Russian Federation and one of the priority activities is the development of national horse­breeding industry. Can not act as
           organizers of gambling entities, founders (participants) are persons who have not taken off or outstanding conviction for crimes in economy or for intentional
           crimes of medium gravity , grave crimes , especially grave crimes.
               Information about changes: Federal Law of July 18, 2011 N 242­FZ of Part 3 of Article 6 hereof changes, which come into force from 1 August 2011
           See. Text part in the previous edition
                   3. The organizer of gambling is obliged to provide the information necessary for the implementation of state supervision over compliance with the law
           on state regulation of the activities of the organization and conduct of gambling. The composition and the procedure for the provision of such information shall
           be established by the Government of the Russian Federation.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 6 of this Federal Law with Part 3.1, shall enter into force thirty days after the
           date of the official publication of the said Federal Law
                   3.1. Organizers of gambling or betting bookmakers provide information on becoming a member of a self­regulatory organization of the organizers of
           gambling bookmakers or self­regulatory organization of the organizers of gambling in the sweepstakes or termination of membership authorized by the
           Government of the Russian Federation federal executive body responsible for state supervision in the field of and conduct of gambling, within five days from
           the date of accession, the self­regulatory organization of the organizers of gambling respective type or termination of the respective membership.
                   4. The organizer of gambling is obliged to ensure the personal safety of the participants of gambling, gambling establishments other visitors,
           employees of the organizer of gambling during their stay in the gambling establishment.
                   5. The organizer of gambling is obliged to abide by the Government of the Russian Federation in accordance with this federal law rules of the
           transactions with cash in the organization and conduct of gambling.
                   6. The net asset value of the organizer of gambling during the entire period of activity in the organization and conduct of gambling can not be less than:
                   1) 600 million rubles ­ for the organizers of gambling in casinos and slot machine arcades;
               GUARANTEE: Item 2 of Part 6 of Article 6 hereof (as amended by Federal Law dated April 22, 2010 N 64­FZ) does not apply in relation to the organizers of
           gambling or betting bookmakers have received a license to operate on the organization and conduct of gambling in bookmakers and betting before the date of
           entry into force of the said Federal Law, before the expiry of such licenses
                   2) 1 billion rubles ­ for the organizers of gambling and betting bookmakers.
                   7. For the purposes of this Federal Law the procedure for calculating the net asset value of the organizers of gambling is established by the
           Government of the Russian Federation, federal executive body.
                   8. Abolished .
               Information about changes: See. The text of Article 6 of the 8

               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 9 of Article 6 hereof amended, shall enter into force thirty days after the date of
           the official publication of the said Federal Law
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                                                              provisions
           See. Text part in the previous edition
                  9. The minimum capital requirement of the organizer of gambling or betting bookmaker is set in the amount of 100 million rubles. In return for such
           authorized capital can only be made ​ c ash, except in cases when the organizer of gambling acts established in accordance with the decree of the President of
           the Russian Federation Joint­Stock Company, which integrates racetracks Russian Federation and one of the priorities is the development of national horse­
           breeding industry. For the formation of the authorized capital can not be used borrowed funds. The order confirming the source of funds paid into such share
           capital established by the Government of the Russian Federation.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of the 10 Article 6 hereof The new wording, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
           See. Text part in the previous edition
                   10. In order to protect the rights and legitimate interests of gambling activity on the organization and conduct of gambling in the bookmaker is allowed
           only if the organizer of gambling bookmaker bank guarantee fulfillment of obligations to the participants of gambling. Guarantor, provide a bank guarantee can
           only be a bank. The validity of the bank guarantee can not be less than five years. The bank guarantee shall be extended or reissued during the validity of the
           current from the organizer of gambling bookmaker license to conduct such activities and can not be revoked, in these cases the bank guarantee for the
           corresponding period of its validity must be received the organizer gambling bookmaker day , following the expiration of the contract for the provision of a
           bank guarantee. The size of the bank guarantee is defined in the relevant contract and can not be less than 500 million rubles.
                   11. The organizer of gambling shall provide annually authorized by the Government of the Russian Federation federal executive authority information
           on persons who have voting shares or of the share capital of the gambling organizer in the amount of not less than 10 percent and the direct and (or)
           indirectly, can have a significant influence on issues related to the competence of the general meeting of the founders (participants) of the organizer of
           gambling, as well as documents confirming the above information. The composition and procedure of the above information and documents established by
           the Government of the Russian Federation.
                   12. The accounting (financial) statements of the organizer of gambling is subject to mandatory annual audit.
                   13. The information and documents specified in part 11 of this Article, the auditor's report on the results of the annual audit shall be binding
           applications to accounting (financial) statements of the organizer of gambling.
                   14. Validation of the information as provided for parts 3 , 9 and 11 of this Article, shall authorized by the Government of the Russian Federation federal
           executive body . Gambling organizer is responsible for the completeness and reliability of the above information in accordance with the legislation of the
           Russian Federation.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 6 of this Federal Law with part 14.1, shall enter into force thirty days after the
           date of the official publication of the said Federal Law
                   14.1. Technical and other means of gambling organizer bookmakers or betting, with which the activities of accounting rates and interactive rates,
           calculation of the amount to be paid winnings and reporting on calculated winnings, should be placed in the processing center bookmakers betting and
           processing centers in the territory the Russian Federation and owned organizer of gambling.
                   15. The Government of the Russian Federation may establish additional requirements for the gambling, as well as reporting the organizers of gambling,
           its composition and presentation.
               GUARANTEE: See. Comments on Article 6 hereof

               Information about changes: Federal Law of 21 July 2014 N 222­FZ of the name of the article 6.1 of this Federal Law amended, shall enter into force thirty
           days after the date of the official publication of the said Federal Law
           See. Designations in the previous edition
                      Article 6.1. Requirements for organizers of gambling in bookmakers and betting at betting on sports events and official conduct of other gambling
                      center of the accounting requirements for translations online betting bookmakers or betting in carrying out activities for receiving, recording and
                      interactive transfer rates
                   1. The organizers of gambling bookmakers and betting in order to identify unlawful influence on the results of official sports competitions must:
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of paragraph 1 of Part 1 of Article 6.1 hereof reworded, shall enter into force thirty days
           after the date of the official publication of the said Federal Law
           See. Item in the previous edition
                   1) accept bets online betting on sporting events and official pay corresponding rewards, the amount of which exceeds the amount of income not
           subject to tax in accordance with the second part of the Tax Code of the Russian Federation, upon presentation of a party gambling document proving his
           identity, or the use of another method party identification gambling provided by the Federal Law of 7 August, 2001 N 115­FZ "On counteraction to legalization
           (laundering) of proceeds from crime and financing of terrorism" and to ensure the establishment of such participant age gambling;
                   2) inform the procedure established by the Government of the Russian Federation, and in compliance with the legislation of the Russian Federation in
           the field of personal data and the laws of the Russian Federation on trade secret all­Russian sports federation in the respective sports and authorized federal
           executive body responsible for state supervision in the field of organizing and conducting gambling winnings paid or payable as a result of a bet made ​      on the
           official sporting events, culminating with the least likely outcome or outcome. Such information shall be submitted not later than thirty days from the date of
           the relevant official sporting event;
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of paragraph 3 of Part 1 of Article 6.1 hereof amended, shall enter into force thirty days
           after the date of the official publication of the said Federal Law
           See. Item in the previous edition
                   3) conduct bookmakers and betting account participants gambling on which bets are accepted, interactive betting on official sporting events, and
           provide compliance with the legislation of the Russian Federation in the field of personal data such accounting data to the authorized federal executive body
           responsible for state supervision in organization and conduct of gambling, in carrying out this oversight. Conduct accounting and reporting, their scope and
           content established by the Government of the Russian Federation.
                   2. In the event of authorized federal executive power body carrying out state supervision in the field of organization and conduct of gambling, the
           submission of casino games of incorrect information provided by paragraph 2 of Part 1 of this article, that authority shall notify the All­Russian sports
           federation in the respective sports . The order and form of notification determined by the federal executive body authorized by the Government of the Russian
           Federation to exercise the functions of normative legal regulation in the sphere of organization and conduct of gambling.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 6.1 of this Federal Law part 2.1, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
                   2.1. Translation Center account online betting bookmakers or betting operates reception from an individual funds, including electronic cash (except for
           postal orders), their registration and transfer to the organizer gambling bookmaker or betting with the participant carrying out the identification of gambling in
           accordance with the Federal Law of August 7, 2001 N 115­FZ "On counteraction to legalization (laundering) of proceeds from crime and terrorist financing",
           providing the establishment of such participant age gambling.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 6.1 of this Federal Law Section 2.2, shall enter into force thirty days after the
           date of the official publication of the said Federal Law
                   2.2. Translation Center account online betting bookmakers or betting in carrying out activities on reception from individuals of cash, including electronic
           cash, provides accounting and compliance with the legislation of the Russian Federation in the field of personal data to the organizers of gambling
           bookmakers or betting information Participants gambling, online betting, adopted by the participants of these forms of gambling.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 3 of Article 6.1 of this Federal Law The new wording, shall enter into force thirty
           days after the date of the official publication of the said Federal Law
           See. Text part in the previous edition
                   3. Intended Item 1 of Part 1 of this article requirement for admission rates, rates and online payment upon presentation of a party wins gambling
           document proving his identity, or the application of a method for identifying a participant gambling provided by the Federal Law on August 7, 2001 N 115­ FZ
           "On counteraction to legalization (laundering) of proceeds from crime and financing of terrorism" and implementing establishing the age of the participant
           gambling applied to any gambling bookmakers and betting in compliance with the processing of personal data relevant legislation of the Russian Federation in
           the field of personal data.
               GUARANTEE: See. comments to the article 6.1 of this Federal Law

                    Article 7 . The requirements for visitors to the gambling establishment
                 1. The visitors gambling establishments are located in the gambling establishment gambling participants and other persons whose access to gambling
http://base.garant.ru/12151291/1/#block_100                                                                                                                                       4/5
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                                                              provisions
                  1. The visitors gambling establishments are located in the gambling establishment gambling participants and other persons whose access to gambling
           establishments is not prohibited in accordance with this Federal Law.
                  2. The visitors gambling establishment can not be persons who have not attained the age of eighteen years.
                 3. The organizer of gambling are free to establish rules of visiting gambling establishments, not inconsistent with this Federal Law.
                 4. At the request of employees of the organizer of gambling visitor gambling establishment that violates established in accordance with this Federal
           Law visit gambling establishments must immediately leave the gambling establishment.
              GUARANTEE: See. Comments on Article 7 of this Federal Law

                      Article 8 . General requirements for the gambling establishment
                   1. gambling establishments should be divided into the service area of ​
                                                                                         the participants of gambling and gambling establishments service area.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 2 of Article 8 of this Federal Law The new wording, shall enter into force thirty
           days after the date of the official publication of the said Federal Law
           See. Text part in the previous edition
                   2. When entering the gambling establishment, its branch point betting bookmaker or betting or other place of business for the organization and conduct
           of gambling gambling organizer places and on demand visitor gambling establishment provides information about the company name of the organizer of
           gambling on address and opening hours, respectively gambling establishment, its branch point betting bookmaker or totalizator, a place of business for the
           organization and conduct of gambling. In accessible to visitors gambling establishment site should be placed text hereof set of casino games gambling rules,
           regulations visit the gambling establishment, betting rules and payouts, approval to operate on the organization and conduct of gambling in the gambling zone
           or copy or license to carry out activities for the organization and conduct of gambling in bookmakers and betting or a copy thereof, to the application of the
           license or a copy thereof, as well as the decision on admission to the self­regulatory organization of the organizers of gambling in bookmakers and (or) the
           self­regulatory organization organizers of gambling in the sweepstakes or other proof of membership corresponding document or a copy thereof.
                   3. Organization and conduct of gambling can be made exclusively employees of the organizer of gambling. Employees of the organizer of gambling
           can not be persons who have not attained the age of eighteen years.
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Part 4 of Article 8 of this Federal Law The new wording, shall enter into force thirty
           days after the date of the official publication of the said Federal Law
           See. Text part in the previous edition
                   4 . As used in the gambling establishment gaming equipment must be owned by the organizer of gambling.
                   5. Technically laid average winning percentage of each slot machine can not be less than ninety per cent.
               Information about changes: Federal Law on October 16, 2012 N 168­FZ of Article 8 of this Federal Law Part 6
                   6. In the service area of ​ gambling establishments (excluding items betting bookmaker and betting) must be room for the rest of the workers of the
           organizer of gambling, a specially equipped room for receiving, issuing and temporary storage of cash, a room for the organization of the security service of
           gambling establishments.
               Information about changes: Federal Law on October 16, 2012 N 168­FZ of Article 8 of this Federal Law Part 7
                   7. The gambling establishment can not be located in the building, structures, which are located in the sports and recreation and sports facilities (except
           for bookmakers, betting, betting their items).
               Information about changes: Federal Law of 21 July 2014 N 222­FZ of Article 8 of this Federal Law section 8, shall enter into force thirty days after the date
           of the official publication of the said Federal Law
                   8. Prizes, the amount of which exceeds the amount of income not subject to tax in accordance with the second part of the Tax Code of the Russian
           Federation, paid organizer of gambling gambling party upon presentation of a party gambling document proving his identity, or the application of a method for
           identifying a participant gambling under the Federal Law of 7 August, 2001 N 115­FZ "On counteraction to legalization (laundering) of proceeds from crime and
           financing of terrorism" and to ensure the establishment of such participant age gambling.
               GUARANTEE: See. Comments on Article 8 of this Federal Law

              Information about changes: Federal Law on October 16, 2012 N 168­FZ of Chapter 1 of this Federal Law Article 8.1
                   Article 8.1. The requirements for casinos and slot machine halls
                   1. The casino and gaming arcade can be located only in the building, structures that are subject to capital construction, to hold the specified object in
           whole or placed in a single isolated part.
                   2. The area of ​ s ervice to the participants of gambling in the casino can not be less than eight square meters, and it should be box office gambling
           facility, a cloakroom, a place for leisure visitors to the gambling establishment and toilet.
                   3. In the service area of ​the participants casino gambling should be set not less than ten gaming tables, and can be installed slot machines and items
           may be totalizator betting and (or) a bookmaker.
                   4. In the case of installation of slot machines in a service area participants casino gambling on this gambling establishment subject to the
           requirements set out in Part 6 of this Article.
                   5. The area of ​s ervice to the participants in the gambling hall of slot machines may not be less than one hundred square meters, and it should be box
           office gambling establishment and toilet.
                   6. In the service area of ​ the participants in the gambling hall gaming machines should be installed no less than fifty slot machines, as well as items
           may be totalizator betting and (or) a bookmaker.
                   7. In the service area of ​ the hall of slot machines must be specially equipped premises or equipment should be installed for the receipt, delivery and
           temporary storage of cash.
               GUARANTEE: See. comments to the article 8.1 of this Federal Law


                                                                                                                                                  Chapter 2 >> Gaming Zone
                                                                   The content of the Federal Law of 29 December 2006
                                                                     N 244­FZ "On state regulation of activities of the
                                                                               organization and conduct ...



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                 4
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ARBITRATION
AND
MEDIATION CENTER




ADMINISTRATIVE PANEL DECISION
EvoPlay LLC v. Mr Timur Ziganshin / Moniker Privacy Services / Timur
Case No. D2015-0222



1. The Parties

Complainant is EvoPlay LLC, of the United Kingdom of Great Britain and Northern Ireland, represented by
Reed Smith LLP, United States of America.

Respondent is Mr Timur Ziganshin / Moniker Privacy Services / Timur, of the Russian Federation (“Russia”)
     / Seychelles / United States of America, represented by Boston Law Group, PC, United States of
America.


2. The Domain Names and Registrars

The disputed domain names <casino-vulcan.com>, <clubvulcan.com>, <vulcan-casino.com>, <vulcan-
casino.net> and <vulcan-casino.org> are registered with Moniker Online Services, LLC and the disputed
domain name <vulcan-cazino.com> is registered with URL Solutions, Inc. (the “Registrars”). The six
disputed domain names will be referred to collectively as the “Domain Names” unless context otherwise
requires.


3. Procedural History

The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on February 11,
2015. On February 11, 2015, the Center transmitted by e-mail to Moniker Online Services, LLC a request for
registrar verification in connection with the Domain Names. On February 13, 2015, Moniker Online Services,
LLC transmitted by e-mail to the Center its verification response disclosing registrant and contact information
for the Domain Names which differed from the named Respondent and contact information in the Complaint.
The Center sent an e-mail communication to Complainant on February 13, 2015 providing the registrant and
contact information disclosed by the Registrar, and inviting Complainant to submit an amendment to the
Complaint. Complainant filed an amended Complaint on February 16, 2015.

The Center verified that the Complaint together with the amended Complaint satisfied the formal
requirements of the Uniform Domain Name Dispute Resolution Policy (the “Policy” or “UDRP”), the Rules for
Uniform Domain Name Dispute Resolution Policy (the “Rules”), and the WIPO Supplemental Rules for
Uniform Domain Name Dispute Resolution Policy (the “Supplemental Rules”).
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In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified Respondent of the
Complaint, and the proceedings commenced on February 17, 2015. In accordance with the Rules,
paragraph 5(a), the due date for Response was March 9, 2015. The Response was filed with the Center on
March 9, 2015.

On February 25, 2015 the Center received an e-mail from Moniker Online Services, LLC informing that, in
spite of the registrar lock, the Respondent had transferred the disputed domain name <vulcan-cazino.com>
to URL Solutions, Inc. On February 27, 2015, the Center sent an e-mail to URL Solutions, Inc. requesting it
to confirm that the Domain Name <vulcan-cazino.com> had been placed in registrar lock and asking it to
inform the registration details for the Domain Name <vulcan-cazino.com>. On the same date, URL
Solutions, Inc. replied to the Center confirming registrar lock and informing the registrant’s contact
information.

Complainant has filed a supplemental filing on March 11, 2015 including copies of both license agreements
referred to in the Complaint as Annex 6. On the same date, Respondent has filed a supplemental filing
requesting ten days to respond to Complainant’s supplemental filing. On March 17, 2015 Complainant filed
another supplemental filing in rebuttal to Respondent’s Response.

The Center appointed Robert A. Badgley, Michelle Brownlee and Paul M. DeCicco as panelists in this matter
on March 27, 2015. The Panel finds that it was properly constituted. Each member of the Panel has
submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as required by the
Center to ensure compliance with the Rules, paragraph 7.

Both parties made supplemental submissions, which the Panel in its discretion reviewed.


4. Factual Background

The parties, and particularly the Complainant, submitted more than 1,000 pages of exhibits in this case. The
Panel need not, and will not, summarize the massive record submitted here beyond what is necessary to
reach and explain its decision in this case.

                                                                                                                    1
The Complainant alleges that it is the exclusive licensee of the Russian trademarks Вулкан , Вулкан (&
Design), Vulkan and Volcano trademarks, among other Вулкан, Vulkan, and Volcano composite marks
(hereinafter the “VULKAN Marks”).

It is alleged that on December 8, 2014, the Complainant executed agreements with Bartlett Corporation
(“Bartlett”) and Ritzio Purchase Limited (“Ritzio”), both of which are controlled by the same person. Pursuant
to these agreements, the Complainant has the exclusive right to use the identified VULKAN trademarks
owned by Ritzio and Bartlett, as well as any applications or registrations owned by Ritzio and Bartlett in
Russia. Additionally, the agreements grant the Complainant the right and authority, subject to Bartlett’s and
Ritzio’s approval, to initiate an action to prevent and/or remedy the unauthorized use of any of the licensed
VULKAN trademarks by third parties. It is alleged that the Complainant, Bartlett and/or Ritzio have been
continuously using these marks since at least as early as 1992. The Complainant is allegedly the exclusive
licensee of registrations for the VULKAN Marks in numerous countries around the world, including but not
limited to the following registrations in Russia:




1
        The English translation of Вулкан is “Vulcan” or “Volcano.” The transliteration of this trademark in Roman letters is “Vulkan”
since Cyrillic has no equivalent of the letter “C,” only “K,” for the “K” sound.

                                                                                                     [Footnote continued on next page]
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Country      Trademark                  Registration      Goods/Services                    Registrant
                                        No./ Date
Russia       Вулкан (& Design)          193239            Entertainment; provision of       Bartlett
                                                          equipment and maintenance of      Corporation
                                        August 28,
                                                          gaming halls; provision and
                                        2000
                                                          maintenance of slot machines.




Russia       Вулкан (& Design)          216203            Games of chance; information      Bartlett
                                                          on entertainment; providing       Corporation
                                        July 3, 2002
                                                          online electronic publications;
                                                          leisure; organization of
                                                          lotteries; organization of
                                                          entertainment for recreation;
                                                          provision of gaming halls;
                                                          entertainment of guests; and
                                                          casino services.



Russia       Вулкан (& Design)          353694            Automatic vending machines        Ritzio
                                                          and mechanisms for coin-          Purchase
                                        June 25, 2008
                                                          operated apparatus; data          Limited
                                                          processing equipment and
                                                          computers; ticket machines;
                                                          automatic equipment for
                                                          monitoring and control of
                                                          electronic machinery;
                                                          computer and computer game
                                                          programs; computer
                                                          programs; [etc.]
Russia       Вулкан                     361357            Same as above.                    Bartlett
                                                                                            Corporation
                                        October 7,
                                        2008



Russia       VULKAN                     353692            Same as above.                    Ritzio
                                                                                            Purchase
                                        November 18,
                                                                                            Limited
                                        2005
Russia       VOLCANO                    307879            Same as above.                    Ritzio
                                                                                            Purchase
                                        June 2, 2006
                                                                                            Limited




          [Footnote continued from previous page]
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The Complainant alleges further that, for more than 20 years, “Ritzio has been in the business of providing
high-quality gaming, casino and entertainment products and services, including but not limited to the
operation and management of gaming halls, the design, development, provision and maintenance of games
of chance, including betting bingo and slot machines, the provision of interactive real-money games through
a computer network, and other related products and services under the well-known Вулкан and Vulkan
brands.” According to the Complaint: “Today, Ritzio is one of the leading gaming operators with more than
200 branded gaming clubs and more than 5,800 gaming machines deployed throughout Europe.”

Ritzio’s business operations extend beyond Russia into a number of countries, including Germany, Romania,
Latvia, Belarus, Croatia and Italy. The Complainant asserts that the VULKAN Marks constitute one of the
most recognized and well-known brands in Europe. Between 2006 and 2010, Ritzio’s operating revenue
was in excess of USD 5.5 billion.

The Respondent registered the Domain Names on various dates between June 15, 2011 and October 30,
2012.

The Complainant asserts that, on December 15, 2014, upon discovering the Respondent’s registration and
operation of the Domain Names, Ritzio and Bartlett both sent letters to the suspected owner(s), advising
them that the Complainant is the exclusive licensee of the VULKAN Marks, and that it has the legal authority
to prevent any unauthorized use of the VULKAN Marks by third parties. However, it is alleged that no
response was ever received.

According to the Complainant, the Respondent has used the Domain Names to resolve to websites which
offer online casino and gaming services in competition with the services offered under the VULKAN marks.
The Complainant alleges further that the Respondent “has copied the look and feel of Ritzio’s gaming clubs,
copied the Вулкан word mark and lightning bolt logo exactly, created ‘copycat’ websites,” and is
“intentionally misrepresenting” that the websites to which the Domain Names resolve are “directly connected
to, and/or affiliated with, Ritzio’s land-based gaming clubs.”

According to the Respondent, online gambling was banned from Russia in its entirety in late 2006 (meaning
that, as of 2006 Ritzio could not have had any legal online operations in Russia), and Ritzio ceased all brick-
and-mortar gambling operations in Russia and Ukraine in early 2009 as a result of a Russian law that made
all gambling illegal in nearly all of Russia. Because of the illegality of gambling operations, the Respondent
contends, the Vulkan Marks are invalid due to abandonment and non-use and are subject to cancellation.

In 2011 – more than five years after Russia had banned Internet gambling, more than three years after Ritzio
and Bartlett were legally prohibited from operating casinos, and more than three years after they ceased
using the VULKAN Marks in Russia and Ukraine – the Respondent registered the Domain Names. The
Respondent states that it did so knowing that rights in the VULKAN Marks “could not properly survive with
regard to an activity which was prohibited by Russia.”

Immediately after registering each of the Domain Names, the Respondent asserts, the Respondent
transferred operation and control of each, including any websites to which the Domain Names resolve, to
GGS Ltd., an Anguilla company (“GGS”), which continues to operate each of the Domain Names and their
websites. Thus, the Respondent alleges, “the operation and control of the Domain Names and their
websites lay solely with GGS.”

The Respondent alleges further that “almost all of the visitors to the [websites accessible via the Domain
Names] come from Russia and Ukraine –where Ritzio and Bartlett can possess no rights in the Disputed
Marks.” Moreover, the Respondent asserts, these websites are “available only in Russian and are aimed
only at Russian-speaking users.”

The Respondent alleges that GGS has operated the Domain Names and their websites “openly and with the
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implicit consent of Ritzio (and Bartlett) for nearly four years.” Indeed, the Respondent alleges, “over the
years, Ritzio has had extensive discussions with GGS regarding the Disputed Domains and their websites,
including discussions about possible joint projects.”

The Respondent further alleges:

        Although Complainant attempts to conflate itself, Bartlett, and Ritzio, to do so, Complainant
        must omit a large part of its own history. Complainant alleges that it received a trademark
        license from Bartlett on December 8, 2014. What Complainant fails to inform the panel,
        however, is that it has itself been operating domains and websites incorporating the Disputed
        Marks since at least as early as 2011 – without any authorization or license from the
        trademark holder that it now claims to have a non-exclusive license.

        In other words, Complainant operated gambling websites for more than three years,
        apparently without any concern that it was violating Ritzio’s (or anyone’s) trademark rights. It
        did so because it knew that the Disputed Marks were void and unenforceable. Indeed, it was
        only when EvoPlay decided to try to reverse hijack Respondent’s domains that it sought a
        purported license.

        Indeed, prior to this dispute, Complainant and GGS were in a business relationship wherein
        they shared information regarding operating gambling websites. As a result of this
        relationship, GGS understands that Complainant has registered at least 18 domain names
        relating to the Disputed Marks and has operated websites incorporating such marks since at
        least December 2011 (after Respondent had registered two of the Disputed Domains and
        GGS began operating them).

The domain names registered by the Complainant include: <club-vulkan.com> (registered on December 12,
2012), <vulkanclub.com> (registered on February 27, 2013), and <club-vulkan-slots.com> (registered on
March 28, 2014).


5. Parties’ Contentions

A. Complainant

The salient factual allegations set forth in the Complaint are summarized above. The Complainant asserts
that it has satisfied the three elements required under the Policy for the transfer of each of the Domain
Names.

B. Respondent

The Respondent’s main factual contentions are set forth above. The Respondent raises myriad arguments
to dispute this Complaint, only some of which will be taken up by the Panel here.


6. Discussion and Findings

Paragraph 4(a) of the Policy lists the three elements which the Complainant must satisfy with respect to each
of the Domain Names at issue in this case:

(i)     the Domain Names are identical or confusingly similar to a trademark or service mark in which
        Complainant has rights; and

(ii)    Respondent has no rights or legitimate interests in respect of the Domain Names; and
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(iii)    the Domain Names have been registered and are being used in bad faith.


A. Identical or Confusingly Similar

The Panel need not decide this issue in view of its conclusion below with respect to the “bad faith” element
under the Policy.

B. Rights or Legitimate Interests

The Panel need not decide this issue in view of its conclusion below with respect to the “bad faith” element
under the Policy.

C. Registered and Used in Bad Faith

For each of the Domain Names at issue, paragraph 4(b) of the Policy provides that the following
circumstances, “in particular but without limitation”, are evidence of the registration and use of the Domain
Names in “bad faith”:

(i)      circumstances indicating that Respondent has registered or has acquired the Domain Names primarily
         for the purpose of selling, renting, or otherwise transferring the domain name registrations to
         Complainant who is the owner of the trademark or service mark or to a competitor of that Complainant,
         for valuable consideration in excess of its documented out of pocket costs directly related to the
         Domain Names; or

(ii)     that Respondent has registered the Domain Names in order to prevent the owner of the trademark or
         service mark from reflecting the mark in corresponding domain names, provided that Respondent has
         engaged in a pattern of such conduct; or

(iii)    that Respondent has registered the Domain Names primarily for the purpose of disrupting the
         business of a competitor; or

(iv)     that by using the Domain Names, Respondent has intentionally attempted to attract, for commercial
         gain, Internet users to Respondent’s website or other on line location, by creating a likelihood of
         confusion with Complainant’s mark as to the source, sponsorship, affiliation, or endorsement of
         Respondent’s website or location or of a product or service on Respondent’s website or location.

A majority of the Panel concludes, for each of the Domain Names at issue, that the Complainant has not
carried its burden of proving that Respondent registered and used the Domain Names in bad faith within the
meaning of the Policy.

As the sheer mass of documentation accompanying the parties’ submissions in this case tends to indicate,
this dispute is not well suited for resolution under the Policy. In this case, there are potential issues
surrounding the Complainant’s standing as purported licensee to bring this proceeding, the validity of the
underlying trademark rights upon which the Complaint is based, possible trademark abandonment issues,
the possible acquiescence of the purported licensors (Bartlett and Ritzio) in the Respondent’s conduct,
possible issues of the Complainant’s unclean hands, and so forth.

The Policy does not contemplate this Panel serving as a tribunal of general jurisdiction over any and all
disputes which are somehow related to domain names. The issues raised by the parties here exceed the
relatively narrow confines of the Policy, which is designed chiefly to address clear cases of cybersquatting.
See, e.g., Libro v. NA Global Link, WIPO Case No. D2000-0186.
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In view of the foregoing and possibly other issues, the Panel majority concludes that the Complainant has
not made out or proven a cognizable case under the Policy.


7. Decision

For the foregoing reasons, the Complaint is denied.




Robert A. Badgley
Presiding Panelist




Michelle Brownlee
Panelist




Paul M. DeCicco
Panelist (Concurring)
Date: April 16, 2015




CONCURRING OPINION

Having found that “this dispute is not well suited for resolution under the Policy” and further that “the issues
raised … exceed the relatively narrow confines of the Policy,” I would simply deny the requested relief
without considering the merits under Policy 4(a)(iii). See Clinomics Biosciences, Inc. v. Simplicity Software,
Inc., WIPO Case D2001-0823 (Panel declining to rule on the merits after finding that the dispute centered on
subject matter outside the scope of the UDRP Policy).




Paul M. DeCicco
Panelist (Concurring)
Date: April 16, 2015
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ARBITRATION
AND
MEDIATION CENTER




ADMINISTRATIVE PANEL DECISION
EvoPlay LLP v. Mardiros Haladjian / GGS Ltd.
Case No. D2015-0252



1. The Parties

The Complainant is EvoPlay LLP of Hertfordshire, the United Kingdom of Great Britain and Northern Ireland,
represented by Reed Smith LLP, United States of America.

The Respondent is Mardiros Haladjian, GGS Ltd. of Anguilla, Overseas Territory of the United Kingdom,
represented by Boston Law Group, PC, United States of America.


2. The Domain Names and Registrar

The disputed domain names <bestvulkan.com> and <myvulkan.com> are registered with GoDaddy.com,
LLC (the “Registrar”).


3. Procedural History

The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on February 17,
2015. On February 17, 2015, the Center transmitted by email to the Registrar a request for registrar
verification in connection with the disputed domain names. On February 17, 2015, the Registrar transmitted
by email to the Center its verification response confirming that the Respondent is listed as the registrant and
providing the contact details.

The Center verified that the Complaint satisfied the formal requirements of the Uniform Domain Name
Dispute Resolution Policy (the “Policy” or “UDRP”), the Rules for Uniform Domain Name Dispute Resolution
Policy (the “Rules”), and the WIPO Supplemental Rules for Uniform Domain Name Dispute Resolution Policy
(the “Supplemental Rules”).

In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the
Complaint, and the proceedings commenced February 26, 2015. In accordance with the Rules, paragraph
5(a), the due date for Response March 18, 2015. On March 10, 2015, the Center received the
Complainant’s first supplemental filing. On the same day, the Respondent requested an extension of
response due date. On March 11, 2015, the Center granted the request of extension and the due date to
submit a response was March 30, 2015. The Response was filed with the Center March 30, 2015. On
April 1, 2015, the Center received the Complainant’s second supplemental filing. On April 24, 2015, the
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Center received the Respondent’s supplemental filing. On April 29, 2015, the Center received the
Complainant’s third supplemental filing.

The Center appointed Michael A. Albert, Maxim H. Waldbaum and Paul C. Van Slyke as panelists in this
matter on May 4, 2015. The Panel finds that it was properly constituted. Each member of the Panel has
submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as required by the
Center to ensure compliance with the Rules, paragraph 7.


4. Factual Background

This Complaint arises from a dispute between the parties over ownership of a Russian mark which both
parties transcribe into Roman letters as VULKAN.

Complainant asserts that it is the exclusive licensee of these marks and that its predecessors in interest
have been using them in commerce since 1992. It provides copies of certain trademark registrations.
Respondent denies that the license in question gives Complainant standing to assert the claims herein.

The Disputed Domain Names were registered in 2012 and 2014, respectively.


5. Parties’ Contentions

A. Complainant

Complainant alleges that on December 8, 2014, it entered into agreements with Bartlett Corporation
(“Bartlett”) and Ritzio Purchase Limited (“Ritzio”) to acquire exclusive rights to use the VULKAN trademarks
as well as any trademark applications those parties owned in the Russian Federation. The agreements also
grant Complainant the right to initiate actions for unauthorized use of the marks against third parties.

Complainant further alleges that Bartlett and Ritzio owned Russian trademarks incorporating the VULKAN
name, some of which also include a design component. Such trademark registrations date back, variously,
to dates between 2000 and 2008, although Complainant claims first use in commerce dating back to 1992.

Complainant asserts that the VULKAN Marks are famous and known world-wide in the gaming and
entertainment industries, citing, for example, Ritizio’s alleged operating revenue of over USD 5 billion
between 2006 and 2010 in connection with these marks.

Complainant wrote to Respondent about its use of the Disputed Domain Names but received no response.

Respondent uses the Disputed Domain Names in connection with online casino and gaming services.

Complainant alleges that the Disputed Domain Names are confusingly similar to its VULKAN marks; that
Respondent has no rights or legitimate interests in such domain names because Respondent has developed
no bona fide business under or in connection with the VULKAN marks, has not been known by them, and
has not been licensed to use them. For similar reasons, Complainant alleges bad faith registration and use.
Specifically, it alleges that Respondent must have known of Complainant’s marks because of how well-
known they were in the industry in which Respondent operates, and that in any event Respondent has
falsely identified itself as affiliated with Complainant, and is engaged in creating fraudulent “copycat”
websites.
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B. Respondent

Respondent asserts that Complainant employed, until recently, a business model similar to that which it now
complains about Respondent using, namely to register and use various domain names containing the term
“vulkan” without authorization from the entities which it now claims were the owners of those marks.

Respondent further alleges that Complainant lacks standing to assert the claims herein because it does not
claim to be the owner of the marks in question, and it does not have an exclusive license to use them.

Respondent further alleges that use of the marks in connection with gaming would be illegal in the Russian
Federation, which banned gambling in 2006.

Respondent further asserts that the marks in question were rejected for registration in Ukraine.

Respondent alleges that its own use of the marks as part of domain names goes back to 2011, by which
time Complainant and/or its predecessors could not be legally using the marks in connection with gaming in
Russia (where virtually all of the visits to the disputed domain name’s corresponding web sites came from,
since it is a Russian-language site). Respondent appears to therefore be alleging that Complainant or its
predecessors had abandoned the use of the marks.

Respondent goes on to allege that neither Bartlett nor Ritzio had enforceable trademark rights in the
disputed marks, because the claimed Russian registrations are invalid as in violation of Russian law.
Moreover, it alleges that Complainant fails to offer proof that the marks were used in commerce.

Lastly, Respondent contends that, with respect to domain names, the license granted to Complainant was
non-exclusive, and Complainant thus lacks standing to pursue this case.

In any event, Respondent argues, it adopted the domain names in good faith and with legitimate rights and
interests, because Ritzio and Bartlett had not been using the marks for several years in Russia and
Respondent believed in good faith that they were available for use.

C. Supplemental Filings

In a first supplemental filing, Complainant submits copies of the relevant license agreement. In a second
supplemental filing, Complainant argues that it has standing because the license in question is indeed
exclusive; and in any event that non-exclusive licensees may have standing. It further argues that
Respondent’s challenge to the validity of the Russian trademark registrations is out of place here because
“issues concerning trademark validity . . . are clearly not within the purview of any UDRP proceeding and are
best left for administrative and/or judicial adjudication.” Second Supplemental Submission at page 4, quoting
Gerber Childrenswear Inc. v. David Webb, WIPO Case No. D2007-0317.

Respondent, in a supplemental filing, calls the Panel’s attention to a ruling in a case filed by Complainant
herein against Timur Ziganshin (EvoPlay LLC v. Mr. Timur Ziganshin / Moniker Privacy Services / Timur,
WIPO Case No. D2015-0222) (the “Ziganshin Case”). In that case, on facts substantially identical to those
at issue in this case, the three-member panel denied the complaint, finding that the complainaint had not
carried its burden of proving bad faith registration and use.

In a third supplemental filing, Complainaint asserts that this Panel is required to assess the case
independently of the prior panel because it involves a different Respondent and Registrar.


6. Discussion and Findings

The Panel agrees with Complainant that it cannot simply follow the Ziganshin Case but must review the file
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of this case and exercise its own independent judgment as to the facts. Having reviewed the extensive
record of this case, however, this Panel comes to essentially the same conclusion as did the Ziganshin
panel.

This Panel finds that the issues raised in this proceeding are outside the scope of proceedings under the
Policy and are properly decided by traditional (e.g., appropriate judicial) means. Therefore the Complaint
should be dismissed. See, e.g., Clinomics Biosciences, Inc. v. Simplicity Software, Inc., WIPO Case
D2001-0823; Libro AG v. NA Global Link Limited, WIPO Case No. D2000-0186.

Complainant itself, citing prior cases decided under the Policy, points out to us that issues of trademark
validity are generally outside the purview of UDRP proceedings. For that very reason (among others),
Complainant’s case fails. The facts of this case do not establish a clear-cut case of cybersquatting, and
much of the substance of the dispute between the parties turns on issues of trademark ownership, validity,
and licensing. If Complainant’s predecessors in interest never had valid trademark rights in the marks, or if
they have since become abandoned, Respondent would have every right to make such usage. These are
complex issues best addressed through the court system rather than under the Policy.

Considerable factual and legal disputes appear to remain regarding the validity of the trademarks owned by
Ritzio and Bartlett, as well as about the precise scope of the rights conveyed to Complainant, and whether
such scope includes the power to act under the Policy to challenge the registration or use by Respondent of
domain names to which Complainant itself had no rights whatsoever at the time of the domain name
registrations.

In arriving at its decision, the majority of the Ziganshin Panel found that “the Complainant has not carried its
burden of proving that Respondent registered and used the Domain Names in bad faith within the meaning
of the Policy.” The majority continued:

        “[T]his dispute is not well suited for resolution under the Policy. In this case, there are
        potential issues surrounding the Complainant’s standing as purported licensee to bring this
        proceeding, the validity of the underlying trademark rights upon which the Complaint is
        based, possible trademark abandonment issues, the possible acquiescence of the purported
        licensors (Bartlett and Ritzio) in the Respondent’s conduct, possible issues of the
        Complainant’s unclean hands, and so forth.

        The Policy does not contemplate this Panel serving as a tribunal of general jurisdiction over
        any and all disputes which are somehow related to domain names. The issues raised by the
        parties here exceed the relatively narrow confines of the Policy, which is designed chiefly to
        address clear cases of cybersquatting. See, e.g., Libro v. NA Global Link, WIPO Case No.
        D2000-0186.

        In view of the foregoing and possibly other issues, the Panel majority concludes that the
        Complainant has not made out or proven a cognizable case under the Policy.”

In a concurring opinion in the Ziganshin Case, the third panelist simply found that the dispute is not well
suited for resolution under the Policy and recommended denying the requested relief without considering the
merits of the case.

This case is, in all material respects, virtually identical to the Ziganshin Case, and this Panel finds, similarly,
that it falls outside the scope of the relatively narrow confines of the Policy, which is designed chiefly to
address clear cases of cybersquatting.
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7. Decision

For the foregoing reasons, the Complaint is denied.




Michael A. Albert
Presiding Panelist




Maxim H. Waldbaum
Panelist




Paul C. Van Slyke
Panelist
Date: May 18, 2015
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                      WIPO Arbitration and Mediation Center

                                       ADMINISTRATIVE PANEL DECISION

                             Clinomics Biosciences, Inc. v. Simplicity Software, Inc.

                                                Case No. D2001­0823



1. The Parties

Complainant is Clinomics Biosciences, Inc., a corporation located in Pittsfield, Massachusetts, USA.

Respondent is Simplicity Software, Inc., a corporation located in Waltham, Massachusetts, USA.



2. The Domain Name and Registrar

The domain name at issue is: <clinomics.com> ("the Domain Name").

The registrar is Network Solutions, Inc. in Herndon, Virginia.



3. Procedural History

This action was brought in accordance with the ICANN Uniform Domain Name Dispute Resolution Policy, dated
October 24, 1999 ("the Policy") and the ICANN Rules of Uniform Domain Name Dispute Resolution Policy, dated
October 24, 1999 ("the Rules").

Complainant submitted on June 22, 2001, and amended on June 26, 2001. The Response was submitted on July
25, 2001.

On August 14, 2001, the WIPO Arbitration and Mediation Center appointed Mark V. B. Partridge as single panelist.



4. Factual Background

Complainant provides clinical pharmaceutical research services. It claims without dispute that it has used the mark
CLINOMICS in connection with its services since 1998. Complainant retained Respondent for web development
services. In that capacity, Respondent registered the domain name <clinomics.com>. Complainant was not
satisfied with Respondent's services, refused to pay several invoices and terminated the relationship on July 16,
1999. Respondent retained the ownership of the domain name in an effort to collect on the unpaid invoices. The
amount in dispute appears to be over $100,000.
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5. Parties' Contentions

Complainant contends that the Domain Name is confusingly similar to its mark, that Respondent has no rights or
legitimate interests in the Domain Name, and that Respondent has registered and used the Domain Names in bad
faith. More specifically, Complainant contends that Respondent's use of the domain name as a bargaining chip in a
commercial dispute is an act of bad faith.

Respondent claims that its use of the Domain Name to collect on unpaid invoices is a bona fide use. Respondent
also contends that Complainant lacks rights in the mark, that the name is generic, and that this is really a business
dispute outside the scope of the UDRP. Respondent also asks for a finding of reverse domain name hijacking.



6. Discussion and Findings

Both parties in this proceeding rely on Map Supply v. On­line Colour Graphics, FA0096332, to support their position.

In Map Supply, the Complainant hired Multilynx, Inc. to build a web­site. Multilynx in turn contracted with
Respondent to help develop the site. When Multilynx failed to pay Respondent for services provided, Respondent
claimed ownership of the domain name. After reviewing the contract with Multilynx, the Panelist concluded that
there was no contractual authority for the Respondent to take ownership of the Complainant's domain name as
security against payment for money allegedly owed by Multilynx and ordered transfer.

Complainant relies on Map Supply for the proposition that holding a domain name in order to gain bargaining position
over the rightful owner is a commercial use and bad faith. The decision provides support for that proposition in
stating:

This is a novel case and does not quite fit within the four illustrations of bad faith expressed in Paragraph 4(b) of the
[Policy]. Nevertheless, to re­register a domain name without any authority from the registrant in order to gain a
bargaining position over the registrant – with whom it had no legitimate dispute – is unconscionable. (emphasis
added).

Respondent relies on dicta in Map Supply that states a lien in a domain name may be a legitimate interest. In that
regard, the decision states:

"The Respondent's argument does raise the interesting question whether an unpaid web designer once given control
over a domain name by the client can retain it as a security for payment. In my view, this may be so. The law may
recognize some sort of lien or charge against a domain name. To assert such a claim is to assert a legitimate
interest. On that assumption, this could be a dispute to be decided by traditional means – as it would fall outside the
scope of this tribunal". (emphasis added).

The Panelist in Map Supply concluded, however, that the matter before him did not involve a legitimate dispute over
a lien: "The Respondent has failed to persuade me that there is any chance that the law would permit it, without the
consent of the client, to take control of a domain name, and then retain control as a security against payment for
web­design work.."

I believe that Complainant's reliance on Map Supply is misplaced in this instance. In Map Supply, the finding of bad
faith arose from the fact that there was no legitimate dispute over payment between Complainant and Respondent.
Rather, the dispute involved Respondent and a third party, Multilynx. Here, the parties admit there is a legitimate
dispute over Complainant's payment of Respondent's bills. As noted in Map Supply, such a dispute, if properly
documented and supported by applicable law, could give rise to a legitimate interest in the domain name as a lien to
secure payment.

The claims of the parties here turn on whether or not there is a genuine dispute over Respondent's contractual or
legal right to retain the domain name as security for payment. Neither party here has provided us with any written
contract to show the terms on which Respondent was retained to provide services. Respondent states, however,
that it was the intent of the parties in registering the domain name that Respondent would have the right to enforce
its contractual rights through the exercise of a lien on the domain name. To decide this issue would require
additional evidence and an evaluation of the commercial law of liens. Accordingly, I agree with the Panelist in Map
Supply that such as dispute is outside the scope of proceedings under the Policy and is properly decided by
traditional means.

Prior decisions have rejected complaints where the dispute is primarily contractual and therefore outside the scope
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of the policy. See Adaptive Molecular Technologies, Inc. v. Pricilla Woodward & Charles R. Thornton, WIPO Case
No. D2000­0006 (February 28, 2000). That appears to be the appropriate course here, where the dispute turns on the
resolution of legal matters outside the scope of the Policy. In declining to grant relief, I take no position on the
merits of the fee or lien dispute that exists between the parties.

I also reject Respondent's claim that this is a case of reverse domain name hijacking. Reverse domain name
hijacking involves an attempt by a trademark owner to take a domain name from another party without having a
colorable legal right to do so. Here, there is a legitimate dispute over the right to hold the domain name, and
Complainant is entitled to pursue that claim in an appropriate forum.



7. Decision

I find that this matter involves a commercial dispute outside the scope of the Policy. Therefore, Complainant's
request for relief is denied.




                                                Mark V.B. Partridge
                                                  Sole Panelist

                                              Dated: August 28, 2001
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                      WIPO Arbitration and Mediation Center

                                      ADMINISTRATIVE PANEL DECISION

                                      LIBRO AG v. NA Global Link Limited

                                               Case No. D 2000­0186



1. The Parties

Complainant is LIBRO AG, a corporation organized under the laws of Austria, having its principal place of business
in Industriestrasse 7, 2352 Guntramsdorf, Austria (Complainant).

The Respondent is NA Global Link Limited, a company incorporated in Hong Kong with limited liabilities and having
a business place at 1722 Junction Avenue, Suite C, San Jose, California 95112­1011, U.S.A. (Respondent).



2. The Domain Name(s) and Registrar(s)

The domain name at issue is "libro.com". The registrar is Network Solutions, Inc. ("NSI"), 505 Huntmar Park Dr.,
Herndon, Virginia 20170 U.S.A.



3. Procedural History

On March 15, 2000, Complainant submitted a Complaint to the World Intellectual Property Organization Arbitration
and Mediation Center ("Center") pursuant to the Uniform Domain Name Dispute Resolution Policy ("UDRP")
implemented by the Internet Corporation for Assigned Names and Numbers ("ICANN") on October 24, 1999, and
under the rules for the UDRP implemented by ICANN on the same date ("UDRP Rules").

The Complaint and Exhibits were received by the Center in hardcopy on March 20, 2000. The Center acknowledged
receipt of the Complaint by e­mail and post, both sent on March 23, 2000.

On March 23, 2000, a Request for Registrar Verification was transmitted to NSI. In an e­mail to the Center dated
March 24, 2000, NSI confirmed that it is the Registrar for the domain name "libro.com" and that it had not received
the Complaint.

On March 31, 2000, the Center sent a Complaint Deficiency Notification to the Complainant’s authorized
representative by facsimile and e­mail. In the notification the Center requested the Complainant’s representative to
send proof that payment had been made and to submit the Complaint in electronic form and four copies as required
by UDRP Rules, Paragraph 3 (b) and Supplemental Rules, Paragraph 3 (c).

On April 2, 2000, the Complainant transmitted the Complaint in the required form and submitted the fee.

Having verified that the Complaint satisfied the formal requirements of the UDRP and the UDRP Rules, the Center
sent a Notification of Complaint and Commencement of Administrative Proceeding to Complainant’s authorized
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representative by facsimile and e­mail; to Respondent by post, facsimile and e­mail; and to ICANN and NSI. The
Center advised the Respondent that the Response was due by April 26, 2000.

On April 8, 2000, the Center received an undeliverable message via e­mail that the Respondent’s e­mail address
had permanent fatal errors. In an e­mail to the Center dated April 10, 2000, the Respondent acknowledged receipt of
the Complaint and requested translation of documents that were not in English.

In an e­mail dated April 13, the Center responded that according to the UDRP Rules, Paragraph 11, the Panel had
the right to order that any documents submitted in languages other than the language of the administrative
proceeding, be accompanied by a translation in whole or in part in the language of the administrative proceeding but
that such a request did not affect the obligation under the rules to file a Response by the deadline.

On April 19, 2000, Respondent sent to the Center a Response to the Complaint, which was received by the Center
on April 27, 2000.

On April 28, in view of the Complainant’s designation of a single panelist, the Center invited Torsten Bettinger of
Bettinger & Abel, Munich to serve as a Panelist in this Administrative Proceeding.

On May 2, 2000, the Center issued to the Panelist a Request for Declaration of Impartiality and Independence.
Having received the Panelist’s Declaration of Impartiality and Independence, on May 2, 2000, the Center issued a
Notification of Appointment of Administrative Panel and set a decision date, with the Panelist’s deadline for issuing
a decision as of May 16, 2000.

The Center transmitted the case file to the Panelist on May 2, 2000. The case file was received by the Panelist on
May 3, 2000.



4. Factual Background

Complainant has provided evidence of its ownership of the following marks:

1. "LIBRO", registration No. 139 780, registered with the Austrian Patent and Trademark Office for a term of 10
years from February 28, 1992, for "paints, varnishes, lacquers for painters and artists in class 2; and apparatus for
recording, transmission or reproduction of sound and images, magnetic data carriers, recording discs" in class 9;
and "horological and chronometric instruments" in class 14; and "paper, adhesives paint brushes, typewriters and
office requisites (except furniture), instructional and teaching material (except apparatus), plastic materials for
packaging, playing cards, printer’s type" in class 16; and "traveling bags, umbrellas, parasols and walking sticks" in
class 18; and "mirrors, picture frames, goods of wood, cork, reed, cane or plastics" in class 20; and "games and
playthings, gymnastics and sporting articles" in class 28; and for "printed matter, books and calendars" in class 16
on the basis of a proof of secondary meaning.

2. "LIBRO", international registration No. 640 498, registered for a term of 10 years from July 27, 1997, in the
Benelux countries, Croatia, France, Germany, Hungary, Italy, Liechtenstein, Poland, the Czech Republic, Slovakia,
Slovenia and Switzerland for "apparatus for recording, transmission or reproduction of sound and images, magnetic
data carriers, recording discs" in class 9; and "horological and chronometric instruments" in class 14; and "paper,
adhesives paint brushes, typewriters and office requisites (except furniture), instructional and teaching material
(except apparatus), plastic materials for packaging, playing cards, printer’s type" in class 16; and "games and
playthings, gymnastics and sporting articles" in class 28.

The Complainant has filed an application for registration of the LIBRO mark with the United States Patent and
Trademark Office on December 18, 1999.

The Respondent had registered the domain name on March 29, 1999. Respondent apparently uses the domain
name "libro.com" to redirect users to its website at "restaurants.com", that is Internet users who try to access the
"www.libro.com" address are automatically redirected to the "restaurants.com" website.




5. Parties’ Contentions
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A. Complainant

Complainant alleges that "LIBRO" is "famous in its market" and "has acquired strong secondary meaning because
of Complainant’s heavy advertising and exclusive use of the mark in association with books, music, paper supplies
and other products" in Austria.

The Complainant alleges that it is "the market leader in Austria for books, music, stationery, new media and video"
and that the Respondent’s registration has diminished the Complainant’s capacity to distinguish and to identify
Complainant’s products on the Internet.

The Complainant asserts that:

(1) the domain name "libro.com" is confusingly similar to the trademark "LIBRO" in accordance with Article 4a(i) of
the UDRP;

(2) the Respondent has no rights or legitimate interest in respect of the domain name "libro.com" as provided in
Article 4a(ii) in connection with Article 4c of the UDRP;

(3) the domain name "libro.com" was registered and used in bad faith as provided in article 4(a) (iii) in connection
with article 4 (b) of the UDRP because the Respondent listed the domain name with the Internet domain name
auction service "greatdomains.com" and offered the domain name for sale for US $ 25,000. It contends that the
Respondent has "obviously registered the domain name with the intention of selling or otherwise transferring the
domain name to Complainant for a valuable consideration in excess of Respondent’s out­of­pocket costs directly
related to the domain name."

B. Respondent

Respondent contends that the allegation by the Complainant is "a kind of reverse domain name hijacking".

It disputes Complainant’s argument that it registered and used the domain name in bad faith and alleges that
Complainant’s trademark "LIBRO" is the common word for "book" in the Spanish and Italian languages and is used
extensively by third parties.

Respondent contends that it registered the domain name "libro.com" at the same date as the domain name
"juego.com" which is the common word for "game" in the Spanish language. It claims that it chose to register the
domain name because it was descriptive for services in relation to books and that the registration was made with
the intent of establishing a virtual book store.

It contends that no one has the exclusive right over the use of this word in the Internet.




6. Discussion and Findings

This Panelist’s jurisdiction is limited. Pursuant to Paragraph 4(a) of the UDRP, a domain can be transferred only
where the complainant has proven that each of the following three elements is present:

(1) the domain name is identical or confusingly similar to a trademark or service mark in which the complainant has
rights;

(2) the domain name holder has no rights or legitimate interests in respect of the domain name; and

(3) the domain name has been registered and is being used in bad faith.

This Panelist finds that while Complainant satisfies the first and the second requirement, the record does not
support a finding of the third requirement.

6.2 Confusing Similarity

It is beyond dispute that the Complainant has satisfied the first requirement. The domain name registered by
Respondent is identical to the registered trademarks owned by Complainant. The addition of ".com" is not significant
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in determining similarity.



6.2 Respondent’s rights or legitimate interest in the domain name

Paragraph 4 (a) (ii) of the UDRP asks whether the Respondent has any rights or legitimate interests in respect of the
domain name. Under Paragraph 4 (c) of the UDRP, Respondent may demonstrate that it has a right or legitimate
interest to a domain name for the purpose of Paragraph 4 (a) (ii) by providing evidence of any of the following
circumstances:

(1) demonstrable preparations to use the domain name in connection with a bona fide offering of goods or services
prior to the dispute;

(2) an indication that the registrant has been commonly known by the domain name even if it has acquired no
trademark rights;

(3) legitimate noncommercial or fair use of the domain name without intent to divert consumers or to tarnish the
trademark

The Complainant argues that the Respondent has no trademark rights in the word "LIBRO" in any country and
contends that the Respondent fails the test of Paragraph 4 (c) UDPR because it has never used the domain name
"libro.com" in bona fide commerce.

The Respondent asserts that it registered the domain name because it is the Spanish and Italian word for "book"
and with the intention of using the domain name for establishing a virtual book store.

The question to be answered by the Panelist is whether the mere registration of a generic name without making
preparations to use the domain name for the bona fide offering of goods or services is sufficient to demonstrate the
rights or legitimate interests required by Paragraph 4 (a).

Respondent has not provided any evidence of facts that indicate that it has made preparations to use the domain
name for the alleged purpose. It is clear from the record that the domain name is currently used to redirect visitors
to a website at <restaurant.com>. There is no evidence such as business plans, correspondence, reports or other
forms of evidence before the Panelist that show that Respondent is engaged in any activities to use the domain
name <libro.com> for the bona fide offering of goods or services.

The Panel finds that the mere speculative idea for a bona fide business application of a generic domain name does
not fall within any of the circumstances listed under Paragraph 4 (a) UDRP as evidence of rights or legitimate
interests.

While in principle the registrations of descriptive names are perfectly legal in most countries and may constitute
considerable value, the mere speculation in generic domain names without showing any demonstrable evidence of
plans for the bona fide use is not sufficient to prove legitimate interest in a domain name. Speculation itself is not
recognized under the UDRP as a legitimate interest and the UDRP should not be interpreted to hold that mere
speculation in domain names is a legitimate interest.

Under these circumstances and on this record, it is concluded that Respondent has no rights or legitimate interests
in the domain name "libro.com" and that the requirement of the UDRP Paragraph 4 (a) (ii) is satisfied.



6.3. Bad Faith

While Complainant satisfies the first and the second requirement, it cannot be established from the information at
hand, that Complainant exhibited the requisite "bad faith" of Paragraph 4 (a) (iii) UDRP.

The UDRP is very narrow in scope; it covers only clear cut cases of "cybersquatting" and "cyberpiracy", and does
not cover every dispute that might rise over domain names (see, for example, Second Staff Report on
Implementation Documents for the Uniform Dispute Resolution Policy (October 24, 1999), available at
<http:www.icann.org/udrp/udrp­second­staff­report­24oct99.htm> which states: "Except in cases involving ‘abusive
registrations’ made with bad faith intent to profit commercially from others’ trademarks (e.g. cybersquatting and
cyberpiracy) the adopted policy leaves the resolution of disputes to the courts and calls for registrars not to disturb
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a registration until those courts decide. The adopted policy establishes a streamlined, inexpensive administrative
dispute­resolution procedure intended only for the relatively narrow class of cases of "abusive registrations".)

Respondent’s explanation that it selected the domain name because it is the Spanish and Italian word for "book"
appears prima facie acceptable. It is a fact that registrations of generic words have acquired considerable
commercial value and represent an important asset in electronic commerce especially in a trade sector where
product marketing through the Internet has become vitally important as it is for the book industry.

The Complainant has not provided any evidence of facts which might indicate that Respondent knew or should have
known of Complainant’s trademarks and registered the domain name with the intent of capitalizing on Complainant’s
trademark interests or even that Respondent was aware of Complainant’s existence when it registered the domain
name.

It is noted that on this record the Complainant has no trademark rights in the U.S.A and has not started commercial
activities on the U.S. market.

The record also shows that the Respondent has registered and acquired the domain name "juego.com" which is also
a descriptive term in the Spanish language.

Under these circumstances it is not likely that the Respondent has chosen the domain name with the intent to profit
or otherwise abuse Complainant’s trademarks, but, in contrast, it appears reasonable to believe that the
Respondent’s allegation that it has registered the domain name for making profit from descriptive character of this
domain name is correct.

Complainant has offered no evidence to contradict this claim. In the absence of additional evidence specifically on
issue of bad faith and the reasonably plausible explanation given by the Respondent as to why the domain name
was chosen, it cannot be imputed that Respondent’s intent was to sell and transfer the domain name to the
Complainant.

Therefore, since it has not been demonstrated that the domain name "libro.com" was chosen by Respondent at the
time of registration with the intent to profit or otherwise abuse Complainant’s trademark rights, I conclude that
Complainant has not met its burden of proof under Paragraphs 4 (a) (iii) of the UDRP.



7. Decision

For all of the foregoing reasons, the Panelist decides that the domain name "libro.com" should not be transferred to
the Complainant.

The Panelist’s decision should not be read as a substantive decision on the merits of any trademark infringement
claim Complainant ultimately may choose to bring in court under applicable national law, where likelihood of
confusion and dilution can be taken into account, irrespective of the intentions of the Respondent in registering the
domain name. That issue, however, which would raise difficult questions as to the extent of territorial trademark
rights protection in the Internet, is outside the scope of this decision.


                                                  Torsten Bettinger
                                                    Sole Panelist

                                                Dated: May 16, 2000
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           Response Annex
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Re: Case No. D2015-0875

<casino-vulcan.co>
<cazino-vulcan.com>
<club-vulcan.com>
<vulcan-casino.co>
<vulcan-casino2.com>
<vulcan-cazino.net>
<vulcan-cazino.org>

Notice of Change in Registrant Information




Further to the information provided by the Center on June 5, 2015, we are amending the
Complaint above-mentioned in the following terms:

On the one hand, we would like to add the newly identified registrants as respondents

(1) As to the domain names

<casino-vulcan.co>
<vulcan-casino.co>
<club-vulcan.com>
<vulcan-cazino.org>
<vulcan-casino2.com
<cazino-vulcan.com>:

Lianna Tall
wlewo777@gmail.com
Escave ltd
Global Gateway 8, Rue de la Perle
Mahe
Other
Seychelles na
+380.992765710


(2) As to the domain name <vulcan-cazino.net>:

First Name - Timur
Last Name - Ziganshin
Organization - Timur Ziganshin
Street - 9th January st. 233-61
ZIP – 426050
City – Izhevsk
State - Udmurtia
Phone - 7.9058777027
Country – Russian Federation
Phone - 7.9058777027
Email - daminc@udm.net
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Furthermore, despite the fact that the domain names belong to different owners, we
would like to keep a single consolidated complaint. WIPO panels have articulated
principles governing the question of whether a complaint filed with WIPO by multiple
complainants may be brought against (one or more) respondents. These criteria
encompass situations in which (i) the complainants either have a specific common
grievance against the respondent, or the respondent has engaged in common conduct
that has affected the complainants' individual rights in a similar fashion; (ii) it would be
equitable and procedurally efficient to permit the consolidation; or in the case of
complaints brought (whether or not filed by multiple complainants) against more than
one respondent, where (i) the domain names or the websites to which they resolve
are subject to common control, and (ii) the consolidation would be fair and equitable
to all parties.

As stated in prior UDRP decisions, a consolidation of multiple respondents in a single
proceeding may be appropriate, under paragraphs 3(c) and 10(e) of the Rules, where the
circumstances of a given case indicate that common control is being exercised over the
disputed domain names or the web sites to which the domain names resolve and the
consolidation would be fair and equitable to all parties. See Speedo Holdings B.V. v.
Programmer, Miss Kathy Beckerson, John Smitt, Matthew Simmons, WIPO Case No.
D2010-0281 and paragraph 4.16 of the WIPO Overview of WIPO Panel Views on
Selected UDRP Questions, Second Edition (“WIPO Overview 2.0”).

The burden of proof for establishing that the disputed domain names are subject to
common control is a preponderance of the evidence, as stated amongst others in Seiko
HoldingsKabushiki Kaisha v. L. Collins Travis, C. Turner Jose, et al., WIPO Case No.
D2013-0994; and Lanc me Parfums Et Beaut Et Compagnie v. You Ge, Jean Buding,
Kang Tianhuan, Zongkaili, Leigeng, WIPO Case No. D2013-1559.


We believe that these criteria are met in the present case due to the following reasons:

   -   According to the documentation submitted in support of the complaint (annexes
       25-38), the disputed domain name “vulcan-cazino.net” (owned by TIMUR) is a
       complete copy of “vulcan-casino.co”, “vulcan-cazino.org”, “vulcan-
       casino2.com” (owned by LIANNA TALL). Therefore, we can conclude that the
       domains are subject to common control.

   -   In addition, we are providing a screenshot (below) which proves the relation
       between “vulcan-cazino.net” (owned by TIMUR) and another of the disputed
       domains “vulcan-casino2.com” (owned by the other respondent). This
       screenshot is taken from the web “vulcan-cazino.net” and links this domain with
       “vulcan-casino2.com”: “REMEMBER OFFICIAL MIRROR CASINO
       VOLCANO: VULCAN-CASINO2.COM”.
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The rest of the complaint remains unchanged.

                                                  Respectfully submitted,

                                                           Sandra Santos




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                COMPLAINT TRANSMITTAL COVERSHEET

Attached is a Complaint that has been filed against you with the World Intellectual Property
Organization (WIPO) Arbitration and Mediation Center (the Center) pursuant to the
Uniform Domain Name Dispute Resolution Policy (the Policy) approved by the Internet
Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999, the Rules for
Uniform Domain Name Dispute Resolution Policy (the Rules) approved by ICANN on
October 30, 2009, and the WIPO Supplemental Rules for Uniform Domain Name Dispute
Resolution Policy (the Supplemental Rules).

The Policy is incorporated by reference into your Registration Agreement with the
Registrar(s) of your domain name(s), in accordance with which you are required to submit to
a mandatory administrative proceeding in the event that a third party (a Complainant)
submits a complaint to a dispute resolution service provider, such as the Center, concerning a
domain name that you have registered. You will find the name and contact details of the
Complainant, as well as the domain name(s) that is/are the subject of the Complaint in the
document that accompanies this Coversheet.

You have no duty to submit a Response to the Complaint until you have been formally
Notified of the Complaint and Commencement of Administrative Proceedings by the Center.
Once the Center has checked the Complaint to determine that it satisfies the formal
requirements of the Policy, the Rules and the Supplemental Rules, it will forward an official
copy of the Complaint, including annexes, to you by e-mail as well as sending you hardcopy
Written Notice by post and/or facsimile, as the case may be. You will then have 20 calendar
days from the date of Commencement within which to submit a Response to the Complaint in
accordance with the Rules and Supplemental Rules to the Center and the Complainant. You
may represent yourself or seek the assistance of legal counsel to represent you in the
administrative proceeding.

   The Policy can be found at http://www.icann.org/en/dndr/udrp/policy.htm

   The Rules can be found at http://www.icann.org/en/dndr/udrp/uniform-rules.htm

   The Supplemental Rules, as well as other information concerning the resolution of
    domain name disputes can be found at
    http://www.wipo.int/amc/en/domains/supplemental/eudrp/

   A model Response can be found at
    http://www.wipo.int/amc/en/domains/respondent/index.html

Alternatively, you may contact the Center to obtain any of the above documents. The Center
can be contacted in Geneva, Switzerland by telephone at +41 22 338 8247, by fax at
+41 22 740 3700 or by e-mail at domain.disputes@wipo.int.

You are kindly requested to contact the Center to provide an alternate e-mail address to
which you would like (a) the Complaint, including Annexes and (b) other communications in
the administrative proceeding to be sent.

A copy of this Complaint has also been sent to the Registrar(s) with which the domain
name(s) that is/are the subject of the Complaint is/are registered.

By submitting this Complaint to the Center the Complainant hereby agrees to abide and be
bound by the provisions of the Policy, Rules and Supplemental Rules.
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Before the:

                WORLD INTELLECTUAL PROPERTY ORGANIZATION
                    ARBITRATION AND MEDIATION CENTER


RITZIO PURCHASE LIMITED                  Disputed Domain Name(s):
Corporate ID: 144533
Diagorou Street 4, Kermia building
6th floor, Office 601, P.C.1097,
Nicosia, Cyprus
(Complainant)

-v-

[a] PRIVACYPROTECT.ORG                   https://vulcan-casino.co/
ID#10760, PO Box 16                      https://casino-vulcan.co/
Nobby Beach, Queensland
QLD 4218, Australia

And

[b] GLOBAL DOMAIN PRIVACY                https://www.club-vulcan.com/
SERVICES INC                             http://vulcan-cazino.org/
Salduba Bldg, 3rd floor, 53rd East       http://vulcan-casino2.com/
Street, Marbella, Panama                 http://cazino-vulcan.com/

And

[c] MONIKER PRIVACY
SERVICES                                 http://vulcan-cazino.net/
2230 NE 9th Street, Second Floor
Fort Lauderdale, FL 33304, US
(Respondents)


________________________________


                                     COMPLAINT
        (Rules, Paragraph 3(b); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)


                                      I. Introduction

[1.]    This Complaint is hereby submitted for decision in accordance with the Uniform
        Domain Name Dispute Resolution Policy (the Policy), approved by the Internet
        Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999, the
        Rules for Uniform Domain Name Dispute Resolution Policy (the Rules), approved by
        ICANN on October 30, 2009, and the WIPO Supplemental Rules for Uniform
        Domain Name Dispute Resolution Policy (the Supplemental Rules).


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                                         II. The Parties


                                    A. The Complainant
                              (Rules, Paragraphs 3(b)(ii) and (iii))

[2.]    The Complainant in this administrative proceeding is Ritzio Purchase Limited.


[3.]    The Complainant‘s contact details are:


                                 Ritzio Purchase Limited
                Registered       Diagorou Street 4, Kermia building
                                 6th floor, Office 601, P.C.1097,
                Address:         Nicosia, Cyprus



[4.]    The Complainant‘s authorized representative in this administrative proceeding is:
        [a.] Name: MAPA TRADEMARKS SL
        [b.] Address: C/Henao Nº 7, 5ª Planta, Dpto 8; E-48009 Bilbao (Bizkaia); Spain
        [c.] Telephone: +34.944019133
        [d.] Fax: +34.944104765
        [e.] E-Mail: info@mapasl.com


[5.]    The Complainant‘s preferred method of communications directed to the Complainant
        in this administrative proceeding is:
         Electronic-only material
        Electronic-only material
        Method:           E-mail
        Address:          info@mapasl.com
        Contact:          Sandra Santos

                                      B. The Respondent
                                    (Rules, Paragraph 3(b)(v))

        [6.]  According to the WHOIS database located at http://www.whois.com, the
        Respondent in this administrative proceeding is


           [a] Name:         Domain Admin
               Organization: PrivacyProtect.org
               Address:      ID#10760, PO Box 16
                             Nobby Beach, QLD 4218
                             Australia
               Telephone:    +45.36946676
               E-mail:       contact@privacyprotect.org



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          [b] Name:         Private Whois
              Organization: GLOBAL DOMAIN PRIVACY SERVICES INC
              Address:      Salduba Bldg, 3rd floor, 53rd East Street, Marbella
                            Panama
              Telephone:    +507.8365260
              E-mail:       vulcan-cazino.org@domains-anonymizer.com
                            Club-vulcan.com@domains-anonymizer.com
                            Vulcan-casino2.com@domains-anonymizer.com
                            Cazino-vulcan.com@domains-anonymizer.com

           [c] Name:         Moniker Privacy Services
               Organization: Moniker Privacy Services
                             Address: 2320 NE 9th Street, Second Floor
                             Fort Lauderdale, FL 33304, United States
               Telephone: (800) 688 6311
               Fax:          (954) 585 9186
               E-mail:
               d027ec8e83659db56325ff25f4d5573de50c373610d71d1328b5c9306a1bbea9
               @vulcan-cazino.net.whoisproxy.org


        Copies of the printout of the WHOIS database searches conducted on May 21st, 2015
        are provided as Annexes 1-3.


                                       CONSOLIDATION


[7.]    Although we apparently deal with three different Respondents, according to the data
        provided in Annexes 1-3, the Complainant strongly believes that there is only one
        Respondent.
        Due to the impossibility to disclose the registrant information, we will wait until the
        Center informs us on the identity of the Respondents and, in case there is more than
        one, we will apply for the consolidation of Respondents since all the domain names
        seem to be operated by the same person.
        Following the criteria of the WIPO Center case-law (Case No D2015-0066), “As
        stated in prior UDRP decisions, a consolidation of multiple respondents in a single
        proceeding may be appropriate, under paragraphs 3(c) and 10(e) of the Rules, where
        the circumstances of a given case indicate that common control is being exercised
        over the disputed domain names or the web sites to which the domain names resolve
        and the consolidation would be fair and equitable to all parties. See Speedo Holdings
        B.V. v. Programmer, Miss Kathy Beckerson, John Smitt, Matthew Simmons, WIPO
        Case No. D2010-0281 and paragraph 4.16 of the WIPO Overview of WIPO Panel
        Views on Selected UDRP Questions, Second Edition (“WIPO Overview 2.0”).




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The domain names in dispute can be classified either by registrant or by the content of the
corresponding webpage. In the first case, as stated above, we have:
       a) VULCAN-CASINO.CO and CASINO-VULCAN.CO registered with
         PublicDomainRegitry
       b) CLUB-VULCAN.COM, VULCAN-CAZINO.ORG, VULCAN-CASINO2.COM and
         CAZINO-VULCAN.COM registered with URL SOLUTIONS INC
       c) VULCAN-CAZINO.NET registered with MONIKER ONLINE SERVICES LLC


Nevertheless, if we attend to the use of the domain names, they can only be classified in three
groups that do not match the registrar criteria:
       1 VULCAN-CASINO.CO, VULCAN-CAZINO.NET, VULCAN-CAZINO.ORG,
         VULCAN-CASINO2.COM,
       2 CASINO-VULCAN.CO, CAZINO-VULCAN.COM,
       3 CLUB-VULCAN.COM




                         III. The Domain Name(s) and Registrar(s)
                               (Rules, Paragraphs 3(b)(vi), (vii))

[8.]     This dispute concerns the domain names identified below:


         [a] vulcan-casino.co

            Last Transferred Date:    Mar 01, 2015
            Domain Registration Date: Jul 31, 2014
            Domain Expiration Date: Jul 30, 2016

         [b] casino-vulcan.co

            Last Transferred Date:    Mar 01, 2015
            Domain Registration Date: Jul 31, 2014
            Domain Expiration Date:   Jul 30, 2016

         [c] club-vulcan.com

            Updated Date:       Mar 07, 2015
            Creation Date:      Feb 29, 2012
            Expiration Date:    Feb 28, 2017

         [d] vulcan-cazino.org

            Creation Date:        Sep 10, 2013
            Updated Date:         May 05, 2015
            Registry Expiry Date: Sep 10, 2016


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        [e] vulcan-casino2.com

           Updated Date:          Feb 25, 2015
           Creation Date:         Oct 30, 2013
           Expiration Date:       Oct 30, 2016

        [f] cazino-vulcan.com

           Updated Date: Feb 25, 2015
           Creation Date: Aug 06, 2013
           Expiration Date: Aug 06, 2016

        [g] vulcan-cazino.net

           Updated Date:    Feb 18, 2015
           Creation Date:   Sep 10, 2013
           Expiration Date: Sep 10, 2015


[9.]    The registrars with which the domain names are registered are:


                              vulcan-casino.co; casino-vulcan.co;
        [a.]   Registrar Name:      PublicDomainRegistry.com
        [b.]   Registrar‘s Address: 9450 SW Gemini Dr. #48732, Beaverton, Oregon,
                                    97008, United States
        [c.]   Telephone Number: +1.2013775952
        [d.]   Fax:                 +1.3202105146
        [e.]   E-Mail Address:      domain.manager@publicdomainregistry.com

                              club-vulcan.com; vulcan-cazino.org;
                          vulcan-casino2.com; cazino-vulcan.com
        [a.]   Registrar Name:      URL SOLUTIONS INC.
        [b.]   Registrar‘s Address: Ipasa Building, Third Floor, 41st Street, Bella Vista,
                                    Panama
        [c.]   Telephone Number: +507.8339556
        [d.]   Fax:                 +1.3022889676
        [e.]   E-Mail Address:      support@pananames.com
        [f.]   Correspondence address: 53-55 Agios Athanasios Street, Michaelangelo
                                    House, 4102 Limassol, Cyprus

                                    vulcan-cazino.net
        [a.]   Registrar Name:      Moniker Online Services LLC
        [b.]   Registrar‘s Address: 2320 NE 9th Street, Second Floor
                                    Fort Lauderdale, FL 33304
                                    United States
        [c.]   Telephone Number: (800) 688 6311
                                    (954) 607 1294
        [d.]   E-Mail Address:      abuse@moniker.com




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                                IV. Language of Proceedings
                                    (Rules, Paragraph 11)

[10.]    Paragraph 11(a) of the Rules provides that, subject to the authority of the Panel, the
         language of the proceedings shall be the same as the language of the Registration
         Agreement unless the Parties have otherwise agreed to proceeding in a different
         language.


         To the best of the Complainant‘s knowledge, the language of the Registration
         Agreements is English, a copy of which are provided as Annex 4 for Public Domain
         Registry, Annex 5 for URL Solutions inc. and Annex 6 for Moniker Online Services
         LLC to this Complaint. The Complaint has been submitted in English, and submits
         that given the above the language of proceeding should be English.




                 V. Jurisdictional Basis for the Administrative Proceeding
                              (Rules, Paragraphs 3(a), 3(b)(xv))

[11.]    This dispute is properly within the scope of the Policy and the Administrative Panel
         has jurisdiction to decide the dispute. The registration agreement, pursuant to which
         the domain names that are the subject of this Complaint are registered, incorporates
         the Policy. A true and correct copy of the domain name dispute policy that applies to
         the domain names in question are provided as Annexes 4, 5, 6 for Public Domain
         Registry, URL Solutions INC. and Moniker Online Services LLC respectively, to this
         Complaint and can be found at:


             [a.] Public Domain Registry - http://publicdomainregistry.com/legal/


             [b]. URL Solutions INC. -
         https://pananames.com/upload/landing/urlsolutions/legal/DOMAIN_NAME_REGIST
         RATION_SERVICE_AGREEMENT.pdf


             [c] http://www.moniker.com/legal/registration-agreement




                               VI. Factual and Legal Grounds
                     (Policy, Paragraphs 4(a), (b), (c); Rules, Paragraph 3)



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[12.]    This Complaint is based on the following grounds:


This Complaint is based on the Вулкан1, Вулкан (& Design), Vulcan and Volcano
trademarks, among other Вулкан, Vulcan, Vulkan and Volcano composite marks (hereinafter
the ―Vulcan Marks‖) owned by a Complainant in numerous countries around the world and
which Complainant have been continuously using since at least as early as 1992—long before
Respondent‘s registration of the subject domain names in 2012 and 2014. Complainant is the
owner of registrations for the Vulcan Marks in numerous countries around the world,
including but not limited to the below registrations in Russia. Copies of trademark records
for a representative sample of the Vulcan Marks are attached hereto as Annex 7.


In addition, we are providing the internet the links corresponding to these TM from the
official database of the Russian Federation (ROSPATENT), also attached as Annexes 8-11
(a) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 342290 (link to the original Russian text from
    Rospatent:
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile=html
(b) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 342291 (link to the original Russian text from
    Rospatent:
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=html
(c) TM – VULKAN (Russian Federation), Reg. number 353692 (link to the original Russian text from
    Rospatent:
    http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile=html
(d) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 353694 (link to the original Russian text from
    Rospatent:
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353694&TypeFile=html
Furthermore, Annexes 12-16 consists of some of the TM duly registered by the Complainant
worldwide.


     For more than 20 years, Ritzio has been in the business of providing high-quality
gaming, casino and entertainment products and services, including but not limited to the
operation and management of gaming halls, the design, development, provision and
maintenance of games of chance, including betting bingo and slot machines, the provision of
interactive real-money games through a computer network, and other related products and
services under the well-known Вулкан and Vulcan brands.



1
  The English translation of Вулкан is ―Volcano‖ or ―Vulcan‖. The transliteration of this trademark in Roman
letters is ―Vulkan‖ since Cyrillic has no equivalent of the letter ―C,‖ only ―K,‖ for the ―K‖ sound.



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    Today, Ritzio is one of the leading gaming operators with more than 200 branded
gaming clubs and more than 5,800 gaming machines deployed throughout Europe.
Photographs of Вулкан and Vulcan branded gaming halls, and a listing of Ritzio‘s
operations, are attached here to as Annexes 17 and 18.


    Moreover, Ritzio‘s business operations continue to expand far beyond Russia. With
more than 2,000 employees, operations in a number of countries, including but not limited to
Germany, Romania, Latvia, Belarus, Croatia and Italy, multiple Вулкан and/or Vulcan
branded gaming halls opening each year, Ritzio has developed a global reputation as a high-
quality, technologically advanced, multi-national gaming operator. A summary of Ritzio‘s
operations and locations, and a collection of press releases reflecting Ritzio‘s growth, are
attached hereto as Annex 19 containing detailed information on the development of Ritzio‘s
key brand VULCAN in the following countries respectively: Germany, Italy, Croatia,
Romania, Belarus, Latvia.


      As demonstrated above, the Vulcan Marks are famous and enjoy a worldwide
reputation in connection with high quality products and services in the gaming and
entertainment industries.


    Since at least as early as 1992, Ritzio has expended significant resources to promote its
products and services using the Vulcan Marks through various media outlets. As a result,
Ritzio has developed significant goodwill in the Vulcan Marks and has grown the Vulcan
Marks into one of the most recognized and well-known brands in Europe, Eastern Europe. In
fact, between 2006 and 2010, Ritzio‘s operating revenue was in excess of USD $5.5 billion.
Id. Ritzio has expended significant time, money and resources to build goodwill in the
Vulcan Marks, and as a result, the Vulcan Marks have become famous and are extremely
valuable trademarks. Annexes 20 - 22 consist of excerpts from independent sources that
prove Ritzio‘s growth and the success of VULCAN chain of gaming clubs widely spread in
several countries.


    Ritzio has also been recognized by the International Gaming Awards for its commitment
to corporate social responsibility providing since 2005 active support to the Paralympic
movement and sportsmen with disabilities. A long-term partnership between Ritzio and the
Russian Paralympic Committee began with the company‘s sponsorship of the Russian
national team at the 2006 Winter Paralympic Games in Turin (see Annexes 23-24).




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      Yet, not only is Respondent using the Vulcan Marks without authorization, but in an
effort to illicitly profit off the goodwill and reputation of the Vulcan Marks, it has copied the
look and feel of Ritzio‘s gaming clubs, copied the registered ―Вулкан‖ word mark and
lightning bolt logo exactly, created ―copycat‖ websites, and is intentionally misrepresenting
in the descriptions of the web-sites that the disputed domain names (and the content
associated therewith) is directly connected to, and/or affiliated with, Ritzio‘s land-based
gaming clubs. Screenshots reflecting these false representations are attached hereto as
Annexes 25-31.




A.       The domain name(s) is(are) identical or confusingly similar to a trademark or
         service mark in which the Complainant has rights;
         (Policy, Paragraph 4(a)(i); Rules, Paragraphs 3(b)(viii), (b)(ix)(1))

                                 Reg. No./
     Country     Trademark                          Goods/Services                 Registrant
                                 Reg. Date
                                              gaming; recreational
                                              information; entertainment
                                              information; club services
                                              (entertainment or education);
                                              night clubs; game services
                                              provided on-line (from a
                                              computer network); providing
                                              recreational facilities;
                                              organisation of competitions
                                              (entertainment); lotteries;
                                              holiday camp services
                                              (entertainment); organisation
  Armenia                                     of shows (impresario services);
 Azerbaijan                                   television entertainment;
   Belarus                                    bookmobile services; providing
   Estonia                                    karaoke services; providing
   Georgia                                    golf facilities; providing
                  Вулкан (&                   amusement arcade services;
 Kyrgyzstan        design)                    providing cinema facilities;
 Kazakhstan                        791038     presentation of live
                                                                                 Ritzio Purchase
  Lithuania                      03.09.2002   performances; theatre                  Limited
   Latvia                                     productions; videotape film
  Moldova                                     production; film production;
 Tajikistan                                   radio entertainment; entertainer
Turkmenistan                                  services;; news reporters
                                              services; party planning
   Ukraine
                                              (entertainment); music
 Uzbekistan                                   composition services;
                                              subtitling; providing of casino
                                              facilities (gambling); providing
                                              museum facilities
                                              (presentation, exhibitions);
                                              educational services; orchestra
                                              services; translation;
                                              scriptwriting services;
                                              recording studio services;
                                              digital imaging services;
                                              circuses; production of shows.




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                         Reg. No./
 Country     Trademark                     Goods/Services            Registrant
                         Reg. Date

                                    Entertainment; providing
                                    an interactive game
                                    [through a computer
             Вулкан (&              network], providing
              design)               interactive, organization of
                                                                   Ritzio Purchase
  Russia                            lotteries, organization of
                           342290                                      Limited
                                    entertainment recreation,
                         28.01.2008
                                    provision of gaming halls,
                                    rental of slot machines,
                                    [Entertainment] casino
                                    services.
                                    Automatic vending
                                    machines and mechanisms
                                    for coin-operated
                                    apparatus; data processing
                                    equipment and computers;
                                    ticket machines; automatic
                                    equipment for monitoring
                                    and control of electronic
                                    machinery; computer and
                                    computer game programs;
                                    computer programs
                                    [downloadable software];
                                    betting; gaming devices
                                    with mandatory use of
                                    television sets; devices for
                                    electronic games;
                                    providing access and
  Belarus
                                    telecommunications
 European
                                    connections to the Internet;
Community                                                              Ritzio
                           989103   casino games; information
  Croatia    VOLCANO                                                  Purchase
                         11.08.2008 on recreation,
Kazakhstan                                                            Limited
                                    entertainment, and clubs;
  Serbia
                                    providing interactive
 Ukraine
                                    games through a computer
                                    network; provision of
                                    gaming halls; organizing
                                    lotteries; casino services;
                                    design of computer
                                    systems; and the
                                    arrangement of websites.




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                       Reg. No./
Country   Trademark                     Goods/Services            Registrant
                       Reg. Date
                                 Automatic vending
                                 machines and mechanisms
                                 for coin-operated
                                 apparatus; data processing
                                 equipment and computers;
                                 ticket machines; automatic
                                 equipment for monitoring
                                 and control of electronic
                                 machinery; computer and
                                 computer game programs;
                                 computer programs
                                 [downloadable software];
                                 betting; gaming devices
                                 with mandatory use of
                        353692   television sets; devices for   Ritzio Purchase
Russia     VULKAN
                      18.11.2005 electronic games;                  Limited
                                 providing access and
                                 telecommunications
                                 connections to the Internet;
                                 casino games; information
                                 on recreation,
                                 entertainment, and clubs;
                                 providing interactive
                                 games through a computer
                                 network; provision of
                                 gaming halls; organizing
                                 lotteries; casino services;
                                 design of computer
                                 systems; and the
                                 arrangement of websites.




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                       Reg. No./
Country   Trademark                      Goods/Services                Registrant
                       Reg. Date
                                      Entertainment; sporting
                                       and cultural activities,
                                     including rental of tennis
                                    courts, billiard halls, ticket
                                    booking for shows, video,
                                    disco, casino games, book
                                    publishing, information on
                                    recreation, information on
                                        entertainment, clubs,
                                      cultural and educational
                                      and entertaining, Clubs
                                      cafe night, providing an
                                   interactive game [through a
                                         computer network],
                                        providing interactive
                                   electronic publications [not
                                     downloadable], practical
                                     training [demonstration],
                                   organization of exhibitions
                                           with cultural and
                                        educational purpose,
                                    recreation, organization of
                                        workshops [training]
                                            organization of
                                    competitions education or
                                   entertainment, organization
                        342291                                       Ritzio Purchase
Russia                             of lotteries, organization of
                      28.01.2008                                         Limited
                                     entertainment recreation,
                                     organizing sports events,
                                          amusement parks,
                                           providing sports
                                      equipment, provision of
                                       gaming halls, cinemas
                                      services, programming,
                                      sports, movies and film
                                   production, rental of sound
          Вулкан (&                    recordings and audio ,
           Design)                  rental of audio equipment
                                    and video recorders, rental
                                      of slot machines, rental
                                     movies, equipment rental
                                      stadiums, using desktop
                                        publishing electronic
                                       publishing, interactive
                                     publication of books and
                                    periodicals, publication of
                                           texts [other than
                                     advertising], entertaining
                                        guests, programming
                                     meetings [Entertainment]
                                    casino services, translation
                                       services, photography,
                                         shows, music halls.




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                      Reg. No./
Country   Trademark                      Goods/Services             Registrant
                      Reg. Date
                                   Automatic vending
                                   machines and mechanisms
                                   for coin-operated apparatus;
                                   data processing equipment
                                   and computers; ticket
                                   machines; automatic
                                   equipment for monitoring
                                   and control of electronic
                                   machinery; computer and
                                   computer game programs;
                                   computer programs
                                   [downloadable software];
                                   betting; gaming devices
                                   with mandatory use of
                                   television sets; devices for
                                   electronic games; providing
                                   access and
                                   telecommunications
                                   connections to the Internet;
                                   casino games; information
                                   on recreation,
                                   entertainment, and clubs;
                                   providing interactive games
                                   through a computer
                                   network; provision of
                        353694                                    Ritzio Purchase
Russia                             gaming halls; organizing
                      25.06.2008                                      Limited
                                   lotteries; casino services;
                                   design of computer
                                   systems; and the
                                   arrangement of websites.




          Вулкан (&
           Design)




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                         Reg. No./
 Country     Trademark                       Goods/Services              Registrant
                         Reg. Date
                                       automatic vending
                                       machines and mechanisms
                                       for coin-operated apparatus;
                                       data processing equipment
                                       and computers; ticket
                                       dispensers; juke boxes
                                       (musical), automatic
                                       distribution machines;
                                       computer operation
                                       programs, recorded;
                                       computer game programs,
                                       computer programs
                                       (downloadable software),
                                       electronic publications
                                       (downloadable), integrated
                                       circuit cards (smart cards),
                                       totalizators, apparatus for
                                       games adapted for use with
                                       television receivers only,
                                       amusement apparatus
                                       adapted for use with
                                       television receivers only,
                                       computer peripheral
                                       devices, anti-theft warning
                                       apparatus, chips (integrated
             Вулкан (&
                                       circuits).
 Belarus      Design)     992196                                       Ritzio Purchase
                                       Entertainment; gaming,
Kazakhstan               October 17,                                       Limited
                                       recreation information,
 Ukraine                    2008
                                       entertainment information,
                                       club services (entertainment
                                       or education), night clubs,
                                       game services provided on-
                                       line (from a computer
                                       network), providing
                                       recreation facilities,
                                       arranging and conducting
                                       workshops (training),
                                       organization of
                                       competitions (education or
                                       entertainment), operating
                                       lotteries, holiday camp
                                       services (entertainment),
                                       organization of sports
                                       competitions, providing
                                       amusement arcade services,
                                       rental of slot machines,
                                       rental of cine-films, rental
                                       of stadium facilities,
                                       electronic desktop
                                       publishing, entertainer
                                       services, party planning
                                       (entertainment), providing
                                       casino facilities (gambling),
                                       production of shows.


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                         Reg. No./
 Country     Trademark                      Goods/Services              Registrant
                         Reg. Date
                                      automatic vending
                                      machines and mechanisms
                                      for coin-operated apparatus;
                                      data processing equipment
                                      and computers; ticket
                                      dispensers; juke boxes
                                      (musical), automatic
                                      distribution machines;
                                      computer operation
                                      programs, recorded;
                                      computer game programs,
                                      computer programs
                                      (downloadable software),
                                      electronic publications
                                      (downloadable), integrated
                                      circuit cards (smart cards),
                                      totalizators, apparatus for
                                      games adapted for use with
                                      television receivers only,
                                      amusement apparatus
                                      adapted for use with
                                      television receivers only,
                                      computer peripheral
                                      devices, anti-theft warning
                                      apparatus, chips (integrated
                                      circuits).
 Belarus     Вулкан (&                                                Ritzio Purchase
                           977713     Entertainment; gaming,
Kazakhstan    Design)                                                     Limited
                         12.08.2008   recreation information,
 Ukraine
                                      entertainment information,
                                      club services (entertainment
                                      or education), night clubs,
                                      game services provided on-
                                      line (from a computer
                                      network), providing
                                      recreation facilities,
                                      arranging and conducting
                                      workshops (training),
                                      organization of
                                      competitions (education or
                                      entertainment), operating
                                      lotteries, holiday camp
                                      services (entertainment),
                                      organization of sports
                                      competitions, providing
                                      amusement arcade services,
                                      rental of slot machines,
                                      rental of cine-films, rental
                                      of stadium facilities,
                                      electronic desktop
                                      publishing, entertainer
                                      services, party planning
                                      (entertainment), providing
                                      casino facilities (gambling),
                                      production


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                               Reg. No./
  Country      Trademark                           Goods/Services            Registrant
                               Reg. Date
                                             Automatic vending
                                             machines and mechanisms
                                             for coin-operated apparatus;
                                             data processing equipment
                                             and computers; ticket
                                             machines; automatic
                                             equipment for monitoring
                                             and control of electronic
                                             machinery; computer and
                                             computer game programs;
                                             computer programs
                                             [downloadable software];
  Belarus
                                             betting; gaming devices
 European
                                             with mandatory use of
Community                                                                      Ritzio
                                984297       television sets; devices for
  Croatia      VULKAN                                                         Purchase
                              11.08.2008     electronic games; providing
Kazakhstan                                                                    Limited
                                             access and
  Serbia
                                             telecommunications
  Ukraine
                                             connections to the Internet;
                                             casino games; information
                                             on recreation,
                                             entertainment, and clubs;
                                             providing interactive games
                                             through a computer
                                             network; provision of
                                             gaming halls; organizing
                                             lotteries; casino services;
                                             design of computer
                                             systems; and the
                                             arrangement of websites.


    Copies of the registration certificates and the corresponding translation into English are
attached in Annexes 7-16


    As stated above, the disputed domain names were created in 2012-2015 years and
currently are used to offer exactly the same services (online gambling and casino services)
that the Complainant provides under the Vulcan trademarks.


    The disputed domain names are identical to the English translation of the registered
Vulcan mark, and differ by only one letter when compared to the Cyrillic literation. This
minor difference has no impact aurally. As such, the mark and the domain names are virtually
identical, which render them confusingly similar. See e.g., Compagnie Generale Des
Etablissements Michelin - Michelin & Cie. v. Graeme Foster, D2004-0279 (WIPO Apr. 9,
2010)




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            ―noting that confusing similarity can exist if the trademark and the disputed
            domain name contain word elements of different languages and a
            considerable part of the public understands the meaning of the translation‖;


    See also W.W. Grainger, Inc. v. PPA Media Services, Ryan G Foo / Fundacion Private
Whois, D2013-1854 (WIPO Dec. 17, 2013) (The modification of one letter in a disputed
domain name does nothing to diminish the confusingly similarity.
            ―This is yet another example of ‗typosquatting‘ whereby a domain name
            registrant omits, adds or substitutes one letter from the wording of a
            trademark in the hope that the Internet user will mis-type the search enquiry
            and will be diverted to the respondent‘s website.‖


     Further, a user encountering Respondent‘s domain names is likely to be confused into
believing that any websites associated with the domain names are owned by, affiliated with,
or sponsored by Complainant.


    Here, the disputed domain names incorporate and completely appropriate the
Complainant‘s Vulcan mark (including the English translation thereof), adding only the
generic terms ―casino‖ and ―club,‖ which identify the core services rendered under the
Vulcan Marks, namely, the operation and management of casinos and gaming halls, the
design, development, provision and maintenance of games of chance, including betting bingo
and slot machines, and the provision of interactive real-money games through a computer
network. As a result, the disputed domain names will mislead consumers into believing that
the domain names are either owned by or associated with Complainant. Scholastic Inc. v. 366
Publications, D2000-1627 (WIPO Feb. 21, 2001)
            ―The addition of a generic term is not a distinguishing feature. . . . In fact, it
            may increase the likelihood of confusion if it is an apt term for the
            Complainant‘s business‖


    Additionally, because: (1) Respondent‘s sites copy the look-and-feel of Ritzio‘s gaming
clubs; (2) provide online gaming services that are competitive to those offered in connection
with the Vulcan Marks;       and (3) the domain names are expected to attract consumers
interested in Ritzio‘s products and services, confusion is likely.
    Furthermore it is important to pay attention to the fact that the disputed domain names
copy completely Vulcan Marks, including design and wording that are registered and
owned by the Complainant.



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    See screenshots of the main pages of the disputed domains below (It should be
considered that reproduction of Vulcan Marks can be found on almost all pages of the
disputed domains):
 vulcan-casino.co (same at vulcan-cazino.net; vulcan-cazino.org; vulcan-casino2.com)




                     casino-vulcan.co (same at cazino-vulcan.com)




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                                       club-vulcan.com




B.     The Respondent has no rights or legitimate interests in respect of the domain
       name(s);
       (Policy, Paragraph 4(a)(ii); Rules, Paragraph 3(b)(ix)(2))



     Following the decision in Charles Jourdan Holding AG v. AAIM, D2000-0403 (WIPO
June 27, 2000), Respondent has no legitimate rights or interests in the domain name if (i) it is
not a licensee of Complainant, nor has it received any permission or consent to use
Complainant‘s trademark; (ii) Complainant has prior rights in that trademark which precedes
Respondent‘s registration of its domain name; and (iii) Respondent is not commonly known
by the trademark.
     In this case, the Respondent is not a licensee of Complainant, nor has the Complainant
authorized or consented to Respondent‘s use of any of the Vulcan Marks. The complainant
has provided extensive evidence of its rights to the registered Vulcan Marks, use of which
commenced about 20 years before the creation and registration of the disputed domain names
in 2012-2015. In fact, it is Complainant‘s position, as supported by the evidence of record,
that Respondent simply acquired the domain name registrations in hopes of intentionally
attracting, for commercial gain, Internet users to Respondent‘s website by creating a
likelihood of confusion.




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    As noted above, the Complainant is the owner of numerous trademark registrations for
Вулкан, Вулкан (& Design), Vulkan, and Vulcan trademarks, among other Вулкан, Vulkan,
and Volcano composite marks around the world. Aside from the rights derived from its
registrations, Ritzio has also acquired a substantial reputation under common law by virtue of
its extensive and significant advertising of the Vulcan Marks, and its substantially exclusive
and continuous use of the Vulcan Marks since at least as early as 1992.
    Paragraph 4(c) of the Policy provides that a respondent may demonstrate rights or
legitimate interests in a domain name by establishing that: (1) prior to the dispute, it used, or
made demonstrable preparations to use a domain name in connection with a bona fide
offering of goods or services; (2) it has been commonly known by the domain names, even if
it has not acquired any trademark or service mark rights; or (3) it is making a legitimate
noncommercial or fair use of the domain name, without intent for commercial gain to
misleadingly divert consumers or to tarnish the trademark or service mark at issue.
Respondent cannot satisfy any of these factors.
      In this case, the disputed domain names bear no relationship to any legitimate business
of Respondent nor has Respondent shown any demonstrable preparations to use the domain
names in connection with any bona fide offering of goods or services. In fact, to the best of
Complainant‘s knowledge, Respondent has not developed any legitimate business relating to
or incorporating the Vulcan Marks. See e.g., E. J. McKernan Co. v. Texas International
Property Associates, D2007-1499 (WIPO Dec. 17, 2007) (citing Disney Enters., Inc. v. Dot
Stop, FA 145227 (NAF March 17, 2003)
            ―finding that Respondent‘s diversionary use of Complainant‘s mark to
            attract Internet users to its own website was not a bona fide offering of
            goods or services‖.


    Nor has Respondent ever been commonly known by the disputed domain names. Rather,
as Annexes 1-3 establish, Respondent has purposely hidden itself from the consuming public
by using the WHOIS privacy service to register the disputed domain names. Furthermore,
Respondent uses as many ways as possible to assure users, that the disputed domain names
belong to Complainant. This issue is described in details below in Section C.


    Furthermore, the commercial use to which the disputed domain name has been put,
because it trades on the Complainants fame, is not bona fide, and because it is
commercial is not a fair or non-commercial use.




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    See Consitex S.A., Lanificio Ermenegildo Zegna & Figli S.p.A., Ermenegildo Zegna
Corporation v. LaPorte Holdings, Inc., D2005-0030 (WIPO Feb. 25, 2005) (citing Bank of
Am. Corp. v. Nw. Free Cmty. Access, FA 180704 (NAF Sept. 30, 2003)
           ―Respondent‘s demonstrated intent to divert Internet users seeking
          Complainants‘ website to a website of Respondent and for Respondent‘s
          benefit is not a bona fide offering of goods or services‖ under Policy 4(c)(i)
          and it is not a legitimate noncommercial or fair use under Policy 4(c)(iii);


    See also America Online, Inc. v. Xianfeng Fu, D2000-1374 (WIPO Dec. 11, 2000)
          ―It would be unconscionable to find a bona fide offering of services in a
          respondent‘s operation of its website using a domain name which is
          confusingly similar to the complainant‘s mark and for same business‖.

     Eventually, we would like to quote a recent Decision issued by the Center in the case
     Paddy Power PLC v Oded Keinan, Winning Partner Traffic Label Limited, D2014-
     1192 (WIPO Sep. 09, 2014)
          ―First, the Complainant never authorized the Respondent to utilize any of the
          PADDY POWER Marks nor does the Complainant apparently have any
          relationship or association whatsoever with the Respondent. Furthermore, given
          the exclusive trademark rights that reside in the Complainant, the Respondent
          could not legitimately acquire any public association between itself and the mark
          PADDY POWER or even any mark similar thereto such as a mark containing
          PADDY with a generic gambling-related term(s) appended thereto, at least for the
          goods and services provided by the Complainant under its marks.
          The Respondent once used the disputed domain name <paddybingo.com> to
          address a guide/review site with links to various bingo websites but now uses it as
          an address of a ―pay to play‖ bingo site. The Respondent uses the disputed
          domain name <paddyscasino.com> as an address of an online gambling site. The
          Respondent‘s evident purpose behind choosing <paddybingo.com> and
          <paddyscasino.com> and continuing to use those names is to exploit the ensuing
          source confusion of Internet users in order to divert traffic away from the
          Complainant‘s competing gambling sites to the Respondent‘s sites instead and
          hence commercially benefit the Respondent to the detriment of the Complainant.
          Neither of these uses constitutes a bona fide offering of goods or services
          consistent with paragraph 4(c)(i) of the Policy, nor a legitimate noncommercial or
          fair use under paragraph 4(c)(iii) of the Policy‖.



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C.       The domain name(s) was/were registered and is/are being used in bad faith.
         (Policy, paragraphs 4(a)(iii), 4(b); Rules, paragraph 3(b)(ix)(3))


     Given the reputation and widespread use of the Vulcan Marks, any use by the Respondent of
the domain name in dispute would constitute an infringement of the Complainant‘s trademark
rights.


     Bad faith can be presumed in that the Respondent was aware of Complainant‘s well-known
marks and claim of rights therein. See Aktiebolaget Electrolux v. Protected Domain Name
Services, D2011-2005 (WIPO March 6, 2012) (finding that, in light of the notoriety of the
Complainant‘s famous marks, the Respondent had actual or constructive knowledge of the
ELECTROLUX mark at the time it registered the disputed domain name and such knowledge
constituted bad faith); Yahoo! Inc. v. David Ashby, D2000-0241 (WIPO June 14, 2000) (finding
that the fame of the YAHOO! mark negated any plausible explanation for Respondent‘s
registration of the yahooventures.com domain name)); Crocs Inc. v. Alex Xie, D2011-1500
(WIPO Nov. 15, 2011) (finding that ―the disputed domain is not one that one could legitimately
adopt other than for the purpose of creating an impression or association with Complainant given
Complainant‘s registration its CROCS marks in many countries, and the fact that Complainant
was the subject of extensive media coverage).


     Furthermore, Respondent is not only aware of Complainants’ trademarks, but also in as
many ways as possible shows that disputed domains are associated with Complainant.
Usually at the bottom of the main-page and at the ―about‖-page, where Respondent describes its
services, user can see the following texts that clearly refer to Complaints history while
emphasizing the word ―Official‖ (quotes are from translated by Google Chrome web-pages of
disputed domain names. See Annexes 32-38 where these translated versions are presented in
full):
     (a) http://casino-vulcan.co/about (the same at http://cazino-vulcan.com/about and ) ―Slots
           Volcano - a gaming brand, well-known in many countries. As for Russia and the CIS
           countries, there is, perhaps, there will be no such gamblers, who would not love to play
           clubs volcano.
           The highest quality of service and the most generous slot machines on the market of
           gambling entertainment - these are our main features. It is because of this approach to
           business brand, "Volcano" was the undisputed leader, and even synonymous with "slots".
           Have you caught yourself thinking "Where to play slot machines?" Of course - in the
           volcano!



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   Keeping pace with the times, not so long ago we went out and the open spaces of the
   Internet. Now the old familiar games available right in your browser! Moreover - Casino-
   Vulcan.co on our site you can play slot machines for free, without registration and
   SMS.‖
   http://casino-vulcan.co/ (the same at http://cazino-vulcan.com/ )
   ―Official Game Club Volcano offers to play slot machines for free, without registration
   and sms! It is inconceivable that someone does not recognize good old red-and-blue logo
   "Game Club Volcano." Slot machines Vulcan were deservedly known throughout Russia
   and CIS countries.‖
   ―By taking advantage of the Internet, we can now offer our customers an even greater
   service. One of our innovations is that you can play as well as in free slot machines for
   money in our club - Volcano online casino!‖


(b) http://vulcan-casino.co/about.html (the same at http://vulcan-cazino.net/about.html;
   http://vulcan-cazino.org/about.html; http://vulcan-casino2.com/about.html)
   ―We are sure that there is not a man that would not be familiar with the brand name
   "Volcano". We have long been a leading national network of gaming clubs, but after
   some changes in the Russian legislation, the club "Volcano" had left his home and now
   we're working on the territory of countries such as Belarus, Latvia, Serbia, Italy,
   Germany, Romania, the Czech Republic, Peru and Bolivia.
   We keep up with the progress and are ready to offer you a long-familiar and favorite
   games - now on the Internet. All of our old players, no doubt, already vkurse the
   advantages offered by the game at the "volcano".
   http://vulcan-casino.co/ (the same at http://vulcan-cazino.net/about.html; http://vulcan-
   cazino.org/about.html; http://vulcan-casino2.com/about.html)
   ―Surely you are familiar with our brand, because not so long ago the gaming club
   "Volcano" with blue-red sign can be found in any large, and not very city. Without false
   modesty we can say that Vulkan had the largest network of gaming clubs in Russia and
   Moscow. And now - in 2011 - we are glad to see you on our official web-site!‖


(c) http://www.club-vulcan.com/ ―Club Volcano - familiar to many, if not all, gambling
   brand, has long become synonymous with big winnings and gambling Activity. Since the
   heyday of gaming network "Volcano" Many years have passed, and now we have shifted
   our emphasis on Europe, Latin America, and most importantly - we are now represented
   on the Internet!‖
   ―All lovers of the casino in real life yet, of course, is well remembered the blue-red sign
   gambling clubs "Volcano". He was in any major city. It was the largest network gaming




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        establishments, which united a great many true connoisseurs of gambling in the casino.
        Now free slot machines you can play online casino Volcano.‖


    Finally, the Respondent has acted in bad faith pursuant to Paragraph 4(b)(iv) by using
domain name that incorporates the Vulcan mark to intentionally attract, for commercial gain,
Internet users to Respondent‘s website by creating a likelihood of confusion. This fraudulent
activity in creating ‖copycat‖ websites and directly attempting to deceive consumers is clearly
bad faith. As noted above, the Vulcan Marks are well-known and have a global reputation.


    The Respondent has attempted to capitalize off this fact by purchasing the domain name in
dispute which has nothing to do with Respondent concealing its identity, and trading off the
goodwill that Ritzio has established over the past 20 years. In fact, as noted above, Respondent
has solely used the disputed domains names which completely appropriate the Vulcan mark to
divert consumers from Complainant, and to profit from competitive online gaming and casino
services conduct that WIPO has routinely ruled constitutes bad faith. See e.g., The Knot, Inc. v.
Alex Luongo, D2006-0296 (WIPO Apr. 15, 2006)
      ―When typosquatting is done by a competitor or for competitive services, the
      evidence is conclusive. A close misspelling of a competitor‘s mark betrays both
      knowledge of the mark and an intentional attempt to use that mark to divert Internet
      users to competitors for profit, taking advantage of whatever goodwillw attaches to
      the mark and bringing the circumstances within paragraph 4(b)(iii) and 4(b)(iv) of the
      Policy.‖
Telstra Corporation Limited v. Nuclear Marshmallows, D2000-0003 (WIPO Feb. 18, 2000)
      ―noting that a respondent‘s concealment of its true identity as domain name holder
      strongly indicates a bad faith intention‖.
The American Automobile Association, Inc. v. aaaaautoinsurance.com Privacy--Protect.org,
aaa-netaccess.com Privacy--Protect.org, aaanetacceess.com Privacy--Protect.org, Isaac
Goldstein, D2011-2069 (WIPO Feb. 8, 2012)
      ―Further evidence of bad faith use can be inferred from the choice to register the Disputed
      Domain      Names      <aaaaautoinsurance.com>,      <aaanetacceess.com>,      and       <aaa-
      netaccess.com> using a privacy service. Whereas the Panel accepts that use of a privacy or
      proxy registration service is not in and of itself an indication of bad faith, it notes that
      the manner in which such service is used can in certain circumstances constitute a
      factor indicating bad faith, for example use of a privacy service in combination with
      provision of incomplete contact information or continued concealment of the ―true‖ or
      ―underlying‖ registrant (see paragraph 3.9 of the WIPO Overview 2.0 and Fifth Third
      Bancorp v. Secure WhoIs Information Service, WIPO Case No. D2006-0696). Given that
      certain registrant contact information provided, per the relevant WhoIs records, is


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        inaccurate (for example the telephone number provided for each of the three Disputed
        Domain Names is for a number located in Brazil rather than Shanghai, China, which is the
        location of the stated address) and given the elaborate attempts to conceal what the Panel
        considers to be at least an association between the Respondent Privacy--Protect.org, the
        registrar, and the alleged new registrant of the three Disputed Domain Names, Milan
        Kovac, with the Respondent Isaac Goldstein (as discussed under Proper Respondents
        above), the Panel considers that an inference of bad faith use on the basis of the
        Respondents' use of a privacy registration service to be appropriate in the present case‖.


    Accordingly, the disputed domain names are confusingly similar to Complainant‘s registered
Vulcan Mark and were registered without the Complainant‘s consent, the Respondent has no
legitimate interests in the domain name and is not making any legitimate non-commercial or fair
use of the domain name, and the domain name are registered in bad faith as evidenced by the
Respondent‘s hidden identity, typosquatting, and attempt to trade off the fame and goodwill of
the Vulcan Marks.



                                     VII. Remedies Requested
                                     (Rules, Paragraph 3(b)(x))

[13.]     In accordance with Paragraph 4(i) of the Policy, for the reasons described in Section VI.
          above, the Complainant requests the Administrative Panel appointed in this
          administrative proceeding that the disputed domain names be transferred to the
          Complainant.



                                    VIII. Administrative Panel
                   (Rules, Paragraph 3(b)(iv); Supplemental Rules, Paragraph 8(a))

[14.]     The Complainant elects to have the dispute decided by a single-member Administrative
          Panel.

                                     IX. Mutual Jurisdiction
                                    (Rules, Paragraph 3(b)(xiii))

[15.]     In accordance with Paragraph 3(b)(xiii) of the Rules, the Complainant will submit, with
          respect to any challenges that may be made by the Respondent to a decision by the
          Administrative Panel to transfer or cancel the domain names that are the subject of this
          Complaint, to the jurisdiction of the courts at the location of the domain name holder‘s
          address, as shown for the registration of the domain names in the concerned registrar‘s
          WhoIs database at the time of the submission of the Complaint to the Center.


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                                  X. Other Legal Proceedings
                                   (Rules, Paragraph 3(b)(xi))

[16.]     None.



                                      XI. Communications
           (Rules, Paragraphs 2(b), 3(b)(xii); Supplemental Rules, Paragraphs 3, 4, 12)

[17.]     A copy of this Complaint, together with the cover sheet as prescribed by the
          Supplemental Rules, has been sent or transmitted to the Respondent on May 27, 2015
          by email to:


          contact@privacyprotect.org


          club-vulcan.com@domains-anonymizer.com
          vulcan-cazino.org@domains-anonymizer.com
          vulcan-casino2.com@domains-anonymizer.com
          casino-vulcan.com@domains-anonymizer.com


         d027ec8e83659db56325ff25f4d5573de50c373610d71d1328b5c9306a1bbea9@vulcan
         -cazino.net.whoisproxy.org



[18.]     A copy of this Complaint has been sent or transmitted to the concerned registrars on
          May 27, 2015 by email to contact@privacyprotect.org; support@pananames.com;
          abuse@moniker.com


[19.] This Complaint is submitted to the Center in electronic form, including annexes, in the
        appropriate format.




XII. Payment
(Rules, Paragraph 19; Supplemental Rules Paragraph 10, Annex D)

[20.]     As required by the Rules and Supplemental Rules, payment in the amount of USD
          1500 has been made by bank transfer (Annex 39).




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XIII. Certification
(Rules, Paragraph 3(b)(xiv); Supplemental Rules, Paragraph 14)

[21.]     The Complainant agrees that its claims and remedies concerning the registration of
          the domain name(s), the dispute, or the dispute‘s resolution shall be solely against the
          domain name holder and waives all such claims and remedies against (a) the WIPO
          Arbitration and Mediation Center and Panelists, except in the case of deliberate
          wrongdoing, (b) the concerned registrar(s), (c) the registry administrator, (d) the
          Internet Corporation for Assigned Names and Numbers, as well as their directors,
          officers, employees, and agents.


[22.] The Complainant certifies that the information contained in this Complaint is to the best
        of the Complainant‘s knowledge complete and accurate, that this Complaint is not
        being presented for any improper purpose, such as to harass, and that the assertions in
        this Complaint are warranted under the Rules and under applicable law, as it now exists
        or as it may be extended by a good-faith and reasonable argument.


                                                                         Respectfully submitted,


                                                                                  Sandra Santos




Date: 27 May, 2015




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                                   XIV. List of Annexes
     (Rules, Paragraph 3(b)(xv); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)


Annex 1 - Printout of the Whois search for the disputed domain names VULCAN-
CASINO.CO and CASINO-VULCAN.CO on May 21, 2015 (registered with
PublicDomainRegistry)

Annex 2 - Printout of the Whois search for the disputed domain names CLUB-
VULCAN.COM, VULCAN-CAZINO.ORG, VULCAN-CASINO2.COM, CAZINO-
VULCAN.COM on May 21, 2015 (registered with URL SOLUTIONS INC)

Annex 3 - Printout of the Whois search for the disputed domain name VULCAN-
CAZINO.NET on May 21, 2015 (registered with MONIKER ONLINE SERVICES LLC)

Annex 4 - Registration Agreement between Public Domain Registry and ICANN

Annex 5 – Registration Agreement between URL and ICANN

Annex 6 – Registration Agreement between MONIKER and ICANN

Annex 7 - Copies of Russian TM 342290 / 352291 / 353694

Annex 8 – RU TM 342290 (ROSPATENT)

Annex 9 – RU TM 342291 (ROSPATENT)

Annex 10 – RU TM 353692 (ROSPATENT)

Annex 11 – RU TM 353694 (ROSPATENT)

Annex 12 – IR 989103 (ROMARIN)

Annex 13 – IR 984297 (ROMARIN)

Annex 14 – IR 791038 (ROMARIN)

Annex 15 – IR 992196 (ROMARIN)

Annex 16 – IR 977713 (ROMARIN)

Annex 17 – Photos on VULKAN

Annex 18 – Ritzio presentation

Annex 19 – VULCAN in Germany, Italy, Croatia, Romania, Belarus, Latvia (Ritzio‘s
webpage)

Annex 20 – General information on Ritzio Group (VULCAN) Source: http://cbonds.com

Annex 21 – Article from The Moscow Times on Ritzio activities

Annex 22 - Ritzio Entertainment Group (Bally‘s Casino)



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Annexes 23 and 24 – Ritzio‘s social responsibility (Ritzio‘s webpage)

Annex 25 – Webpage operated with the disputed domain name vulcan-casino.co (in Russian
language)

Annex 26 - Webpage operated with the disputed domain name casino-vulcan.co (in Russian
language)

Annex 27 – Webpage operated with the disputed domain name club-vulcan.com (in Russian
language)

Annex 28 – Webpage operated with the disputed domain name vulcan-cazino.org (in Russian
language)

Annex 29 – Webpage operated with the disputed domain name vulcan-casino2.com (in
Russian language)

Annex 30 – Webpage operated with the disputed domain name vulcan-cazino.net (in Russian
language)

Annex 31 – Webpage operated with the disputed domain name cazino-vulcan.com (in
Russian language)

Annex 32 – Webpage operated with the disputed domain name vulcan-casino.co (translated
into English)

Annex 33 - Webpage operated with the disputed domain name casino-vulcan.co (translated
into English)

Annex 34 – Webpage operated with the disputed domain name club-vulcan.com (translated
into English)

Annex 35 – Webpage operated with the disputed domain name vulcan-cazino.org (translated
into English)

Annex 36 – Webpage operated with the disputed domain name vulcan-casino2.com
(translated into English)

Annex 37 – Webpage operated with the disputed domain name vulcan-cazino.net (translated
into English)

Annex 38 – Webpage operated with the disputed domain name cazino-vulcan.com (translated
into English)

Annex 39 – Payment (transfer to WIPO account)




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            Response Annex
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             COMPLAINT TRANSMITTAL COVERSHEET

Attached is a Complaint that has been filed against you with the World Intellectual
Property Organization (WIPO) Arbitration and Mediation Center (the Center) pursuant
to the Uniform Domain Name Dispute Resolution Policy (the Policy) approved by the
Internet Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999,
the Rules for Uniform Domain Name Dispute Resolution Policy (the Rules) approved
by ICANN on October 30, 2009, and the WIPO Supplemental Rules for Uniform
Domain Name Dispute Resolution Policy (the Supplemental Rules).

The Policy is incorporated by reference into your Registration Agreement with the
Registrar(s) of your domain name(s), in accordance with which you are required to
submit to a mandatory administrative proceeding in the event that a third party (a
Complainant) submits a complaint to a dispute resolution service provider, such as the
Center, concerning a domain name that you have registered. You will find the name
and contact details of the Complainant, as well as the domain name(s) that is/are the
subject of the Complaint in the document that accompanies this Coversheet.

You have no duty to submit a Response to the Complaint until you have been formally
Notified of the Complaint and Commencement of Administrative Proceedings by the
Center. Once the Center has checked the Complaint to determine that it satisfies the
formal requirements of the Policy, the Rules and the Supplemental Rules, it will
forward an official copy of the Complaint, including annexes, to you by e-mail as well
as sending you hardcopy Written Notice by post and/or facsimile, as the case may be.
You will then have 20 calendar days from the date of Commencement within which to
submit a Response to the Complaint in accordance with the Rules and Supplemental
Rules to the Center and the Complainant. You may represent yourself or seek the
assistance of legal counsel to represent you in the administrative proceeding.

   The Policy can be found at http://www.icann.org/en/dndr/udrp/policy.htm

   The Rules can be found at http://www.icann.org/en/dndr/udrp/uniform-rules.htm

   The Supplemental Rules, as well as other information concerning the resolution of
    domain name disputes can be found at
    http://www.wipo.int/amc/en/domains/supplemental/eudrp/

   A model Response can be found at
    http://www.wipo.int/amc/en/domains/respondent/index.html

Alternatively, you may contact the Center to obtain any of the above documents. The
Center can be contacted in Geneva, Switzerland by telephone at +41 22 338 8247, by
fax at +41 22 740 3700 or by e-mail at domain.disputes@wipo.int.

You are kindly requested to contact the Center to provide an alternate e-mail address to
which you would like (a) the Complaint, including Annexes and (b) other
communications in the administrative proceeding to be sent.

A copy of this Complaint has also been sent to the Registrar(s) with which the domain
name(s) that is/are the subject of the Complaint is/are registered.

By submitting this Complaint to the Center the Complainant hereby agrees to abide and
be bound by the provisions of the Policy, Rules and Supplemental Rules.
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Before the:


               WORLD INTELLECTUAL PROPERTY ORGANIZATION
                   ARBITRATION AND MEDIATION CENTER



RITZIO PURCHASE LIMITED
Corporate ID: 144533
Diagorou Street 4, Kermia building         Disputed Domain Name(s):
6th floor, Office 601, P.C.1097,
Nicosia, Cyprus
(Complainant)

-v-


GLOBAL DOMAIN PRIVACY                      [a] http://bestvulkan.net/
SERVICES INC                               [b] http://vulkandeluxe.com/
Salduba Bldg, 3rd floor, 53rd East         [c] http://vulkandelux.com/
Street, Marbella, Panama                   [d] http://moivulcan.com/
                                           [e] http://vulkanplay.com/

________________________________



                                     COMPLAINT
       (Rules, Paragraph 3(b); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)


                                     I. Introduction

[1.]     This Complaint is hereby submitted for decision in accordance with the Uniform
         Domain Name Dispute Resolution Policy (the Policy), approved by the Internet
         Corporation for Assigned Names and Numbers (ICANN) on October 24, 1999,
         the Rules for Uniform Domain Name Dispute Resolution Policy (the Rules),
         approved by ICANN on October 30, 2009, and the WIPO Supplemental Rules
         for Uniform Domain Name Dispute Resolution Policy (the Supplemental
         Rules).




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                                         II. The Parties


                                     A. The Complainant
                               (Rules, Paragraphs 3(b)(ii) and (iii))

[2.]     The Complainant in this administrative proceeding is RITZIO PURCHASE
         LIMITED.


[3.]     The Complainant’s contact details are:


                                     Ritzio Purchase Limited
                    Registered       Diagorou Street 4, Kermia building
                                     6th floor, Office 601, P.C.1097,
                    Address:         Nicosia, Cyprus

[4.]     The Complainant’s authorized representative in this administrative proceeding
         is:
        [a.] Name: MAPA TRADEMARKS SL
        [b.] Address: C/Henao Nº 7, 5ª Planta, Dpto 8; E-48009 Bilbao (Bizkaia); Spain
        [c.] Telephone: +34.944019133
        [d.] Fax: +34.944104765
        [e.] E-Mail: info@mapasl.com


[5.]     The Complainant’s preferred method of communications directed to the
         Complainant in this administrative proceeding is:


           Electronic-only material
        Electronic-only material
        Method:           E-mail
        Address:          info@mapasl.com
        Contact:          Sandra Santos



                                      B. The Respondent
                                    (Rules, Paragraph 3(b)(v))

         [6.]  According to the WHOIS database located at http://www.whois.com, the
         Respondent in this administrative proceeding is


               [a] Name:         Private Whois
                   Organization: GLOBAL DOMAIN PRIVACY SERVICES INC
                   Address:      Salduba Bldg, 3rd floor, 53rd East Street, Marbella
                                 Panama
                   Telephone:    +507.8365260


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               E-mail:        [a] bestvulkan.net@domains-anonymizer.com
                              [b] vulkandeluxe.com@domains-anonymizer.com
                              [c] vulkandelux.com@domains-anonymizer.com
                              [d] moivulcan.com@domains-anonymizer.com
                              [e] vulkanplay.com@domains-anonymizer.com


        [7] According to information provided by registrar to WIPO Arbitration and
        Mediaton Center:

               Name:         Sergey Budusov
               Organization: INFOSTAR MANAGEMENT LTD
               Address:      Suite 13054, 43 Bedford Street
               City:         London
               Zip:          WC2E 9HA
               Country:      UK
               Phone:        +44 207862191
               Email:        ifsdomains@gmail.com



        Copies of the printout of the WHOIS database searches conducted on June 18th,
         2015 are provided as Annex 1.




                      III. The Domain Name(s) and Registrar(s)
                            (Rules, Paragraphs 3(b)(vi), (vii))

[8.]     This dispute concerns the domain names identified below:


        [a] http://bestvulkan.net/

           Updated Date:        Feb 20, 2014
           Creation Date:       Mar 07, 2014
           Expiration Date:     Mar 07, 2017


        [b] http://vulkandeluxe.com/

           Updated Date:        Apr 08, 2015
           Creation Date:       Mar 27, 2013
           Expiration Date:     Mar 27, 2018


        [c] http://vulkandelux.com/

           Updated Date:        Apr 08, 2015
           Creation Date:       Mar 27, 2013
           Expiration Date:     Mar 27, 2018



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         [d] http://moivulcan.com/

            Updated Date:           Feb 19, 2015
            Creation Date:          May 20, 2014
            Expiration Date:        May 20, 2016


         [e] http://vulkanplay.com/

            Updated Date:            Feb 19, 2015
            Creation Date:           Jul 10, 2012
            Expiration Date:         Jul 10, 2016



[9.]      The registrars with which the domain names are registered are:
         http://bestvulkan.net; http://vulkandeluxe.com; http://vulkandelux.com;
         http://moivulcan.com; http://vulkanplay.com

          [a.]   Registrar Name:      URL SOLUTIONS INC.
          [b.]   Registrar’s Address: Ipasa Building, Third Floor, 41st Street, Bella
          Vista,
                                      Panama
          [c.]   Telephone Number: +507.8339556
          [d.]   Fax:                 +1.3022889676
          [e.]   E-Mail Address:      support@pananames.com
          [f.]   Correspondence address: 53-55 Agios Athanasios Street, Michaelangelo
                                      House, 4102 Limassol, Cyprus


                               IV. Language of Proceedings
                                   (Rules, Paragraph 11)

[10.]    Paragraph 11(a) of the Rules provides that, subject to the authority of the Panel,
         the language of the proceedings shall be the same as the language of the
         Registration Agreement unless the Parties have otherwise agreed to proceeding
         in a different language.


          To the best of the Complainant’s knowledge, the language of the Registration
          Agreement is English, a copy of which is provided as Annex 2 for URL
          Solutions inc. to this Complaint. The Complaint has been submitted in English,
          and submits that given the above the language of proceeding should be English.




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                   V. Jurisdictional Basis for the Administrative Proceeding
                                (Rules, Paragraphs 3(a), 3(b)(xv))

[11.]     This dispute is properly within the scope of the Policy and the Administrative
          Panel has jurisdiction to decide the dispute.                The registration agreement,
          pursuant to which the domain names that are the subject of this Complaint are
          registered, incorporates the Policy. A true and correct copy of the domain name
          dispute policy that applies to the domain names in question is provided as
          Annex 2 for URL Solutions INC to this Complaint and can be found at:
              URL Solutions INC. -
          https://www.pananames.com/upload/landing/urlsolutions/legal/DOMAIN_NAM
          E_REGISTRATION_SERVICE_AGREEMENT.pdf

                                VI. Factual and Legal Grounds
                      (Policy, Paragraphs 4(a), (b), (c); Rules, Paragraph 3)

[12.]     This Complaint is based on the following grounds:
This Complaint is based on the Вулкан1, Вулкан (& Design), Vulcan and Volcano
trademarks, among other Вулкан, Vulcan, Vulkan and Volcano composite marks
(hereinafter the ―Vulkan Marks‖) owned by a Complainant in numerous countries
around the world and which Complainant have been continuously using since at least as
early as 1992—long before Respondent’s registration of the subject domain names in
2012-2014. Complainant is the owner of registrations for the Vulkan Marks in
numerous countries around the world, including but not limited to the below
registrations in Russia, which, to Complainant’ thinking are the most relevant in the
case. Not to overload the case, Complainant decided not to attach Vulkan Marks that
are owned by companies which are a part of Ritzio Group, like Bartlett Corporation’
Vulkan Trademarks #s: 216203; 257824; 307722; 307880; 361357 registered in period
2000-2005 and valid until 2022. Copies of trademark records for a representative
sample of the Vulkan Marks are attached hereto as Annex 3.


In addition, we are providing the internet the links corresponding to these TM from the
official database of the Russian Federation (ROSPATENT), also attached as Annexes
4-7
(a) TM – VULKAN (Russian Federation), Reg. number 353692 (link to the original Russian text from
      Rospatent:


1
 The English translation of Вулкан is ―Volcano‖ or ―Vulcan‖. The transliteration of this trademark in
Roman letters is ―Vulkan‖ since Cyrillic has no equivalent of the letter ―C,‖ only ―K,‖ for the ―K‖ sound.



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       http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353692&TypeFile
       =html
(b) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 353694 (link to the original Russian text from
       Rospatent:
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=353694&TypeFile=htm
l
(c) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 342290 (link to the original Russian text from
       Rospatent:
       http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342290&TypeFile
       =html
(d) TM ― ―Вулкан‖ (Russian Federation), Reg. number: 342291 (link to the original Russian text from
       Rospatent:
http://www1.fips.ru/fips_servl/fips_servlet?DB=RUTM&rn=1248&DocNumber=342291&TypeFile=htm
l
Furthermore, Annexes 8-12 consists of some of the Vulkan Marks duly registered by
the Complainant worldwide with basic registrations in Russia but currently independent
due to Article 6.2 on the Protocol (period of 5 years from registration passed), such as:


791038 – EE (ESTONIA) – GE (Georgia) – LT (Lithuania) – TM (Turkmenistan) – UZ
(Uzbekistan) – AM (Armenia) – AZ (Azerbaijan) – BY (Belarus) – KG (Kyrgyzstan) –
    KZ (Kazakhstan) – LV (Latvia) – MD (Republic of Moldova) – TJ (Tajikistan) –UA
(Ukraine);
989103 – EM (OHIM) – BY (Belarus) – HR (Croatia) – KZ (Kazakhstan) – RS (Serbia)
- UA (Ukraine);
992196 – BY (Belarus) – KZ (Kazakhstan) – UA (Ukraine);
977713 – BY (Belarus) – KZ (Kazakhstan) – UA (Ukraine);
984297 – EM (OHIM) – BY (Belarus) – HR (Croatia) – KZ (Kazakhstan) – RS (Serbia)
– UA (Ukraine).


Furthermore, Complainant does not include in Annexes, not to make the size of
complaint huge, other Vulkan marks, which are also registered in Europe. These are
trademarks #s: 3020080171499; 307386619; 307377903; 307579271; 200702888;
Z20080152A; Z20080153A; 461972; 200702970. All these Vulkan marks have been
verified by respective governments, registered, valid and belong to Complainant.


       For more than 20 years, Ritzio has been in the business of providing high-quality
gaming, casino and entertainment products and services, including but not limited to the
operation and management of gaming halls, the design, development, provision and



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maintenance of games of chance, including betting bingo and slot machines, the
provision of interactive real-money games through a computer network, and other
related products and services under the well-known Вулкан and Vulkan brands.
    Today, Ritzio is one of the leading gaming operators with more than 200 branded
gaming clubs and more than 5,800 gaming machines deployed throughout Europe.
Photographs of Вулкан and Vulkan branded gaming halls, and a listing of Ritzio’s
operations, are attached here to as Annexes 13 and 14.
    Moreover, Ritzio’s business operations continue to expand far beyond Russia.
With more than 2,000 employees, operations in a number of countries, including but not
limited to Germany, Romania, Latvia, Belarus, Croatia and Italy, multiple Вулкан
and/or Vulkan branded gaming halls opening each year, Ritzio has developed a global
reputation as a high-quality, technologically advanced, multi-national gaming operator.
A summary of Ritzio’s operations and locations, and a collection of press releases
reflecting Ritzio’s growth, are attached hereto as Annex 15 containing detailed
information on the development of Ritzio’s key brand VULKAN in the following
countries respectively: Germany, Italy, Croatia, Romania, Belarus, Latvia.
      Russia and former CIS countries is where Ritzio began the creation of the Vulkan
brand which has always been and still is - a flagship of the Complainant’ games of
chance business. That is why Respondent-like persons find it extremely profitable to act
on these territories. While Russian legislative changes from time to time, switching the
schematics and business models of all business holders in this field, it requires colossal
efforts to continue work, expand Vulkan brand and modify business models for every
particular region of the World, where Vulkan brand is presented.
      For example, Russian gambling law, particularly – legal act ―On state regulation
of activities for the organization and conduct of gambling and on amending some
legislative acts of the Russian Federation‖
http://pravo.gov.ru/proxy/ips/?docbody=&nd=102111150&rdk=&backlink=1 (Official
governmental resource) dated 29.12.2006 with current edition dated 22.07.2014
regulates all types of games of chance, their positioning, reporting system and all other
aspects of how gaming services can be provided, where can they be provided and what
needs to be done to provide them. At the same time, this legal act imposes a lot of
difficulties, which are extremely difficult to overcome for such persons like
Respondent. Thus, while Complainant makes efforts, invest human and financial
resources to hold positions and weight of the Vulkan brand by creating Licensing
programs, Social networks programs with partners (for example: vk.com/app4836341;
vk.com/vulcan_game; vk.com/vulcan2_game), advertising, expanding the brand



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internationally or providing services from abroad, Respondent chooses the way to
parasitize on the famous Vulkan Brand! Respondent didn’t even bother to receive
authorization from Ritzio to use Vulkan Marks! Moreover, Respondents ignored each
and    all   cease-and-desist   e-mails   regarding   deliberate   Vulkan    trademark
infringement!
      Since at least as early as 1992, Ritzio has expended significant resources to
promote its products and services using the Vulkan Marks through various media
outlets. As a result, Ritzio has developed significant goodwill in the Vulkan Marks and
has grown the Vulkan Marks into one of the most recognized and well-known brands in
Europe, Eastern Europe. In fact, between 2006 and 2010, Ritzio’s operating revenue
was in excess of USD $5.5 billion. Id. Ritzio has expended significant time, money and
resources to build goodwill in the Vulkan Marks, and as a result, the Vulkan Marks
have become famous and are extremely valuable trademarks. Annexes 16 - 18 consist
of excerpts from independent sources that prove Ritzio’s growth and the success of
VULKAN chain of gaming clubs widely spread in several countries.


      Ritzio has also been recognized by the International Gaming Awards for its
commitment to corporate social responsibility providing since 2005 active support to
the Paralympic movement and sportsmen with disabilities. A long-term partnership
between Ritzio and the Russian Paralympic Committee began with the company’s
sponsorship of the Russian national team at the 2006 Winter Paralympic Games in
Turin (see Annexes 19-20).


      As demonstrated above, the Vulkan Marks are famous and enjoy a worldwide
reputation in connection with high quality products and services in the gaming and
entertainment industries.


      Complainant, being a giant group of companies in huge number of Countries,
provides services in gambling for more than twenty years and bears legal, reputational
and financial risks and loss because of Respondent-like persons who expressly
misstate on their web-sites that ―Only real‖, ―official‖ referring to Complainant’ Vulkan
Marks. For example: Complainant owes a number of nearly 120 gaming halls in
Germany where huge reputational and financial damage is dealt because of Respondent.
People playing online believe that Respondent’s fake websites belong to Complainant,
while they are not.




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      Yet, not only is Respondent using the Vulkan Marks without authorization, but in
an effort to illicitly profit off the goodwill and reputation of the Vulkan Marks, it has
copied the look and feel of Ritzio’s gaming clubs, copied the registered ―Вулкан‖ word
mark and lightning bolt logo exactly, created ―copycat‖ websites, and is intentionally
misrepresenting in the descriptions of the web-sites that the disputed domain names
(and the content associated therewith) is directly connected to, and/or affiliated with,
Ritzio’s land-based gaming clubs. Screenshots reflecting these false representations are
attached hereto as Annexes 21-25. Translated pages of the description that is used to
confuse users are attached as well as Annexes 26-32.


A.       The domain name(s) is(are) identical or confusingly similar to a trademark
         or service mark in which the Complainant has rights;
         (Policy, Paragraph 4(a)(i); Rules, Paragraphs 3(b)(viii), (b)(ix)(1))

                                Reg. No./
     Country     Trademark                             Goods/Services                 Registrant
                                Reg. Date
                                                 gaming; recreational
                                                 information; entertainment
                                                 information; club services
                                                 (entertainment or education);
                                                 night clubs; game services
                                                 provided on-line (from a
                                                 computer network); providing
                                                 recreational facilities;
                                                 organisation of competitions
                                                 (entertainment); lotteries;
                                                 holiday camp services
                                                 (entertainment); organisation
  Armenia                                        of shows (impresario services);
 Azerbaijan                                      television entertainment;
   Belarus                                       bookmobile services; providing
   Estonia                                       karaoke services; providing
   Georgia                                       golf facilities; providing
                  Вулкан (&                      amusement arcade services;
 Kyrgyzstan        design)                       providing cinema facilities;
 Kazakhstan                       791038         presentation of live
                                                                                    Ritzio Purchase
  Lithuania                     03.09.2002       performances; theatre                  Limited
   Latvia                                        productions; videotape film
  Moldova                                        production; film production;
 Tajikistan                                      radio entertainment; entertainer
Turkmenistan                                     services;; news reporters
                                                 services; party planning
   Ukraine
                                                 (entertainment); music
 Uzbekistan                                      composition services;
                                                 subtitling; providing of casino
                                                 facilities (gambling); providing
                                                 museum facilities
                                                 (presentation, exhibitions);
                                                 educational services; orchestra
                                                 services; translation;
                                                 scriptwriting services;
                                                 recording studio services;
                                                 digital imaging services;
                                                 circuses; production of shows.




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                      Reg. No./
Country   Trademark                          Goods/Services               Registrant
                      Reg. Date
                                       Automatic vending machines
                                       and mechanisms for coin-
                                       operated apparatus; data
                                       processing equipment and
                                       computers; ticket machines;
                                       automatic equipment for
                                       monitoring and control of
                                       electronic machinery;
                                       computer and computer game
                                       programs; computer programs
                                       [downloadable software];
                                       betting; gaming devices with
                        353692         mandatory use of television      Ritzio Purchase
Russia     VULKAN                      sets; devices for electronic
                      18.11.2005                                            Limited
                                       games; providing access and
                                       telecommunications
                                       connections to the Internet;
                                       casino games; information on
                                       recreation, entertainment, and
                                       clubs; providing interactive
                                       games through a computer
                                       network; provision of gaming
                                       halls; organizing lotteries;
                                       casino services; design of
                                       computer systems; and the
                                       arrangement of websites.




          Вулкан (&
           design)                     Entertainment; providing an
                                       interactive game [through a      Ritzio Purchase
Russia                                 computer network], providing
                        342290                                              Limited
                                       interactive, organization of
                      28.01.2008       lotteries, organization of
                                       entertainment recreation,
                                       provision of gaming halls,
                                       rental of slot machines,
                                       [Entertainment] casino
                                       services.




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                         Reg. No./
 Country     Trademark                          Goods/Services             Registrant
                         Reg. Date
                                          Automatic vending machines
                                          and mechanisms for coin-
                                          operated apparatus; data
                                          processing equipment and
                                          computers; ticket machines;
                                          automatic equipment for
                                          monitoring and control of
                                          electronic machinery;
                                          computer and computer game
                                          programs; computer programs
                                          [downloadable software];
                                          betting; gaming devices with
                                          mandatory use of television
                                          sets; devices for electronic
  Belarus                                 games; providing access and
                                          telecommunications
 European
                                          connections to the Internet;
Community                                 casino games; information on      Ritzio
                           989103
  Croatia    VOLCANO                      recreation, entertainment, and   Purchase
                         11.08.2008
Kazakhstan                                clubs; providing interactive     Limited
  Serbia                                  games through a computer
 Ukraine                                  network; provision of gaming
                                          halls; organizing lotteries;
                                          casino services; design of
                                          computer systems; and the
                                          arrangement of websites.




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                       Reg. No./
Country   Trademark                            Goods/Services                Registrant
                       Reg. Date
                                            Entertainment; sporting
                                             and cultural activities,
                                           including rental of tennis
                                          courts, billiard halls, ticket
                                          booking for shows, video,
                                          disco, casino games, book
                                          publishing, information on
                                          recreation, information on
                                              entertainment, clubs,
                                            cultural and educational
                                            and entertaining, Clubs
                                            cafe night, providing an
                                         interactive game [through a
                                               computer network],
                                              providing interactive
                                         electronic publications [not
                                           downloadable], practical
                                           training [demonstration],
                                         organization of exhibitions
                                                 with cultural and
                                              educational purpose,
                                          recreation, organization of
                                              workshops [training]
          Вулкан (&                               organization of
           Design)                        competitions education or
                                         entertainment, organization
                         342291                                            Ritzio Purchase
Russia                                   of lotteries, organization of
                       28.01.2008                                              Limited
                                           entertainment recreation,
                                           organizing sports events,
                                                amusement parks,
                                                 providing sports
                                            equipment, provision of
                                             gaming halls, cinemas
                                            services, programming,
                                            sports, movies and film
                                         production, rental of sound
                                             recordings and audio ,
                                          rental of audio equipment
                                          and video recorders, rental
                                            of slot machines, rental
                                           movies, equipment rental
                                            stadiums, using desktop
                                              publishing electronic
                                             publishing, interactive
                                           publication of books and
                                          periodicals, publication of
                                                 texts [other than
                                           advertising], entertaining
                                              guests, programming
                                           meetings [Entertainment]
                                          casino services, translation
                                             services, photography,
                                               shows, music halls.




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                      Reg. No./
Country   Trademark                           Goods/Services             Registrant
                      Reg. Date
                                        Automatic vending
                                        machines and mechanisms
                                        for coin-operated apparatus;
                                        data processing equipment
                                        and computers; ticket
                                        machines; automatic
                                        equipment for monitoring
                                        and control of electronic
                                        machinery; computer and
                                        computer game programs;
                                        computer programs
                                        [downloadable software];
                                        betting; gaming devices
                                        with mandatory use of
                                        television sets; devices for
                                        electronic games; providing
                                        access and
                                        telecommunications
                                        connections to the Internet;
                                        casino games; information
                                        on recreation,
                                        entertainment, and clubs;
                                        providing interactive games
          Вулкан (&                     through a computer
           Design)                      network; provision of
                        353694                                         Ritzio Purchase
Russia                                  gaming halls; organizing
                      25.06.2008                                           Limited
                                        lotteries; casino services;
                                        design of computer
                                        systems; and the
                                        arrangement of websites.




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                         Reg. No./
 Country     Trademark                            Goods/Services              Registrant
                         Reg. Date
                                            automatic vending
                                            machines and mechanisms
                                            for coin-operated apparatus;
                                            data processing equipment
                                            and computers; ticket
                                            dispensers; juke boxes
                                            (musical), automatic
                                            distribution machines;
                                            computer operation
                                            programs, recorded;
                                            computer game programs,
                                            computer programs
                                            (downloadable software),
                                            electronic publications
                                            (downloadable), integrated
                                            circuit cards (smart cards),
                                            totalizators, apparatus for
                                            games adapted for use with
                                            television receivers only,
                                            amusement apparatus
                                            adapted for use with
                                            television receivers only,
                                            computer peripheral
                                            devices, anti-theft warning
                                            apparatus, chips (integrated
             Вулкан (&
                                            circuits).
 Belarus      Design)     992196                                            Ritzio Purchase
                                            Entertainment; gaming,
Kazakhstan               October 17,                                            Limited
                                            recreation information,
 Ukraine                    2008
                                            entertainment information,
                                            club services (entertainment
                                            or education), night clubs,
                                            game services provided on-
                                            line (from a computer
                                            network), providing
                                            recreation facilities,
                                            arranging and conducting
                                            workshops (training),
                                            organization of
                                            competitions (education or
                                            entertainment), operating
                                            lotteries, holiday camp
                                            services (entertainment),
                                            organization of sports
                                            competitions, providing
                                            amusement arcade services,
                                            rental of slot machines,
                                            rental of cine-films, rental
                                            of stadium facilities,
                                            electronic desktop
                                            publishing, entertainer
                                            services, party planning
                                            (entertainment), providing
                                            casino facilities (gambling),
                                            production of shows.


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                         Reg. No./
 Country     Trademark                           Goods/Services              Registrant
                         Reg. Date
                                           automatic vending
                                           machines and mechanisms
                                           for coin-operated apparatus;
                                           data processing equipment
                                           and computers; ticket
                                           dispensers; juke boxes
                                           (musical), automatic
                                           distribution machines;
                                           computer operation
                                           programs, recorded;
                                           computer game programs,
                                           computer programs
                                           (downloadable software),
                                           electronic publications
                                           (downloadable), integrated
                                           circuit cards (smart cards),
                                           totalizators, apparatus for
                                           games adapted for use with
                                           television receivers only,
                                           amusement apparatus
                                           adapted for use with
                                           television receivers only,
                                           computer peripheral
                                           devices, anti-theft warning
                                           apparatus, chips (integrated
             Вулкан (&
                                           circuits).
 Belarus      Design)                                                      Ritzio Purchase
                           977713          Entertainment; gaming,
Kazakhstan                                                                     Limited
                         12.08.2008        recreation information,
 Ukraine
                                           entertainment information,
                                           club services (entertainment
                                           or education), night clubs,
                                           game services provided on-
                                           line (from a computer
                                           network), providing
                                           recreation facilities,
                                           arranging and conducting
                                           workshops (training),
                                           organization of
                                           competitions (education or
                                           entertainment), operating
                                           lotteries, holiday camp
                                           services (entertainment),
                                           organization of sports
                                           competitions, providing
                                           amusement arcade services,
                                           rental of slot machines,
                                           rental of cine-films, rental
                                           of stadium facilities,
                                           electronic desktop
                                           publishing, entertainer
                                           services, party planning
                                           (entertainment), providing
                                           casino facilities (gambling),
                                           production


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                               Reg. No./
  Country      Trademark                               Goods/Services           Registrant
                               Reg. Date
                                                 Automatic vending
                                                 machines and mechanisms
                                                 for coin-operated apparatus;
                                                 data processing equipment
                                                 and computers; ticket
                                                 machines; automatic
                                                 equipment for monitoring
                                                 and control of electronic
                                                 machinery; computer and
                                                 computer game programs;
                                                 computer programs
                                                 [downloadable software];
  Belarus
                                                 betting; gaming devices
 European
                                                 with mandatory use of
Community                                                                        Ritzio
                                 984297          television sets; devices for
  Croatia      VULKAN                                                           Purchase
                               11.08.2008        electronic games; providing
Kazakhstan                                                                      Limited
                                                 access and
  Serbia
                                                 telecommunications
  Ukraine
                                                 connections to the Internet;
                                                 casino games; information
                                                 on recreation,
                                                 entertainment, and clubs;
                                                 providing interactive games
                                                 through a computer
                                                 network; provision of
                                                 gaming halls; organizing
                                                 lotteries; casino services;
                                                 design of computer
                                                 systems; and the
                                                 arrangement of websites.


    Copies of the registration certificates and the corresponding translation into English
are attached in Annexes 3-12


    Complainant here expressly states that all the mentioned in this complaint
Vulkan Marks are valid and there are no requests for cancellation or any
opposition approved against any of the Vulcan marks whatsoever. That information
is proven by each and all Governmental and\or International Registers and extracts
provided therefrom.


    As stated above, the disputed domain names were created in 2012-2014 years and
currently are used to offer exactly the same services (gambling and casino services) that
the Complainant provides under the Vulkan trademarks.




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    The disputed domain names are identical to the English translation of the registered
Vulkan mark and absolutely identical to ―VULKAN‖ trademarks (IR984297 and
IR353692), and differ by only one letter when compared to the Cyrillic literation in case
of moivulcan.com. This minor difference has no impact aurally. As such, the mark and
the domain names are virtually identical, which render them confusingly similar. See
e.g., Compagnie Generale Des Etablissements Michelin - Michelin & Cie. v. Graeme
Foster, D2004-0279 (WIPO Apr. 9, 2010)
           ―noting that confusing similarity can exist if the trademark and the
           disputed domain name contain word elements of different languages
           and a considerable part of the public understands the meaning of the
           translation‖;


     Further, a user encountering Respondent’s domain names is likely to be confused
into believing that any websites associated with the domain names are owned by,
affiliated with, or sponsored by Complainant.


Here, the disputed domain names incorporate and completely corresponds the
Complainant’s Vulkan marks (including the English translation thereof), adding only
the generic terms ―best‖, ―deluxe‖, ―delux‖, ―play‖ and ―moi‖ (that is a transliteration
of Russian word ―мой‖ and is translated as ―my‖) that are considered irrelevant under
Policy and do not affect the confusing similarity of domain names and trademarks. See
Dr. Ing. h.c. F. Porsche AG v Vasiliy Terkin, WIPO Case No. D2003-0888:
           ―In numerous cases, it has been held that a domain name that wholly
           incorporates a Complainant’s registered mark may be sufficient to
           establish confusing similarity for purposes of the UDRP.‖


See also Hoffmann-La Roche Inc. v. Wei-Chun Hsia, WIPO Case No.D2008-0923:
           ―The mere addition of words ―your‖ and ―shop‖ before and after the
           Complainant's mark does little to avoid the conclusion that the
           contested domain name is confusingly similar to the Complainant's
           TAMIFLU mark.‖
           and
           ―In the circumstances of this case wrapping a well-known mark with
           merely descriptive or generic words is a doomed recipe for escaping a
           conclusion that the domain name is confusingly similar to the well-
           known mark.‖



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    Moreover, word ―play‖ even creates extra confusion effect, due to the main and
well known reputation of Vulkan marks - the operation and management of casinos and
gaming halls, the design, development, provision and maintenance of games of chance,
including betting bingo and slot machines, and the provision of interactive real-money
games through a computer network. As a result, the disputed domain names will
mislead consumers into believing that the domain names are either owned by or
associated with Complainant. Scholastic Inc. v. 366 Publications, D2000-1627 (WIPO
Feb. 21, 2001)


            ―The addition of a generic term is not a distinguishing feature. . . . In
            fact, it may increase the likelihood of confusion if it is an apt term for
            the Complainant’s business‖


    Additionally, because: (1) Respondent’s sites copy the look-and-feel of Ritzio’s
gaming clubs; (2) provide online gaming services that are competitive to those offered
in connection with the Vulkan Marks; and (3) the domain names are expected to attract
consumers interested in Ritzio’s products and services, confusion is likely.
    Furthermore it is important to pay attention to the fact that the disputed domain
names copy completely Vulkan Marks, including design and wording that are
registered and owned by the Complainant. As pictured on photos that are included in
Annex 13, Vulkan marks are the ―face‖ of Complainant’s gaming halls. It is shown
below, that Respondent uses the exact copy of Vulkan marks on all of the disputed
domain names to maximize the effect of confusion and misrepresentation.
    See screenshots of the main pages of the disputed domains below (It should be
considered that reproduction of Vulkan Marks can be found on almost all pages of the
disputed domains):
                 http://bestvulkan.net/ (the same at http://moivulcan.com/)




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http://vulkandeluxe.com/ (same at http://vulkanplay.com/ and http://vulkandelux.com/)




B.     The Respondent has no rights or legitimate interests in respect of the
       domain name(s);
       (Policy, Paragraph 4(a)(ii); Rules, Paragraph 3(b)(ix)(2))



     Following the decision in Charles Jourdan Holding AG v. AAIM, D2000-0403
(WIPO June 27, 2000), Respondent has no legitimate rights or interests in the domain
name if (i) it is not a licensee of Complainant, nor has it received any permission or
consent to use Complainant’s trademark; (ii) Complainant has prior rights in that
trademark which precedes Respondent’s registration of its domain name; and (iii)
Respondent is not commonly known by the trademark.
     In this case, the Respondent is not a licensee of Complainant, nor has the
Complainant authorized or consented to Respondent’s use of any of the Vulkan Marks.
The complainant has provided extensive evidence of its rights to the registered Vulkan
Marks, use of which commenced about 20 years before the creation and registration of
the disputed domain names in 2012-2015. In fact, it is Complainant’s position, as
supported by the evidence of record, that Respondent simply acquired the domain name
registrations in hopes of intentionally attracting, for commercial gain, Internet users to
Respondent’s website by creating a likelihood of confusion.
     As noted above, the Complainant is the owner of numerous active trademark
registrations for Вулкан, Вулкан (& Design), Vulkan, and Vulcan trademarks, among
other Вулкан, Vulkan, and Volcano composite marks around the world. Aside from the


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rights derived from its registrations, Ritzio has also acquired a substantial reputation
under common law by virtue of its extensive and significant advertising of the Vulkan
Marks, and its substantially exclusive and continuous use of the Vulkan Marks since at
least as early as 1992.
      Complainant has its authorized licensees, partners, affiliates, etc. who work
legally with Complainant’ Vulkan Makrs, and that is a part of our business, of course.
Respondents, on the other hand, are neither and never been authorized to use
Vulcan marks. Ever! And, as stated above, ignored all cease-and-desist
communications regarding Vulkan trademarks infringement, submitted to them!


    Paragraph 4(c) of the Policy provides that a respondent may demonstrate rights or
legitimate interests in a domain name by establishing that: (1) prior to the dispute, it
used, or made demonstrable preparations to use a domain name in connection with a
bona fide offering of goods or services; (2) it has been commonly known by the domain
names, even if it has not acquired any trademark or service mark rights; or (3) it is
making a legitimate noncommercial or fair use of the domain name, without intent for
commercial gain to misleadingly divert consumers or to tarnish the trademark or service
mark at issue. Respondent cannot satisfy any of these factors.
      In this case, the disputed domain names bear no relationship to any legitimate
business of Respondent nor has Respondent shown any demonstrable preparations
to use the domain names in connection with any bona fide offering of goods or
services.   In fact, to the best of Complainant’s knowledge, Respondent has not
developed any legitimate business relating to or incorporating the Vulkan Marks. See
e.g., E. J. McKernan Co. v. Texas International Property Associates, D2007-1499
(WIPO Dec. 17, 2007) (citing Disney Enters., Inc. v. Dot Stop, FA 145227 (NAF March
17, 2003)
            ―finding that Respondent’s diversionary use of Complainant’s mark to
            attract Internet users to its own website was not a bona fide offering of
            goods or services‖.


    Nor has Respondent ever been commonly known by the disputed domain names.
Rather, as Annex 1 establish, Respondent has purposely hidden itself from the
consuming public by using the privacy services to register the disputed domain names.
Furthermore, Respondent uses as many ways as possible to assure users, that the
disputed domain names belong to Complainant. This issue is described in details below
in Section C.



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    Furthermore, the commercial use to which the disputed domain name has been
put, because it trades on the Complainants fame, is not bona fide, and because it is
commercial is not a fair or non-commercial use. See Consitex S.A., Lanificio
Ermenegildo Zegna & Figli S.p.A., Ermenegildo Zegna Corporation v. LaPorte
Holdings, Inc., D2005-0030 (WIPO Feb. 25, 2005) (citing Bank of Am. Corp. v. Nw.
Free Cmty. Access, FA 180704 (NAF Sept. 30, 2003)
            ―Respondent’s demonstrated intent to divert Internet users seeking
           Complainants’ website to a website of Respondent and for
           Respondent’s benefit is not a bona fide offering of goods or services‖
           under Policy 4(c)(i) and it is not a legitimate noncommercial or fair
           use under Policy 4(c)(iii);
     See also America Online, Inc. v. Xianfeng Fu, D2000-1374 (WIPO Dec. 11, 2000)
           ―It would be unconscionable to find a bona fide offering of services in
           a respondent’s operation of its website using a domain name which is
           confusingly similar to the complainant’s mark and for same business‖.
The web-sites located on the disputed domain names are an operating casinos! They
have casino games, payment solutions attached and all other attributes of casino. That is
clearly not a fair or non-commercial use.


     Eventually, we would like to quote a recent Decision issued by the Center in the
     case Paddy Power PLC v Oded Keinan, Winning Partner Traffic Label Limited,
     D2014-1192 (WIPO Sep. 09, 2014)
           ―First, the Complainant never authorized the Respondent to utilize any of
           the PADDY POWER Marks nor does the Complainant apparently have any
           relationship or association whatsoever with the Respondent. Furthermore,
           given the exclusive trademark rights that reside in the Complainant, the
           Respondent could not legitimately acquire any public association between
           itself and the mark PADDY POWER or even any mark similar thereto such
           as a mark containing PADDY with a generic gambling-related term(s)
           appended thereto, at least for the goods and services provided by the
           Complainant under its marks.
           The Respondent once used the disputed domain name <paddybingo.com>
           to address a guide/review site with links to various bingo websites but now
           uses it as an address of a ―pay to play‖ bingo site. The Respondent uses the
           disputed domain name <paddyscasino.com> as an address of an online



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            gambling site. The Respondent’s evident purpose behind choosing
            <paddybingo.com> and <paddyscasino.com> and continuing to use those
            names is to exploit the ensuing source confusion of Internet users in order to
            divert traffic away from the Complainant’s competing gambling sites to the
            Respondent’s sites instead and hence commercially benefit the Respondent
            to the detriment of the Complainant. Neither of these uses constitutes
            a bona fide offering of goods or services consistent with paragraph 4(c)(i) of
            the Policy, nor a legitimate noncommercial or fair use under paragraph
            4(c)(iii) of the Policy‖.




C.    The domain name(s) was/were registered and is/are being used in bad faith.
      (Policy, paragraphs 4(a)(iii), 4(b); Rules, paragraph 3(b)(ix)(3))

     Given the reputation and widespread use of the Vulkan Marks that is described
above in details, any use by the Respondent of the domain name in dispute would
constitute an infringement of the Complainant’s trademark rights.

“For the purposes of Paragraph 4(a)(iii), the following circumstances, in particular but
without limitation, if found by the Panel to be present, shall be evidence of the
registration and use of a domain name in bad faith:

          (iv) by using the domain name, you have intentionally attempted to attract, for
          commercial gain, Internet users to your web site or other on-line location, by
          creating a likelihood of confusion with the complainant's mark as to the
          source, sponsorship, affiliation, or endorsement of your web site or location
          or of a product or service on your web site or location.”

     All the disputed domain names are operating as full-functional online-casinos. All
the web-sites are almost identical and include a ―Gaming Hall‖ with a set of games, a
―Cashier‖, a ―Jackpot‖ page with board of winners with amount of prize shown,
―Bonuses‖, ―Lotteries‖ pages, all the allowed Payment methods shown at the bottom of
the pages and all other classic attributes of casino. See attached as Annexes 28-32 the
translated with Google Translate pages of disputed domain names demonstrating that
all of them are created for obvious commercial gain (All the sites are almost identical
and have all these elements). The Respondent has acted in bad faith by using domain
name that incorporates the Vulkan mark to intentionally attract, for commercial gain,
Internet users to Respondent’s website by creating a likelihood of confusion. This



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fraudulent activity in creating ‖copycat‖ websites and directly attempting to deceive
consumers is clearly bad faith. As noted above, the Vulkan Marks are well-known and
have a global reputation. To maximize the effect of confusion Respondent uses the
Vulkan trademark on all the pages of the disputed domain names as shown below (this
navigation panel is shown in the top of each page):




    The Respondent has obviously attempted to capitalize prestigious reputation by
purchasing the domain name in dispute which has nothing to do with Respondent,
concealing its identity, and trading off the goodwill that Ritzio has established over the
past 20 years. In fact, as noted above, Respondent has solely used the disputed domains
names which completely correspond with the Vulkan mark to attract consumers from
Complainants authorized partners and to profit from competitive online gaming and
casino services conduct that WIPO has routinely ruled constitutes bad faith. See e.g.,
The Knot, Inc. v. Alex Luongo, D2006-0296 (WIPO Apr. 15, 2006)
      ―When typosquatting is done by a competitor or for competitive services,
      the evidence is conclusive. A close misspelling of a competitor’s mark
      betrays both knowledge of the mark and an intentional attempt to use that
      mark to divert Internet users to competitors for profit, taking advantage of
      whatever goodwill attaches to the mark and bringing the circumstances
      within paragraph 4(b)(iii) and 4(b)(iv) of the Policy.‖


    Furthermore, Respondent is not only very well aware of Complainants’ trademarks,
but also demonstrates that disputed domains are associated with Complainant in text
descriptions on the pages of the sites. For example, right on the main page at
http://vulkandeluxe.com/ where Respondent describes its services, users see not only
trademark but also the following texts that clearly refer to Complaints history (quotes
are from translated by Google Chrome web-pages of disputed domain names. See
Annex 26 where these translated version is presented in full):




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―Excitement, prestige, honesty: more than 20 years Slots Volcano combine these
three concepts. Visiting the house's residents have already visited Russia, Ukraine,
Kazakhstan, as well as foreign countries.‖


    Respondent also uses the words ―original‖ and ―Only real‖ to emphasize its
connection to Ritzio – the only and genuine owner of Vulkan marks (these words can be
found at http://bestvulkan.net/safety; http://vulkandeluxe.com/safety;
http://vulkandelux.com/safety; http://moivulcan.com/safety;
http://vulkanplay.com/safety; See Annex 27 with translated by Google translate version
of these pages):
―Game Club volcano gives its players the best opportunity for a perfect pastime in
the online casino. Being original and only real club volcano we guarantee the
integrity of the game and the maximum safety of your data.‖


Web-sites at domains in dispute contain casino games, payment solutions attached
and all that on the domain-names that incorporate Vulcan marks and descriptions
that refer to Complainant’ history on their pages and, to finalize the picture,
registered by Complainant trademarks all over the pages! Is that even possible to
create a bigger confusion for visitors?!


    Complainant also draws attention of the Panel to the fact that Respondent has
another notice on the same page (Annex 27) (also translated by Google translate):


―If you have already faced the problem of blocking of our website by your ISP,
for an even more comfortable use of online services Club Volcano, we
recommend you install the plugin SmartPlay.
After installing the plugin SmartPlay, when entering the website address into the
address bar when you go to the site via the link or when you click on the icon
plugin SmartPlay, You will be automatically redirected to the nearest available
mirror site Volcano. This will give you unlimited access to our games with our
own site with a different domain.‖


    The fact that Respondent has created a by-pass instrument to overcome Internet
Service Provider’s block and as stated in this sign – that is a common and well known
problem, is another argument to prove that Respondent acts in bad faith.




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    Complainant also draws attention of the Panel to the fact, that Respondent conceals
its identity not only using the Privacy services but also by not including any contact
information on the pages of the disputed domain names, except for e-mail and Russian
phone number for player-support and phone number +44 208 1235605 (the same at all
disputed domain names) which seems to be non-existent (Complainant was rejected all
the times when tried to call). No company name, no address whatsoever on the
―Contacts‖ page or even on the pages with Rules which user has to accept when passing
the registration process.
    See Telstra Corporation Limited v. Nuclear Marshmallows, D2000-0003 (WIPO
Feb. 18, 2000)
      ―noting that a respondent’s concealment of its true identity as domain name
      holder strongly indicates a bad faith intention‖.


Also see The American Automobile Association, Inc. v. aaaaautoinsurance.com
Privacy--Protect.org, aaa-netaccess.com Privacy--Protect.org, aaanetacceess.com
Privacy--Protect.org, Isaac Goldstein, D2011-2069 (WIPO Feb. 8, 2012)
      ―Further evidence of bad faith use can be inferred from the choice to register
      the        Disputed     Domain        Names         <aaaaautoinsurance.com>,
      <aaanetacceess.com>, and <aaa-netaccess.com> using a privacy service.
      Whereas the Panel accepts that use of a privacy or proxy registration service
      is not in and of itself an indication of bad faith, it notes that the manner in
      which such service is used can in certain circumstances constitute a factor
      indicating bad faith, for example use of a privacy service in combination
      with provision of incomplete contact information or continued concealment
      of the ―true‖ or ―underlying‖ registrant (see paragraph 3.9 of the WIPO
      Overview 2.0 and Fifth Third Bancorp v. Secure WhoIs Information
      Service, WIPO Case No. D2006-0696). Given that certain registrant contact
      information provided, per the relevant WhoIs records, is inaccurate (for
      example the telephone number provided for each of the three Disputed
      Domain Names is for a number located in Brazil rather than Shanghai,
      China, which is the location of the stated address) and given the elaborate
      attempts to conceal what the Panel considers to be at least an association
      between the Respondent Privacy--Protect.org, the registrar, and the alleged
      new registrant of the three Disputed Domain Names, Milan Kovac, with the
      Respondent Isaac Goldstein (as discussed under Proper Respondents above),
      the Panel considers that an inference of bad faith use on the basis of the



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      Respondents' use of a privacy registration service to be appropriate in the
      present case‖.


Eventually, we would like to quote a recent decision of the Center in case No
D2014-0787:
      ―The examples of bad faith registration and use set forth in paragraph 4(b) of the
      Policy are not meant to be exhaustive of all circumstances from which such bad
      faith    may     be     found.     See Telstra      Corporation   Limited    v.   Nuclear
      Marshmallows, WIPO Case No. D2000-0003. The overriding objective of the
      Policy is to curb the abusive registration of domain names in circumstances where
      the     registrant    seeks   to   profit    from     and   exploit   the   trademark   of
      another. Match.com, LP v. Bill Zag and NWLAWS.ORG, WIPO Case No. D2004-
      0230.
      (…) The Panel concludes that the Respondent was aware of the Complainant and
      the Complainant’s marks when registering the disputed domain names. In the
      absence of any reply by the Respondent, the Panel considers that the
      Respondent’s primary motive in relation to the registration and use of the
      disputed domain names was to capitalize on, or otherwise take advantage of, the
      Complainant’s trademark rights through the creation of Internet user confusion.
      The record reflects that the Respondent has registered and is using the disputed
      domain names in bad faith to intentionally attract for commercial gain Internet
      users to the Respondent’s websites, by creating a likelihood of confusion with the
      Complainant’s marks as to source, sponsorship or affiliation. See Edmunds.com,
      Inc. v. Ult. Search Inc.,WIPO Case No. D2001-1319‖.


    Thus, the disputed domain names are confusingly similar to Complainant’s
registered Vulkan Mark and were registered without any Complainant’s consent or any
authorization whatsoever, the Respondent has no legitimate interests in the domain
name and is not making any legitimate non-commercial or fair use of the domain
name, and the domain name are registered in bad faith as evidenced by the
Respondent’s obvious numerous Vulkan Marks infringement for a commercial gain
(casino) by creating a 100% likelihood of confusion via gross, deliberate and
malicious misrepresentations while hiding own identity, providing anti-ISP block
plug-ins.




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                                  VII. Remedies Requested
                                  (Rules, Paragraph 3(b)(x))

[13.]     In accordance with Paragraph 4(i) of the Policy, for the reasons described in
          Section VI. above, the Complainant requests the Administrative Panel appointed
          in this administrative proceeding that the disputed domain names be transferred
          to the Complainant.
                               VIII. Administrative Panel
              (Rules, Paragraph 3(b)(iv); Supplemental Rules, Paragraph 8(a))

[14.]     The Complainant elects to have the dispute decided by a single-member
          Administrative Panel.



                                   IX. Mutual Jurisdiction
                                  (Rules, Paragraph 3(b)(xiii))

[15.]     In accordance with Paragraph 3(b)(xiii) of the Rules, the Complainant will submit,
          with respect to any challenges that may be made by the Respondent to a decision by
          the Administrative Panel to transfer or cancel the domain names that are the subject
          of this Complaint, to the jurisdiction of the courts at the location of the domain
          name holder’s address, as shown for the registration of the domain names in the
          concerned registrar’s WhoIs database at the time of the submission of the
          Complaint to the Center.

                                X. Other Legal Proceedings
                                 (Rules, Paragraph 3(b)(xi))

[16.]     There is only one case that has been already reviewed by WIPO under UDRP
         Process where all the circumstances were the same as in this proceeding. The
         only difference was – different web-site design. All other circumstances were
         absolutely the same:
         Ritzio Purchase Limited v. Whoisguard Protected, Whoisguard, Inc / Zhoselin-
         Patrick Mandzela, Case No. D2015-0295. Panel of this case stated the
         following:
         “The Complainant has provided evidence of the scope of its activities
          internationally. The disputed domain name is confusingly similar to the
          VOLCANO trademark and was registered without the consent of the
          Complainant, and the Respondent has failed to show any rights or legitimate
          interests in it. The VOLCANO trademark of the Complainant was registered


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      and used long before the registration of the disputed domain name, and the
      website at the disputed domain name was linked to a website that copies the
      Complainant's VOLCANO trademarks and the design of the Complainant's
      website, and offers services that compete with those of the Complainant, while
      misrepresenting that this website is somehow related to the Complainant. In
      these circumstances, the Panel is satisfied that the disputed domain name was
      registered with knowledge of, and in view of the popularity of, the Complainant
      and its VOLCANO trademark and the goodwill attached to it. Therefore, the
      Panel accepts that the disputed domain name was registered in bad faith.


      The disputed domain name is linked to a website that offers online gaming
      services which are not authorized by the Complainant. The Respondent's
      website copies the look and feel of the Complainant's gaming clubs, copies
      exactly the ВУЛКАН ("VULKAN" in Latin transliteration) trademark with a
      lightning bolt logo, and on top of this does not feature a disclaimer for the lack
      of relation with or endorsement by the Complainant. The Panel does not regard
      such conduct as being made in good faith. Rather, it appears that the
      Respondent, by using the disputed domain name, attempts to attract to its own
      website for commercial gain the consumers that are looking for the online
      gaming services offered by the Complainant by creating a likelihood of
      confusion with the Complainant's VOLCANO trademark as to the source or
      affiliation of the Respondent's website.”


[16.1] There were also 2 previous WIPO cases witch concerned Vulkan\Volcano
      trademarks, where circumstances were different from the above case and from
      the current proceeding:
      EvoPlay LLC v. Mr. Timur Ziganshin / Moniker Privacy Services / Timur,
      WIPO Case No.D2015-0222 and EvoPlay LLP v. Mardiros Haladjian / GGS
      Ltd., WIPO Case No. D2015-0252
      First of all these cases have absolutely different circumstances comparing to
      current one, due to it has been held by our licensee, which is not the owner of
      Vulkan marks.
      Second, and what is most important here, is that Respondent drew the
      Complainant with made-up stories and tons of unbelievably distorted
      information into unnecessary and unreasonable discussion which overloaded
      the Panelists. We have reviewed these cases and saw that Respondent used a



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          set of tricks to mislead Panelists and distract them from the essence of the
          complaint by tons of untrue and unnecessary information!


         Complainant strongly believes that Respondent here shall use the same set of
          tricks to distract Panelist with enormous volume of information, which shall
          either be not concerning the essence of the complaint, or be pointed to overload
          the Panel or in any other way will be irrelevant or, what has been seen in the
          former response – false information, unbelievable information distortion or will
          provide never-existed facts. Given the all above – it’s their way to win some
          more time to parasitize on our history, our hard work and created by
          Complainant, year by year and step-by-step outstanding World-known
          reputation and value of Vulcan brand.


         That is why we – creator, holder and owner of the Vulcan trademarks initiated
         this proceeding to restore justice under UDRP process as it is designed to do
         so. There are no third parties in this proceeding and it only concerns unfaithful
         and unauthorized Respondent vs the owner of the Vulcan Marks - Complainant.



                                   XI. Communications
        (Rules, Paragraphs 2(b), 3(b)(xii); Supplemental Rules, Paragraphs 3, 4, 12)

[17.]     A copy of this Complaint, together with the cover sheet as prescribed by the
          Supplemental Rules, has been sent or transmitted to the Respondent on July 13,
          2015 by email to:
                 bestvulkan.net@domains-anonymizer.com
                 vulkandeluxe.com@domains-anonymizer.com
                 vulkandelux.com@domains-anonymizer.com
                 moivulcan.com@domains-anonymizer.com
                 vulkanplay.com@domains-anonymizer.com
                 ifsdomains@gmail.com


[18.]     A copy of this Complaint has been sent or transmitted to the concerned registrar
          on July 13, 2015 by email to support@pananames.com


[19.] This Complaint is submitted to the Center in electronic form, including annexes,
        in the appropriate format.




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                                     XII. Payment
            (Rules, Paragraph 19; Supplemental Rules Paragraph 10, Annex D)

[20.]     As required by the Rules and Supplemental Rules, payment in the amount of
          USD 1500 has been made by transfer (Annex 33).




                                    XIII. Certification
              (Rules, Paragraph 3(b)(xiv); Supplemental Rules, Paragraph 14)

[21.]     The Complainant agrees that its claims and remedies concerning the registration
          of the domain name(s), the dispute, or the dispute’s resolution shall be solely
          against the domain name holder and waives all such claims and remedies against
          (a) the WIPO Arbitration and Mediation Center and Panelists, except in the case
          of deliberate wrongdoing, (b) the concerned registrar(s), (c) the registry
          administrator, (d) the Internet Corporation for Assigned Names and Numbers, as
          well as their directors, officers, employees, and agents.


[22.] The Complainant certifies that the information contained in this Complaint is to
        the best of the Complainant’s knowledge complete and accurate, that this
        Complaint is not being presented for any improper purpose, such as to harass, and
        that the assertions in this Complaint are warranted under the Rules and under
        applicable law, as it now exists or as it may be extended by a good-faith and
        reasonable argument.


                                                                      Respectfully submitted,
                                                                          Sandra Santos




Date: July 13, 2015




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                                XIV. List of Annexes
  (Rules, Paragraph 3(b)(xv); Supplemental Rules, Paragraphs 4(a), 12(a), Annex E)


Annex 1 - Printout of the Whois search for the disputed domain names
BESTVULKAN.NET, VULKANDELUXE.COM, VULKANDELUX.COM,
MOIVULCAN.COM, VULKANPLAY.COM on June 18, 2015 (registered with URL
SOLUTIONS INC)

Annex 2 - Registration Agreement between URL Solutions Inc and ICANN

Annex 3 – Copies of Russian TM 342290 / 352291 / 353694 (English translation)

Annex 4 – RU TM 353692 (ROSPATENT)

Annex 5 – RU TM 342290 (ROSPATENT)

Annex 6 – RU TM 353694 (ROSPATENT)

Annex 7 – RU 342291 (ROSPATENT)

Annex 8 – IR 984297 (ROMARIN)

Annex 9 – IR 791038 (ROMARIN)

Annex 10 – IR 989103 (ROMARIN)

Annex 11 – IR 992196 (ROMARIN)

Annex 12 – IR 977713 (ROMARIN)

Annex 13 – Photos on VULKAN

Annex 14 – Ritzio presentation

Annex 15 – VULKAN in Germany, Italy, Croatia, Romania, Belarus, Latvia (Ritzio’s
webpage)

Annex 16 – General information on Ritzio Group (VULKAN) Source:
http://cbonds.com

Annex 17 – Ritzio Entertainment Group (Bally’s Casino)

Annexes 18 – Ritzio Entertainment Group (source: www.ballys.ee)

Annexes 19 and 20 – Ritzio’s social responsibility (Ritzio’s webpage)

Annex 21 – Webpage operated with the disputed domain name bestvulkan.net (in
Russian language)

Annex 22 - Webpage operated with the disputed domain name vulkandeluxe.com (in
Russian language)




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Annex 23 – Webpage operated with the disputed domain name vulkandelux.com (in
Russian language)

Annex 24 – Webpage operated with the disputed domain name moivulcan.com (in
Russian language)

Annex 25 – Webpage operated with the disputed domain name vulkanplay.com (in
Russian language)

Annex 26 – Webpage operated with the disputed domain name vulkandeluxe.com
(translated into English)

Annex 27 – Safety page corresponding to bestvulkan.net, bestvulkan.com,
vulkandelux.com, moivulcan.com, vulkanplay.com (in English)

Annex 28 - Webpage operated with the disputed domain name bestvulkan.net
(translated into English)

Annex 29 – Webpage operated with the disputed domain name vulkandeluxe.com
(translated into English) - bonus

Annexes 30 and 31 – Webpage operated with the disputed domain name
vulkandelux.com (translated into English)

Annex 32 – Webpage operated with the disputed domain name moivulcan.com
(translated into English)

Annex 33 –Payment (transfer to WIPO account)




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            Response Annex
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                                   COMMENCING PROCEEDING BY PLAINT
                            Court Fees (Supreme Court) and Costs Act 2009 , Schedule I

                                       Civil Side : CS / CC

               Plaintiff: £5 (f\.\Jc:'    ut)~, or v GGS L"\D (,-Kt'R\('~:S~h~ SU J'0 n-Q \.:'i\ \ fr\
 Item                                   Statutory       Formula                                     Calculation    Fee payable
                                                                                                                                     AH04'I'"~J
                                        reference
 Entering plaint     Claim of           PartIrl(a)                                                                      750
                                                                                                           '   "
                     :'S 10,000                                    "
                                                                       ,.


                     Claim of           Part I r I(b)   Additional 1% on amount
                      10,001 ­                          between 10,000 and
                     50,000                             50,000
                                                        (= 400 for any claim over
                                                        50,000)
                       Claim of         Part I r I(c)   Additional Y2% on amount
                      > 50,000                          over 50,000
 Seeking injunction/other judicial       Part I r 3     100
 relief (if applicable)                                                                              , .              \00
 Accompanying          In chambers /    Part I rr 9,    100 for filing                              335 total
 petition , motion     ex parte         10,28,30        235 for calling, hearing,
 or application                         and 40          order and sealing
 (MA) (if              Other            Part I IT 8,    185 for filing                              420 total
 applicable)                            28,30,40        235 for calling, hearing
                                        Part II r 88    and order
 Summon s                               Part I r 4      30 per person to be
                                                        summoned                                                     3tS
 Service          Per person to be      Part II r 90    25 per person to be served
 and                     served                                                                                      '1S'"
 mileage              Mileage:           Part II r 89   30 per person to be served
                      :'S 2 miles of
              ~       courthouse
                                                                                                                     JQ
              :J>     Mileage:                          Additional charge: no, of
              @ additional, on                          extra miles, counted both
                      Mahe                              ways (x 25), multiplied by
                                                        no, of parties to be served
             Mileage: on Praslin                        600 per person to be
             or La Diaue                                served
 Calling                                 Part II r 88                                    .   '.
                                                                                                                        25
 Hearing (advance charge)                Part I r 26                          ,.:    '       .,."                       300
 Final judgment/order                    Part I r 39    30 for entering order                       90 total             90
 (advance charge)                        Part I r 30    60 for sealing

                                                                            TOTAL FEES PAYABLE
                                                                                                                   .~~

                      -+ Stamps                         3 for every document filed by an attorney
                                                                                                                        3

                                                                                                      Date:


                                                                                    For Registrar: _..:;:::,.~=......:~=---_




PAID IN FULL:
                     D                  CASHIER'S RECEIPT AITACHED: _ _----'=---                                                 _
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                                  IN THE SUPREME COURT OF SEYCHELLES


ESCAVE LTD
of Global Gateway 8,
Rue de la Perle in Mahe, Seychelles                                          Ist Plaintiff
and herein represented by its Director
Ms Lianna Tall of Anse Boileau, Mahe, Seychelles

and

GGSLTD
of 20 I Rogers Office Building,
George Hill P.C., 4103 Anguilla
West Indies and electing domicile
In the Chambers ofMr Serge Rouillon
Attorney at Law of Suite 14 Kingsgate House,
Victoria, Mahe, SeycheIles                                                    2nd Plaintiff


Versus


RITZIO PURCHASE LIMITED
of Diagorou Street 4, Kermia building,
6th floor, Office 601, P.C. 1097, Nicosia, Cyprus                               Defendant


                                                                                                C.C. no                   ..




PLAINT

I. The 1st Plaintiff is a Seychelles International Business Company bearing registration number 125765

incorporated with the objects of, inter alia, to engage in any act or activity that is not prohibited under any law and

the registered owner of six Internet Disputed Domains(hereinafterreferred to as the "Disputed Domains"), each of

which contain the word "vulcan" by virtue of the registration of the Disputed Domains.



2. The 2nd Plaintiff is an Anguilla International BusinessCompany registered as company number 2152333 which

 operates Internet websites at each of the Internet Disputed Domains.



 3. The Defendant is a Cyprus Limited Company registered in Nicosia, Cyprus with company number HE 144533.




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4. Each of the websites at each of the Disputed Domains are almost exclusively used by individuals in Russia and

Ukraine and these websites allow users to engage in slot gambling online.



5. Until about 2009 Defendant operated casinos in Russia and used the Russian word BYJIKAH (translated into

English as "Vulkan" or "Vulcan," meaning "Volcano") in connection therewith and the Defendant registered its

BYJ1KAH trademark with the Russian trademark office.


6. Following the passing of the Federal Law of December 29,2006, No. 244FZ, "On government regulation of

gambling activities and on introduction of amendments to some legislative acts of Russian Federation," as amended,

by which Russia banned all online gambling in late 2006 and made all gambling illegal in Russia except for in four

government-approved locations, the Defendant ceased operating in Russia in 2009 and had not used its BYJIKAH

mark (or any variations) in Russia since that time. The Defendant ceased operating in Ukraine in the same time

period as well.



7. From 2012 and going through to 2014, after three years of Defendant's non-use of the BYJlKAH mark in Russia,

the lSI Plaintiff (or one of its affiliates) began registering the Internet Disputed Domains at issue in this litigation.



8. The six registered Internet Disputed Domains include the word "vulcan" and these are now registered in the name

of the 151 Plaintiff as follows: casino-vulcan.co; vulcan-casino.co; club-vulcan.com; vu!can-cazino.org; vulcan­

casinoz.com; and cazino-vulcan.com.



 9. Since the time each of the Disputed Domains were registered by the lSI Plaintiff the 2 nd Plaintiff operated

 gambling websites (hereinafter, the "Websites") at the Disputed Domains and almost all of the users of the Websites

 come from Russia and Ukraine, which are Russian speaking countries.



 10. The Plaintiffs operated for three years without incident until on or about May 27,2015 the Defendant filed an
                                          51
 administrative Complaint against the 1 Plaintiff under the rules of the Uniform Domain-Name Dispute Resolution




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Policy ("UDRP"), a specialized non-final streamlined arbitration proceeding, alleging that Plaintiffs were infringing

the Defendant's trademarks and requesting that the Disputed Domains be transferred to the Defendant.



11. The Plaintiffs vehemently denied the allegations of the Defendant in the UDRP proceeding and disputed that

Defendant had any trademark rights in Russia and Ukraine where the Websites were being used and where the

Defendant had not had any operations for six years, and requested that the UDRP 's arbitration panel deny the

Defendant's requested relief that the Disputed Domains be transferred to the Defendant.



12. The arbitration panel issued a decision that the Disputed Domains should be transferred to the Defendant.



13. The Plaintiffs believe that the arbitration panel wrongly decided the issue and by this Plaint they dispute the

outcome of that UDRP proceeding as is specificaIly permitted pursuant to the UDRP and in accordance with the

UDRP, may halt the execution of the arbitration panel's decision and have their rights properly decided by this

Honorable Court.



14. The Plaintiffs bring this Plaint to request that this Honorable Court fully review the merits of the Plaintiffs'

arguments and to evaluate the validity of the Defendant's putative trademarks and registrations as the UDRP panel's

decision is subservient to this Court's decisions on these matters .



 15. Upon bringing its Complaint in the UDRP Proceeding the Defendant agreed to submit to any challenges that the

 151 Plaintiff made to a decision by the UDRP's arbitration panel, to the jurisdiction of the courts at the location of 151

Plaintiffs address as shown in its registration information for the Disputed Domains which in fact is the Republic of

 Seychelles .



 16. Therefore the Defendant agreed to submit to the courts of SeycheIles for the purposes of this dispute chalIenging

 the decision by the UDRP arbitration panel and the Plaintiffs now bring this Plaint in the location of the 151

 Plaintiffs registered address in Seychelles, to prevent the wrongful transfer of the Disputed Domains.




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17.In accordance with Section 4(k) of the UDRP the relevant domain name registrars will not implement the

decision of the UDRP panel if the l" Plaintiff files a suit in thejurisdiction agreed upon by the Defendant within the

prescribed time and in order to halt the transfer of the Disputed Domains and to fully adjudicatethe rights of the

Plaintiffs, the Plaintiffs are required to file this lawsuit in the Republic of Seychelles.


                                                                                                               nd
18.The Plaintiffs therefore seek a declaratory relief to establish that the l" Plaintiffs registration and the 2

Plaintiffs use of the Disputed Domains, does not infringe on putative trademarks held by the Defendant and an

injunctive relief to prevent the transfer of those Disputed Domains to the Defendant.



19.On July 24, 2015, 2nd Plaintiff filed a Complaint with the Russian trademark office seeking to cancel

Defendant'strademark registrations, including registrations with registration numbers307879 (VOLCANO),

342290 (BYJIKAH), 342291 (BYJIKAH), 353692 (VULKAN) and 353694 (BYJIKAH).



Wherefore the Plaintiffs jointly and severally pray this honorable court for the following reliefs;

1. A declaration that the Plaintiffs have not infringed the Defendant's PutativeTrademarks, meaning;

          a. the lSI Plaintiff has lawfully and rightfully registered the Disputed Domains in good faith and has not

          infringed the Defendant's putativetrademarks.

          b. the 2nd Plaintiff has lawfullyand rightfully used the Disputed Domainsand the Websites in good faith

          and has not infringedthe Defendant's putativetrademarks.

          c. the Defendanthas no trademark rights in Russia or Ukraine where the Websites are used.

          d. a declaration that the registration and use of the Disputed Domains by the Plaintiffsand the Websites are

          lawful; and

2. For an Injunctive Relief Prohibitingthe Transferof the Disputed Domains meaning;

          a. that the UDRP arbitration panel has incorrectly decided this matter becausethe Plaintiffs did not register

          or use the Disputed Domains and the Websites in an unlawful manner and they do not infringe on any of

          the Defendant's rights, including its putativetrademark rights; and




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        b. the Plaintiffs have no other prompt and expeditious remedies to protect their interests and to prevent

        them from the irreparable harm if the Disputed Domains were wrongly transferred to the Defendant in

        accordance with the decision of the UDRP arbitration panel.

         c. Under the circumstances, injunctive relief from this Honorable Court is necessary and appropriate at this

         time in order for the Plaintiffs to protect their legitimate interests in and to the Disputed Domains.

         d. the Plaintiffs therefore request that this Honorable Court issue an injunctive order prohibiting the transfer

         of the Disputed Domains to the Defendant; and

3. an order for the costs of this suit in favour of the Plaintiffs and against the Defendant including any reasonable

travelling expenses incurred by the Plaintiffs in processing their case.


Dated this I st day Qf,September, 2015

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Address for seivic.C:;',§Y:rg~~R6uillon, Attorney-at-Law of Suite 14, Kingsgate House, Victoria, Mahe.

 Documents that may be inspected at the Chambers of the Plaintiffs' Attorney
1. statutory documents of the Plaintiffs

2. documents in respect of the UDRP proceedings;

                         a.                    Exhibit A Defend ant's Complaint;

                         b.                    Exhibit B Defendant's Amended Complaint;

                         c.                    Exhibit C 1st Plaintiff's Response to the Complaint;

                         d.                    Exhibit D Defendant's Supplementary Filing in support of its Complaint;

                         e.                     Exhibit E is lSI Plaintiff's First Supplementary Filing;

                          f.                    Exhibit F 1st Plaintiff's Second Supplementary Filing; and

                          g.                    Exhibit G UDRP arbitration panel's decision.

                          h.                    Exhibit H UDRP Policy and Rules




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